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                          Exhibit 4
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                                 1
To: Price, Amy L <amy_price@fws.gov>
               Case
Subject: Re: B&G  NSO6:24-cv-01641-MTK
                      dispersal habitat analysis Document 25-4      Filed 04/18/25      Page 3 of 262

That will be the dispersal breakdown is the same as in Figure 5. The purpose of the figure was to just illustrate the
two hexes that exhibited changes in dispersal conditions from above to below 40%

Christopher C. Foster
Sup. Nat. Res. Spec.
South River Field Office
Roseburg BLM

cfoster@blm.gov

office: 541-464-3359
      (b) (6) Personal Privacy
cell:




From: Price, Amy L <amy_price@fws.gov>
Sent: Tuesday, August 6, 2024 12:55 PM
To: Foster, Christopher C <cfoster@blm.gov>
Subject: B&G NSO dispersal habitat analysis

Hey Chris-

I just noticed that Figure on p. 69 of the B&G BA doesn't have a legend depicting what the each of
the hexagon colors reference. I believe it's a gradient of % of mean dispersal-quality habitat?
Could you please provide that when you get a chance.

Thanks!

Amy L. Price (she/her: why is this important?)

Fish and Wildlife Biologist
Ecological Services-Forest Resources
U.S. Fish and Wildlife Service
Roseburg Field Office
777 NW Garden Valley Blvd
Roseburg, Oregon 97471
mobile: (971) 666-9316
desk: (541) 957-3476

https://fws.gov/office/oregon fish and wildlife

"Let the beauty of what you love be what you do." - Rumi




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YELLOW CREEK (MSNO 0391)

  •   No call-back detection 2018-2022
  •   ARU (BLM) detections (YEC 2 and YEC 3), stations operated in 2022 & 23
         o 2022 – single male,
         o 2023 – single male,




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UPPER YELLOW CREEK (MSNO 1924)

  •   Call-back detection in 2021, unk sex, unk spp
  •   Call-back detection in 2022, single-male




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BEAR CREEK (MSNO 1972)

  •   Pair in 2018
  •   BLM ARU (YEC 1) 2022 single-male detection




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RICE FLAT (MSNO 1987)

   •   Call-back detection 2021, single female
   •   BLM ARU (YEC 1) 2023 single-male detection




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YELLOW TRIB (MSNO 4659)

  •   Call-back detection 2022, single male




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APPENDIX 2 – Project Design Features and Best Management
  Practices
Excerpt from Appendix B in the Blue and Gold Harvest Plan Environmental Assessment.
Project design features (PDFs) are an integral part of each Action Alternative and serve to minimize or prevent the
spread of noxious and invasive plants, and lessen impacts of activities on cultural, fisheries, soil, water, wildlife,
and botanical resources resource. In addition to best management practices (BMPs) and legal requirements, these
measures would be applied during implementation. To minimize or prevent sediment delivery to streams and
comply with the Clean Water Act of 1972 and its revisions, the BMPs would be incorporated into the project
design. Implementing these BMPs and others found in the NCO ROD/RMP (pp. 143-164) would disconnect road
surface runoff from stream channels and minimize or reduce the conveyance and delivery of sediment to the
waters of the United States (BLM, 2012). It is not intended that all of the BMPs listed would be selected for any
specific management action. Each activity is unique, based on site-specific conditions and the selection of an
individual BMP or a combination of BMPs and measures to become the BMP design. Forest road engineers and
aquatic staff select the appropriate BMPs as part of the road construction, renovation and maintenance plans. The
most common BMPs for disconnecting road related sediment delivery are listed below.

Table 1. Project Design Features and BMPs
Criteria                                                                                      Land use allocation,
            Objective              Design feature
Number                                                                                        units, or activity type
Noxious and Nonnative Invasive Plant Species Control Measures
    1.      Prevent the            Steam clean or pressure wash equipment used in            Prior to moving
            introduction and       logging and road construction prior to entering BLM- equipment onto BLM
            spread of noxious      administered lands to remove soil and materials that      land
            weeds and invasive     could transport weed propagules (e.g. seeds, root
            plants                 fragments). Off-road equipment removed from the
                                   contract area during the life of the contract must be re-
                                   cleaned before re-entry into the contract area. BLM
                                   Manual 9015: Integrated Weed Management (1992);
                                   NCO ROD/RMP BMP SP 03 (2016); Roseburg District
                                   Integrated Weed Control Plan Environmental
                                   Assessment No. OR-100-94-11 (1995)
    2.      Prevent the            Schedule timber harvest activities in uninfested timber All treatment areas
            introduction and       sale units prior to timber sale units containing noxious
            spread of noxious      weed infestations. If infested areas are harvested first,
            weeds and invasive     equipment would be washed prior to moving from
            plants                 infested areas to uninfested areas. Conforms with NCO
                                   ROD/RMP (2016) management objectives for Invasive
                                   Species.
    3.      Prevent the            Where practicable, seed and mulch disturbed areas         All treatment areas
            introduction and       where natural regeneration is unlikely to prevent weed
            spread of noxious      establishment with native grass seed or revegetate with
            weeds and invasive     native plant species where natural regeneration is
            plants                 unlikely to prevent weed establishment, where
                                   practicable. Roseburg District Integrated Weed Control
                                   Plan Environmental Assessment No. OR-100-94-11
                                   (1995), p. 5




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   4.      Prevent the spread of Existing infestations of priority noxious weed species All treatment areas
           noxious weeds and would be prioritized for treatment through the annual
           invasive plant species weed treatment plan. Treatment would occur prior to
                                  timber harvest operations and road
                                  renovation/construction as part of implementation.
                                  Roseburg District Integrated Weed Control Plan
                                  Environmental Assessment No. OR-100-94-11 (1995),
                                  p. 3
   5.      Prevent the spread of Treatment units and new road construction lacking      All treatment areas
           noxious weeds and current botanical surveys will be surveyed for weed
           invasive plant species species prior to project implementation. Any List A
                                  weeds found on these surveys will be treated prior to
                                  project implementation or flagged and avoided. BLM
                                  Manual 9015: Integrated Weed Management (1992), p.
                                  19-20.
   6.      Prevent the spread of BLM will conduct post-treatment monitoring for a       All treatment areas
           noxious weeds and minimum of three years, as funding and staffing allows,
           invasive plant species to implement management measures to identify new
                                  invasive plant populations and to control new and
                                  existing weed populations. BLM Manual 9015:
                                  Integrated Weed Management (1992), p. 8-9.
   7.      Prevent invasion of BLM will treat noxious weed species within and           T23S-R6W-S27,
           noxious weed and       adjacent to at-risk shallow soil meadow habitat. BLM T23S-R6W-S28, and
           invasive plant species will conduct post-treatment monitoring for a minimum T23S-R6W-S29
           into meadow habitats of three years at these locations. BLM Manual 9015:
                                  Integrated Weed Management (1992), p. 8-9, NCO
                                  ROD/RMP BMP SP 03 (2016); Roseburg District
                                  Integrated Weed Control Plan Environmental
                                  Assessment No. OR-100-94-11 (1995) p. 86 and 95.
Cultural Resources
   1.      Protect cultural     If cultural and/or paleontological resources (historic or All treatment areas
           resources            prehistoric site or object) are discovered during project
                                activities, all operations in the immediate area of such
                                discovery would be suspended until an evaluation of the
                                discovery can be made by a BLM archaeologist or BLM
                                contracted archeologist to determine appropriate actions
                                to prevent the loss of significant cultural or scientific
                                values.
   2.      Protect cultural     Known cultural and paleontological resources would be All treatment areas
           resources            buffered from harvest activities and all associated
                                actions or excluded from harvest unit boundaries.
Fisheries
    1.    Minimize water        No log hauling on native surface roads or harvest        All haul routes
          quality threats.      equipment off existing roads would occur during the
                                wet season (mid-October – mid-May); these dates may
                                be extended or shortened based on weather and road
                                conditions.
   2.      BMP R 13             Use temporary sediment control measures to slow          All road construction
                                runoff and contain sediment from road construction       near streams where
                                areas. Remove any accumulated sediment and the           sediment would be
                                control measures when work or haul is complete.          expected to reach the
                                                                                         stream


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    3.       BMP R 17              When installing a new culvert or replacing culverts in All road activities
                                   streams containing native migratory fish, install culverts needing culvert work
                                   consistent with National Marine Fisheries Service
                                   guidelines for salmonid stream crossings.
    4.       BMP R 23              Utilize stream diversion and isolation techniques when All roads where stream
                                   installing stream crossings                                 crossing is needed
    5.       BMP R 48              Conduct all nonemergency in-water work during the           For work in fish
                                   ODFW instream work window (July 1 - September 15) bearing streams
    6.       BMP TH 03             Full suspension yarding would be required over all          All harvest units and
                                   stream channels. Yard away from streams where               road activities
                                   possible. Where not practicable, fish
                                   biologists/hydrologists would be consulted to ensure
                                   resource damage is minimized.
    7.       Restrict sediment     Following road renovation actions, but prior to wet         Stream crossings with
             delivery to streams   season haul, areas of potential sediment delivery           road renovation
                                   (stream crossings) would be inspected by BLM
                                   fisheries, hydrology, and/or engineering staff to
                                   determine if additional sediment control measures are
                                   warranted. These measures could include seasonal
                                   suspension of haul, or installation of such devices as silt
                                   fences, straw bales, geofabric rolls, or similar measures.
    8.       Restrict sediment     Road conditions within Riparian Reserves and/or             Harvest units adjacent
             delivery to streams   critical habitat for Oregon coast coho salmon would be to streams and/or coho
             and protect coho      periodically inspected by a BLM fisheries biologist,        critical habitat
             critical habitat      hydrologist, and/or engineer to evaluate the
                                   effectiveness of sediment control measures. If
                                   improvements are required to increase their
                                   effectiveness, these actions would be implemented as
                                   soon as practicable.
    9.       Restrict sediment     The contract administrator would suspend operations Harvest units adjacent
             delivery to streams   before and after periods of substantial rainfall that       to streams and/or coho
             and protect coho      would result in road surface degradation, causing           critical habitat
             critical habitat      delivery of generated sediment from log haul to stream
                                   channels and/or critical habitat for Oregon coast coho
                                   salmon.
    10.      Maintain/promote      Trees cut for yarding corridors, skid trails, road          Activities in the RRD
             fish habitat          construction, road maintenance, and road improvement inner and middle zones
                                   within the inner or middle zones would be retained in excluding thinning and
                                   the adjacent stand or moved for placement in streams fuels reduction.
                                   for fish habitat restoration (NCO ROD/RMP, p. 68).
Soils
    1.       Minimize soil         Equipment would be capable of maintaining a minimum Cable yarding
             disturbance           one-end log suspension in all cable areas. For thinning
                                   units, have a minimum of 75 feet of lateral yarding
                                   capability. If necessary, contract requirements may
                                   specify the type of logging carriage used and/or require
                                   intermediate support.
    2.       Minimize soil         Yarding corridors in upland thinning units and in, or    Cable yarding
             disturbance in        through, Riparian Reserves would be pre-designated
             Riparian Reserves     and a maximum of 20-feet in width, in a manner
                                   approved by the contract administrator.




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3.       Protection of          Minimize disturbance to natural meadows. Designate Meadows in
         meadows; minimize      these areas as non-harvest/leave areas. Locate landings T 23 S., R 6 W., NE ¼
         soil disturbance to    in between meadows where possible. If yarding through Section 27 and N ½
         meadows. Limit         meadows is essential for timber harvest activity:             Section 29.
         detrimental soil            • Require a minimum of 75 feet lateral yarding Additional areas may
         disturbance.                    capability to reduce the number of yarding           be identified during
                                         corridors through the meadows.                       implementation.
                                     • Do not allow yarding unmerchantable material
                                         (YUM yarding) to reduce the amount of yarded
                                         material through the meadows.
                                     • Place appropriate erosion control (water bars,
                                         coir logs, mulch mats, for example) on yarding
                                         corridors located in meadows to minimize
                                         additional damage.
                                     • Conifers would not be planted within the
                                         meadows consistent with Botany 4.
4.       Minimize soil          Landings in thinning units would be located at least 150 Cable yarding
         disturbance            feet apart, to the greatest extent possible.
5.       Protect water quality. Completed cable yarding corridors that are near or            Cable yarding
         Minimize sediment crossing stream channels within Riparian Reserves, or
         delivery to streams hydrologically connected to ditch lines would be water-
                                barred and have slash placed over them prior to winter
                                rains.
6.       Minimize soil          Processors and harvesters (which do not stay on               All ground based
         compaction and         designated skid trails) would travel over a slash mat         harvest
         erosion                created from cutting and limbing the harvested trees.
7.       Reduce soil            Restrict mechanized equipment used for piling fuels and All ground based
         compaction and         slash to roads, landings and designated skid trails, as       harvest units with fuels
         displacement           much as practicable.                                          treatments
8.       Minimize soil          Install water bars and place slash/mulch in cable             Cable harvest units
         disturbance and        yarding corridors that have soil gullying or trenching        with very severe
         subsequent erosion deeper than 2 feet for longer than 50 feet or deeper than erosion hazard rating
                                1 ½ feet for longer than 100 feet, on steep slopes 60         and /or high amounts
                                percent or steeper, to control surface erosion and reduce of sensitive soils for
                                potential for channeling water.                               burning (Category 1
                                                                                              soils).
9.       BMP TH 01              Design yarding corridors crossing streams such that the Cable yarding
                                corridors are perpendicular to the orientation of the
                                streams, as is practicable
10.      BMP TH 02              Directionally fall trees to lead for skidding and skyline Cable yarding and
                                yarding to minimize ground disturbance when moving ground based skidding
                                logs to skid trails and cable yarding corridors.
11.      BMP TH 08 and 12 Limit ground-based yarding equipment to designated All ground based
                                skid trails, using pre-existing trails to the greatest extent harvest units and fuels
                                practicable.                                                  treatments
                                Limit mechanized equipment used for felling to one
                                pass off of skid trails, roads and landings.
                                Feller bunchers will be required to stay on designated
                                roads, landings and skid trails in ground based harvest
                                areas where the harvest area has moderate to high
                                amounts of clay and low rock content.
                                Limit designated skid trails for thinning and
                                regeneration to less than or equal to 15 percent of the


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                               harvest unit area. Incorporate existing skid trails and
                               landings where feasible, into a designated trail network
                               for ground-based harvest equipment, with proper
                               spacing of skid trails, skid trail direction and location.
                               Space skid trails at least 150 feet apart, or average 150
                               feet apart.
12.      BMP TH 07             Equipment operators would avoid using equipment in All ground-based
                               perennially wet areas.                                     harvest
13.      BMP TH 09             Limit skid trails and skid roads to single width, a       All ground-based
                               maximum of 14 feet wide. Where multiple machines are harvest
                               used, provide a minimum-sized pullout for passing.
14.      BMP TH 10             Ensure leading end of logs is suspended when skidding All ground-based
                               in ground-based skidding.                                 harvest
15.      BMP TH 11             Limit ground-based equipment to the dry season,           All ground-based
                               typically May 15 through October 15. The operating        harvest
                               season may be shortened or extended, dependent on
                               weather conditions, when soils are at their driest and
                               least susceptible to compaction. Generally, soils will be
                               at or below 25 percent by weight in water content,
                               before allowing ground-based yarding operations.
16.      BMP TH 13             Limit the use of non-specialized skidders or tracked      Ground based harvest
                               equipment to slopes less than 35 percent except when units with slopes
                               using previously constructed trails or accessing isolated greater than 35 percent
                               ground-based harvesting areas requiring short trails over
                               steeper pitches.
17.      BMP TH 14             Limit the use of specialized ground-based mechanized Ground based harvest
                               equipment (those machines specifically designed to        units with slopes
                               operate on slopes greater than 35 percent) to slopes less greater than 35 percent
                               than 50 percent except when using previously
                               constructed trails or accessing isolated ground-based
                               harvesting areas requiring short trails over steeper
                               pitches.
18.      BMP TH 18             Subsoil skid trails, landings, or temporary roads where All ground-based
                               needed to achieve no more than 20 percent detrimental harvest
                               soil conditions, and minimize surface runoff, improve
                               soil structure, and water movement through the roadbed.
                               See also R 91-92.
19.      Reduce soil           Skid trails would be water-barred according to BLM        All ground-based
         compaction and        standards where necessary. Skid trails would be           harvest
         displacement and      winterized, prior to the rainy season, as necessary to
         minimize soil erosion prevent chronic erosion.
         and surface runoff.
         BMP TH 16, 17, and
         19
20.      BMP TH 22             Maintain at least the minimum percent of effective        All harvest units and
                               ground cover needed to control surface erosion,           fuels treatment units
                               following forest management operations. See Table C-3
                               of the NCO ROD/RMP, p. 161
21.      Minimize soil         Limit burning to when large fuels, >12” diameter, are All fuel treatment
         disturbance           moist to reduce intensive soil heating .                  units.
                               Limit broadcast burning to when soils are moist to
                               reduce soil heating from broadcast burning.


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   22.      BMP F05 pp.163     In broadcast burning, consume only the upper horizon All fuel treatment
                               organic materials and allow no more than 15 percent of units.
                               the burned area mineral soil surface to change to a
                               reddish color.
   23.      BMP F07 pp.163     Avoid creating piles greater than 16 feet in height or    All forest management
                               diameter. Pile smaller diameter materials and leave       operations.
                               pieces >12” diameter within the unit. Reduce burn time
                               and smoldering of piles by extinguishment with water
                               and tool use.
   24.      BMP F08 pp.163     When burning machine-constructed piles, preferably        All forest management
                               locate and consume organic materials on landings or       operations.
                               roads. If piles are within harvested units and more than
                               15 percent of the burned area mineral soil (portion
                               beneath the pile) surface changes to a reddish color,
                               then consider that amount of area towards the 20
                               percent detrimental soil disturbance limit.
   25.      Minimize soil      Areas rated as category soils 1 and 1-2 which are         Broadcast burning
            disturbance        considered most sensitive to burning would be excluded
                               to the extent possible from potential broadcast burning.
   26.      TPCC Changes; 2016 For additional areas found to be nonsuitable woodland Harvest units with
            NWC Oregon         according to the TPCC (Timber Production Capability areas of nonsuitable
            ROD/RMP (pp. 57- Classification) criteria, these areas would be either:      woodland
            58)                     1. Excluded from potential timber harvest areas;
                                        or
                                    2. Designated as “no harvest areas” if kept within
                                        harvest units; or
                                    3. Identified as requiring uncut, residual trees,
                                        such as for slope stability, for unstable and/or
                                        high risk for slope movement areas; or other
                                        measures as needed.
Roads
   1.       BMP R 22             Install underdrain structures when roads cross or expose Haul Routes
                                 springs, seeps, or wet areas rather than allowing
                                 intercepted water to flow in ditchlines.
   2.       BMP R 23             Effectively drain the road surface by using crowning, Haul Routes
                                 insloping, outsloping, grade reversals (rolling dips),
                                 waterbars, or a combination of these methods. Avoid
                                 concentrated discharge onto fill slopes unless the fill
                                 slopes are stable and non-erodible
   3.       BMP R 31             Disconnect road runoff to the stream channel by          Haul Routes
                                 outsloping the road approach. If outsloping is not
                                 possible, use runoff control, erosion control and
                                 sediment containment measures. These may include
                                 using additional cross drain culverts, ditch lining, and
                                 catchment basins. Minimize ditch flow conveyance to
                                 streams by placing cross drains above stream crossings.
   4.       BMP R 32             Locate cross drains to prevent or minimize runoff and Haul Routes
                                 sediment delivery to wetlands, riparian management
                                 areas, floodplains, and waters of the state. Implement
                                 sediment reduction techniques, such as settling basins,
                                 brush filters, sediment fences, or check dams to prevent
                                 or minimize sediment delivery.


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5.       BMP R 33       Space cross drain culverts at intervals sufficient to      Haul Routes
                        prevent water volume concentration and accelerated
                        ditch erosion.
6.       BMP R 35       Locate surface water drainage measures (e.g. cross drain Haul Routes
                        culverts, rolling dips, or water bars) where water flow
                        would be released on convex slopes or other stable and
                        non-erodible areas that would absorb road drainage and
                        prevent sediment flows from reaching wetlands,
                        floodplains, and waters of the state. Where possible,
                        locate surface water drainage structures above road
                        segments with steeper downhill grades.
7.       BMP R 37       Discharge cross drain culverts at ground level on non- Haul Routes
                        erodible material. Install downspout structures or energy
                        dissipaters at cross drain outlets or drivable dips where
                        water is discharged onto loose material, erodible soils,
                        fills, or steep slopes.
8.       BMP R 62       Manage road construction so that any construction can Haul Routes
                        be completed, and bare soil protected and stabilized
                        prior to fall rains. Apply native seed and certified weed
                        free mulch to cut and fill slopes, ditchlines, and waste
                        disposal sites with the potential for sediment delivery to
                        wetlands, riparian management areas, floodplains, and
                        waters of the state. Apply upon completion of
                        construction or as early as possible to increase
                        germination and growth. Reseed if necessary to
                        accomplish erosion control. Select seed species that are
                        fast growing, have adequate germination, and provide
                        ample ground cover and soil-binding properties. Apply
                        mulch that would stay in place and at site specific rates
                        to prevent erosion.
9.       BMP R 71       Prior to the wet season, provide effective road surface Haul Routes
                        drainage by machine cleaning ditches, blading surfaces
                        including berm removal, constructing sediment barriers,
                        and cleaning inlets and outlets.
10.      BMP R 72       Avoid undercutting cut-slopes when cleaning ditchlines. Haul Routes
                        Retain ground cover in ditchlines, except where
                        sediment deposition or other obstructions require
                        maintenance.
11.      BMP R 75       Inspect and maintain culvert inlets and outlets, drainage Haul Routes
                        structures, and ditches before and during the wet season
                        to diminish the possibility of plugged culverts and
                        washouts.
12.      BMP R 94       On roads being hauled on during the wet season, use        Haul Routes
                        durable rock surfacing with sufficient surface depth to
                        resist rutting or the development of sediment on roads
                        that drain directly to wetlands, floodplains, or waters of
                        the state.
13.      BMP R 96       Suspend commercial use when the road surface is            Haul Routes
                        rutted, covered by a layer of mud, or runoff from the
                        road surface is causing a visible increase in stream
                        turbidity.




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   14.      BMP R 98              Do not allow wet season haul on natural surface roads    Haul Routes
                                  or sediment producing surfaced roads without
                                  practicable and effective mitigation.
Wildlife
   1.       Maintain or promote Avoid where practical suitable northern spotted owl nest Yarding wedges
            northern spotted owl trees (trees with broken tops, visible cavities, or        within LSR
            nesting roosting and platforms, visible nest structures, and debris structures,
            foraging habitat     typically greater than or equal to 24 inches in width)
                                 trees adjacent to nest trees, or potential nest trees that
                                 provide habitat function regardless of conditions except
                                 when they pose public and/or operational safety hazards
                                 (may reach the road or pose hazards to operations).
   2.       Prevent disturbance Seasonal restrictions would be applied in nesting,          All activities within
            to NSO (northern     roosting habitat as described in the Biological            disturbance distance of
            spotted owl) during Assessment and Biological Opinion.                          NSO NRF habitat in
            nesting season       The BLM may waive the restriction and spot check           all LUAs
                                 requirement in the third and fourth years if two years of
                                 protocol surveys covering all northern spotted owl
                                 habitat within the survey area indicate no resident single
                                 owls, territorial owl pairs, or pairs/two owls of unknown
                                 status and no activity centers are known to occur in the
                                 survey area and no barred owls are detected in the
                                 survey area (USDI/FWS 2012).
                                 This restriction may also be waived for public or
                                 operational safety concerns.
   3.       Prevent direct or        a. Apply the Situational Management Strategy           All activities within
            indirect incidental           (this EA Appendix B, Table 2, p. 168) to avoid disruption distance of
            take of NSO via               incidental take of a northern spotted owl.        NSO NRF habitat in
            habitat removal or       b. Activities within 65 yards of occupied northern all LUAs
            disruption to NSO             spotted owl nest tree, fledging locations, edge
            during the critical           of most recent nest patch or unsurveyed nesting,
            breeding period               roosting, and foraging (NRF) would be
                                          prohibited from March 1 to July 15, both dates
                                          inclusive.
                                     c. This restriction could be waived by the BLM
                                          until March 1 of the following year, following
                                          implementation of the northern spotted owl
                                          survey protocol (USDI/FWS 2012a). If two
                                          years of protocol surveys covering all northern
                                          spotted owl habitat within the survey area
                                          indicate no resident single owls, territorial owl
                                          pairs, or pairs/two owls of unknown status and
                                          no activity centers are known to occur in the
                                          survey area and no barred owls are detected in
                                          the survey area then spot checks in the third and
                                          fourth years are not required (USDI/FWS
                                          2012).
                                     d. To avoid harm to fledgling northern spotted
                                          owls, timing restrictions would be implemented
                                          from July 15th – August 15th within un-
                                          surveyed NRF habitat or occupied nest patches
                                          - unless surveys indicate either non-occupancy
                                          or non-nesting of northern spotted owls.

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4.       Maintain NSO NRF Directionally fall trees to avoid removal or damage to           All activities within
         habitat          trees identified for retention.                                  NSO NRF habitat in
                                                                                           all LUAs
5.       Protect NSO NRF       Where possible, use equipment as anchors along roads Tailholds or guylines
         habitat               instead of trees within suitable northern spotted owl       In LSR and/or RR
                               nesting habitat components.
         Protect wildlife      Where possible, avoid the use of trees that are tagged or Tailhold or guyline
6.       habitat trees/nest    marked as wildlife habitat trees and/or nest trees as       trees in LSR and/or
         trees from damage     tailhold or guyline trees.                                  RR
7.       Protect wildlife      Where possible, avoid using conifer trees over 30 inches Tailhold or guyline
         habitat trees/nest    dbh with broken tops, obvious cavities, nest platforms trees in LSR and/or
         trees from damage     and/or large limbs (6 inches or greater) as tailhold or     RR
                               guyline trees.
8.       Protect wildlife      Protect tailhold trees from girdling by the use of          Tailhold or guyline
         habitat               cribbing, straps, tree plates, etc. (to the greatest extent trees in LSR and/or
                               practicable, do not notch more than 50 percent of the       RR
                               circumference of the bole so that the tree may be able to
                               heal over and survive).
9.       Protect Bureau        In the event a Bureau Sensitive Species is discovered Activities in all LUAs.
         Sensitive Species     within the project area (, coordinate with wildlife
                               biologist and inform decision maker to evaluate whether
                               there is a need to adjust treatments to meet RMP
                               objectives.
10.      Protect Bald and      Do not conduct timber harvest operations (including         Bald eagle: EA
         Golden Eagle nests    road construction, tree felling, and yarding) during the Harvest Units 24-06-
         and winter roosting   breeding season (January 1st through August 31st, both 04A, 24-06-04B, 24-
         areas.                days inclusive) within 660 feet of known bald eagle or 06-04C; 24-06-5B and
                               golden eagle nests. Decrease the distance to 330 feet       24-06-07A, 24-06-
                               around alternate nests within a particular territory,       07B, 24-06-07C
                               including nests that were attended during the current
                               breeding season but not used to raise young, or after
                               eggs laid in another nest within the territory have
                               hatched.
11.      Protect Bald and      Do not remove overstory trees within 330 feet of bald EA Harvest Units 24-
         Golden Eagle nests    eagle or golden eagle nests, except for removal of          06-04A, 24-06-04B,
         and winter roosting   hazard trees.                                               24-06-04C; 24-06-5B
         areas.                                                                            and 24-06-07A, 24-06-
                                                                                           07B, 24-06-07C
12.      Protect Meadow        Block spur road 23-06-29I post-harvest to avoid             EA Harvest Unit 29-6-
         Habitat               disturbance of area with off-road vehicles.                 29E
13.      Protect Meadow        Avoid ground-based yarding through meadows. Place            Meadows in
         Habitat to maintain   retention trees along outer edge of meadows when             T 23 S., R 6 W., NE ¼
         ecological function   feasible, to limit yarding through meadows.                  Section 27 and N ½
                               Directionally fall trees away from meadows                   Section 29.
                               Snag creation would be emphasized along the down             Additional areas may
                               slope side of meadows.                                       be identified during
                                                                                            implementation.
14.      Protect naturally     When operationally feasible avoid yarding over rocky         T 23 S., R 6 W., NE ¼
         occurring special     outcrops, and cliffs and use retention to create buffers     Section 27 and N ½
         habitats              around outcrops and cliffs.                                  Section 29.
                                                                                            Additional areas may
                                                                                            be identified during
                                                                                            implementation.

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     15.        Reduce impacts to  Before modifying forest stands in any 5-acre portion of Any activities in
                marbled murrelet   the analysis area that contain at least 6 trees with      unsurveyed LSR and
                                   nesting structure and pre-project clearance surveys have RR
                                   not yet been completed Option 21 will be implemented.
                                   This includes the use of seasonal restrictions (NCO
                                   ROD/RMP, p. 99).
     16.        Reduce impacts to Before modifying forest stands in any 5-acre portion of Nesting habitat in the
                marbled murrelet   the analysis area that contain at least 6 trees with      LSR, RR and occupied
                                   nesting structure conduct surveys to determine            sites
                                   occupancy. If marbled murrelet occupancy is
                                   determined do not conduct activities within the
                                   occupied stand and all forest within 300 feet of the
                                   occupied stand (Option 1; NCO ROD/RMP, p. 98).
                                   Pre-treatment assessment of the nesting, foraging, and All activities in all
                                   hibernating habitat conditions the analysis areas and     LUAs
                                   within areas adjacent to the analysis areas. If meadows,
                                   oak woodlands, and brush fields that provide a diverse
                                   supply of flowers that bloom throughout the colony’s
                                   life cycle, from spring to autumn are located, then using
                 Reduce impacts to the best available bumble bee protocol and best
      17.          Franklin’s and  available science at the time:
                Western Bumble Bee      • Conduct project clearance surveys of potential,
                                            high quality Franklin’s bumble
                                            bee habitat impacted by the habitat disturbing
                                            activities, in order to determine presence of
                                            Substantial Floral Resources.
                                        • In the absence of clearance surveys, habitats are
                                            considered occupied
     18.        Reduce impacts to In occupied habitat:                                       All habitat disturbing
                Franklin’s and          • No habitat disturbing activities (including        activities within
                Western Bumble Bee          prescribed fire and tree planting) in nesting,   occupied bumble bee
                                            foraging habitat, or hibernating habitat.        habitat.
                                        • Seasonally restrict operations in unit (15 May -
                                            30 September)
                                        • Contact USFWS to determine more detailed
                                            project design features.
Botany




1 Exclude nesting structure from the project area39 by doing all of the following:
▪ Do not remove or damage nesting structure. This includes trees with nesting structure and adjacent trees with branches that interlock the branches of any
tree with nesting structure.
▪ Do not conduct timber harvest and associated ground disturbing activities during the murrelet nesting period (April 1 – September 15) unless the U.S.
Fish and Wildlife Service concurs that disturbances would not adversely affect nesting marbled murrelets.
▪ Maintain a 150-foot un-thinned buffer around all trees with nesting structure. Within this buffer, do not remove trees for any reason associated with
timber harvest, including the placement of roads, landings, or yarding corridors. Other activities are permitted if the U.S. Fish and Wildlife Service concurs
that such activities would not adversely affect nesting marbled murrelet.
▪ Maintain an average canopy cover of at least 60 percent post-project (averaged over each 40-acre area) in the zone between 150 feet and 300 feet of all
trees with nesting structure.
▪ Include additional, site-specific prescriptive measures to maintain or enhance habitat conditions, as needed, in the zone between 150 feet and 300 feet
from all trees with nesting structure. In this context, maintain marbled murrelet habitat means to maintain stand structural characteristics such that,
following habitat modification, the stand could support marbled murrelet nesting.
▪ Maintain an average canopy cover of at least 40 percent post-project (averaged over each 40-acre area) within the project area beyond 300 feet from all
trees with nesting structure.




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1.      Protect Special Status Treatment units and new road construction lacking          All activities in
        Plant Species (NCO current botanical surveys will be surveyed for special additional units of
        ROD/RMP, p. 87)        status botanical species. Populations of any Federally Sections T. 23 S., R. 6
                               Listed Threatened or Endangered, or Bureau Sensitive W. Sections 24, 27,28,
                               botanical species found during surveys would be            29, & 33.
                               managed consistent with any conservation agreements
                               or strategies including the protection and restoration of
                               habitat, alteration of the type, timing, and intensity of
                               actions, and other strategies designed to conserve
                               populations of the species.
2.      Protect Special Status Locate green tree retention and limit yarding activities Unit 23-6-29C
        Plant Species (NCO within 100 feet of the Rhizopogon ellipsosporus
        ROD/RMP, p. 87)        location (10T 4644390 4820490, NAD83). Avoid all
                               activities in the LSR adjacent to the special status site.
3.      Protect Special        Where yarding in meadows results in bare soils, reseed Meadows in 23-6-27
        Habitats (NCO          or plant with native vegetation appropriate to the site. NE1/4 and 23-6-29
        ROD/RMP, pp. 86, Consult with botanist on appropriate species mix.                N1/2.
        95)
4.      Protect Special        During reforestation following VRH, avoid planting tree Reforestation, Tree
        Habitats (NCO          species in designated meadow habitats.                     Planting
        ROD/RMP, pp. 86,
        95)




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Appendix 3. Monitoring




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APPENDIX 4 – Definitions and Terms for the Northern
  Spotted Owl and Marbled Murrelet Analysis
Northern Spotted Owl Habitat Type and Function

NRF Habitat
Habitat for the spotted owl used for nesting, roosting, and foraging is also referenced as “NRF”
habitat. NRF habitat also provides for dispersal function (described below). There are multiple
vegetative components that, when acting together in concert, constitute NRF habitat including:
conifer cover, conifer diameter, density of large (≥ 30 inches diameter at breast height (DBH))
conifers, canopy cover greater than 60 percent, stand height, and stand age. Dead vegetative
components such as snags and down wood material also contribute to NRF habitat because they
provide nesting/roosting structures for spotted owls as well as for small mammal prey (e.g.,
flying squirrels). The amount of these live or dead vegetative components present in NRF habitat
varies by physiographic province.
For this analysis, NRF habitat is generally mature or older coniferous forest that contains large-
diameter trees and snags with nesting structure, is multi-storied, and has sufficient vertical and
horizontal cover to provide opportunities for nesting, roosting and foraging activities. NRF
habitat classification for this analysis was done by either (a) field verification by wildlife
biologists or (b) using FOI data where forest 80 years of age or older (i.e., a stand birthdate prior
to 1942) in the absence of field verification of habitat function.
Recovery Action 32 (RA 32) quality habitat is a subset of NRF habitat which is characterized as
“well distributed, older and more structurally complex multi-layered conifer forests” having
large diameter trees, high amounts of canopy cover, and decadence components such as broken-
topped live trees, mistletoe, cavities, large snags, and fallen trees (USDI FWS 2011a p. III-67)”.
Refer to Appendix D for more discussion about Recovery Action 32.

Dispersal-Only Habitat
Dispersal habitat is essential for the movement of juvenile and non-territorial (e.g., single birds)
northern spotted owl to fill territorial vacancies and provide adequate gene flow across the range
of the species (USDI FWS 2008). For this analysis, dispersal-only habitat is generally young to
mature coniferous forest with a high amount of canopy cover. Classically, dispersal-only habitat
for the spotted owl was regarded as conifer-dominated forest stands with canopy cover of 40
percent or greater and an average DBH of 11 inches or greater (Thomas et al. 1990). However,
the “marginal” class of habitat, is likely important for supporting dispersal, foraging, and
nonbreeding (i.e., floater) individuals (Lesmeister et al. 2018a, p. 252). Dispersal habitat may
contain snags, coarse down wood, and prey sources, which are habitat components allowing
northern spotted owls to move and forage between blocks of NRF habitat (USDI FWS 2008).
For this analysis, dispersal-only habitat is generally defined as conifer-dominated forest stands
approximately 40 to 79 years old. However, dispersal-only habitat classification for this analysis
within unit boundaries was done by field verification by wildlife biologists. In the absence of
field verification of habitat function, classification of habitat outside of unit boundaries were
determined using FOI data where conifer stands with birthdates of 1943 to 1982 (40-79 years
old) were considered dispersal-only habitat.




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Dispersal Habitat
Davis and others (2016, p.12) described “dispersal-capable landscapes” as those which contain
>40 percent dispersal-quality habitat, while Thomas et al. (1990) suggested at least 50 percent
dispersal habitat across the landscape would provide for dispersal/connectivity functions for
spotted owls. For this analysis dispersal habitat is defined as a combination of NRF and
dispersal-only habitats across the landscape.

Forest-Capable
For this analysis, forest-capable is defined as conifer-dominated forest stands less than 40 years
old and are not currently functioning as NRF or dispersal-only habitats. Because forest-capable
does not currently contain habitat elements necessary for maintaining northern spotted owl life
history functions, it will not be discussed at each of the analytical spatial scales (i.e., home range
and core-use area).

Non-Capable

Roads and non-forest lands (open water, agricultural or urban areas, rock outcrops, grasslands, etc.) are
considered non-capable. For this analysis, the District assumed that the total width of non-capable lands
along existing roads is 16 feet (8 feet from centerline) and that the total width of non-capable lands along
highways is 45 feet (22.5 feet from centerline).

Terms Describing Changes in Habitat Type and Function

When assessing if a treatment is a modification, downgrade, or removal, the “central mean
tendency” of the suite of vegetative components comprising habitat by spotted owls was
considered in this analysis.
Modify means the habitat will not change its designated habitat function as a result of treatment, thereby
maintaining its current biological functions for spotted owls.

    •    NRF habitat – a minimum of 60 percent canopy cover is maintained post- harvest.
    •    Dispersal-only habitat – a minimum of 40 percent canopy cover is maintained post-harvest.
Downgrade of NRF habitat means to alter the function of spotted owl NRF habitat so that it no longer supports
nesting, roosting, and foraging functions, but will support spotted owl dispersal (Thomas et al.1990, Davis et al.
2011, pg. 50). Downgrade may also be used to describe effects to dispersal-only habitat. Downgrade of dispersal-
only habitat means to alter the function so that it no longer supports dispersal functions through that patch/stand. In
both NRF and dispersal-only habitat downgrade, functionality is reduced but there is still a substantial residual
vegetative component.

Remove means to alter spotted owl NRF or dispersal-only habitat so that the habitat no longer provides any
function for the species. Recovery of the lost biological function(s) are not expected in the short-term and it is
expected it will take several decades for the habitat to re-develop following removal (e.g., > 20 years). NRF and/or
dispersal-only habitat are converted to forest-capable, which would no longer support nesting, roosting, foraging or
dispersal for northern spotted
owls.

Analytical Spatial Scales




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Home Range

The provincial home range (home range) size varies by physiographic province and is the “area traversed by the
individual in its normal activities of food gathering, mating, and caring for young” (Burt 1943, p. 351). The northern
spotted owl home range in the Oregon Coast Range is a 1.5-mile radius circle centered on a site, encompassing 4524
acres, and is used by northern spotted owls for nesting, roosting, and foraging activities (Thomas et al. 1990 and
Courtney et al. 2004). The home ranges of several northern spotted owl pairs may overlap with the habitat shared by
adjacent owl pairs and other non-territorial owls. The home range is important for the survival and productivity of
northern spotted owls because they are non- migratory birds that remain within their home range year-round (Thomas
et al. 1990).

Available science suggests that as the amount of NRF habitat in a northern spotted owl’s home range decreases, so
does site occupancy, reproduction, and survival (Bart and Forsman 1992, Bart 1995, Forsman et al. 2005). Thomas et
al. (1990), Bart and Forsman (1992), Bart (1995), Olson et al. 2004, and Dugger et al. (2005) suggest that when
northern spotted owl home ranges are comprised of less than 40 to 60 percent NRF habitat, they were more likely to
have lower occupancy and fitness as cited in the BO for the NCO RMP/ROD (USDI FWS 2016, p. 58). In addition,
results of Dugger et al. (2005) and Olson et al. (2004) suggest that younger stands do not necessarily contribute to
overall habitat-fitness.

The amount of NRF habitat considered necessary to maintain northern spotted owl life functions within a 1.5-mile
home range radius is 1809 acres (40 percent of the total home range acres) (Thomas et al. 1990 and Courtney et al.
2004). In this analysis, “habitat-limited” means that the provincial home range has less than 40 percent (1809 acres)
NRF habitat available.

Core-Use Area

The core-use area is a 0.5-mile radius circle centered on a northern spotted owl site, encompassing an area of
approximately 500 acres. The core-use area is used to describe the area most heavily utilized during the nesting season
(USDI FWS 2008b). Core-use areas are defended by territorial northern spotted owls and generally do not overlap
with other northern spotted owl pairs.

A substantial amount of work has been done to determine how much habitat is necessary for a spotted owl site to be
successful. Meyer et al. (1998) examined landscape indices associated within spotted owl sites versus random plots on
BLM lands throughout Oregon, and found that across provinces, percent of old forest (approximately 30 percent) were
highly positively correlated with the probability of spotted owl occupancy within the 500 acres surrounding the site.
Meyer et al. (1998) also determined that territory occupancy decreased following harvest of NRF habitat in the
affected core area. Zabel et al. (2003) found in their northwest California study, that the highest probability of owl
occupancy occurred when the core- use area was composed of 69 percent nesting/roosting habitat. Bart (1995) found
that core-use areas should contain 30-50 percent mature and old growth forest. Most recently, Dugger et al. (2005)
showed in their southern Oregon study area that when owl core-use areas had at least 50-60 percent older forest
habitat, spotted owl fitness (i.e., survival and reproduction) was relatively higher than in core-use areas with lesser
amounts.

Within the core-use area, habitat within 200-300 meters of the nest is important to nest site selection and habitat use
by post-fledgling owls (Miller 1989; Swindle et al. 1999; Perkins et al. 2000). The amount of NRF habitat considered
essential to maintain northern spotted owl life functions is 250 acres (50 percent) of the core-use area (Irwin et al.
2005, Glenn et al. 2004, and Carey et al. 1992). Other studies determined the probability of spotted owl occupancy
and habitat fitness varies according to the amount of NRF within the core-use area (Bart 1995, Meyer et al. 1998,
Zabel et al. 2003, and Dugger et al. 2005). These critical values vary from 30 percent (Meyer et al. 1998) to 69 percent




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(Zabel et al. 2003). Thus, impacts were compared against the mean value of 50 percent (of 500 acres) NRF within the
core-use area, which is approximately half-way between the critical values of 30 and 69 percent (Bart 1995, Meyer et
al. 1998, Zabel et al. 2003, and Dugger et al. 2005). It also corresponds to 250 acres of NRF considered essential to
maintain northern spotted owl life functions (Irwin et al. 2005, Glenn et al. 2004, and Carey et al. 1992). Therefore,
for this analysis, “habitat-limited” means the spotted owl core-use area has less than 50 percent (< 250 acres) NRF
habitat available.

Nest Patch

The 70-acre nest patch is centered within the core-use area, represented by a circle with a 300-meter radius centered
on the nest tree (Perkins 2000; Swindle et al. 1999; Miller 1989) or activity center of a pair or resident single spotted
owl. As central place foragers, nesting spotted owls are likely most sensitive to activities that occur near the nest site.
Nest patches are usually associated with older forest; however, younger forests may be an important component due to
their proximity to the nest site and potential usage by spotted owls (Glenn et al. 2004, p. 48). Relatively minor changes
in stand composition or shape of a nest patch may result in substantial reductions in the likelihood of occupancy and
reproduction of the territory. (Swindle et al. 1999, Perkins 2000).

In this analysis habitat acres treated may exceed harvest acres in the proposed action due to the difference in road-
width assumptions and number rounding. For existing roads, environmental baseline road-width assumptions for the
northern spotted owl analysis corresponds with the 16-foot road-width used in ESA consultation for this project. In
contrast, a 45-foot road width is used for the proposed action acres and for other resources analyze which corresponds
to the PRMP/FEIS assumptions for the NCO ROD/RMP (USDI - Bureau of Land Management, 2016b, p. 753).




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Marbled Murrelet Habitat Type and Function
Marbled murrelet nesting structure

A conifer tree with all of the following characteristics (which are not always visible from the ground)
within 50 miles of the Pacific Coast (NCO RMP, pg. 98; SWO RMP, pg. 119):
     o A DBH of at least 19.1 inches and a height greater than 107 feet.
     o A nest platform at least 32.5 feet above the ground (a nest platform is a relatively flat surface at
        least 4 inches wide, with nesting substrate (e.g., moss, epiphytes, duff), and an access route
        through the canopy that a murrelet could use to approach and land on that platform).
     o A tree branch or foliage, either on the tree with potential structure or on an adjacent tree, which
        provides protective cover over the platform.
Note: Nesting structure does not have to be occupied by nesting marbled murrelets.
Forest stands providing nesting opportunities are considered nesting habitat for the murrelet. Generally,
this habitat is 80 years of age or older (i.e., a stand birthdate prior to 1937) includes marbled murrelet
nesting structure, and is within 50 miles of the coast.

Recruitment habitat

Forested stands within 50 miles of the coast containing a residual component of potential nesting
structure, as described in the Management of Potential Marbled Murrelet Nesting Structure in Thinning
Stands guidance of March 26, 2004 (USDI BLM and FWS 2004). This habitat type occurs in mid-seral
stands when residual or remnant trees were left standing during previous harvest. For this analysis,
recruitment habitat is generally conifer stands with birthdates of 1937 to 1976 (40-79 years old) and likely
contain nesting structure as described above and/or capable of becoming nesting habitat within 50 years.
Roads are not considered recruitment habitat. For terrestrial wildlife consultation analyses, the District
assumed that the total width of non-capable habitat along existing GTRN roads is 16 feet (8 feet from
centerline) and that the total width of non-capable habitat along existing highways is 45 feet (22.5 feet
from centerline).

Forest-Capable
For this analysis, forest-capable is defined as conifer-dominated forest stands less than 40 years
old and are not currently functioning as nesting or recruitment habitats.

Non-Capable

Roads and non-forest lands (open water, agricultural or urban areas, rock outcrops, grasslands, etc.) are
considered non-capable. For this analysis, the District assumed that the total width of non-capable lands
along existing roads is 16 feet (8 feet from centerline) and that the total width of non-capable lands along
highways is 45 feet (22.5 feet from centerline).




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APPENDIX 5 – Summary of northern spotted owl analytical circles
Table 1. Effects of the Blue and Gold Harvest Plan to northern spotted owl nest patches (70 acres).
                                                                                                                                                         Dispersal-Only
                                                                                      Post-Action     Dispersal-Only   Dispersal-Only   Dispersal-Only   Post-Action
         2023            Total Federal     NRF Baseline    NRF Loss    NRF Modified   NRF Baseline    Baseline         Loss             Modified         Baseline
 MSNO
         Occupancy                  % of
                                    70             % of                                       % of             % of                                               % of
                         acres      ac     acres   70 ac   acres       acres          acres   70 ac   acres    70ac    acres            acres            acres    70 ac
 0266    Unknown         69        98      50      71      0           0              50      71      18       26      0                0                18       26
 0267    Unknown         24        34      24      34      0           0              24      34      0        0       0                0                0        0
 0269    No Detections   70        100     45      65      0           0              45      65      24       34      0                0                24       34
 0271    No Detections   44        63      19      27      0           0              19      27      25       36      0                0                25       36
 0272    No Detections   70        100     53      76      0           0              53      76      16       23      0                0                16       23
 0391    Incidental      45        65      39      56      1           13             38      54      0        0       0                0                0        0
 0392    Occupied        64        92      64      92      0           0              64      92      0        0       0                0                0        0
 0514    No Detections   70        100     18      26      0           0              18      26      32       46      0                0                32       46
 1160    Unknown         70        100     19      28      0           0              19      28      29       41      0                0                29       41
 1359    No Detections   53        75      51      73      0           0              51      73      0        0       0                0                0        0
 1802    No Detections   64        91      61      88      0           0              61      88      0        0       0                0                0        0
 1803    No Detections   37        53      25      36      0           0              25      36      0        0       0                0                0        0
 1804    No Detections   51        72      51      72      0           33             51      72      0        0       0                0                0        0
 1816    Unknown         64        92      47      67      0           0              47      67      11       16      0                0                11       16
 1916    No Detections   69        98      31      45      1           0              30      43      35       50      18               0                17       24
 1923    No Detections   47        67      42      59      0           0              42      59      6        8       5                0                1        1
 1924    Incidental      69        98      67      95      0           0              67      95      2        2       1                0                1        1
 1925    No Detections   16        23      16      23      0           0              16      23      0        1       0                0                0        1
 1972    Incidental      70        100     69      98      0           0              69      98      1        2       0                0                1        2
 1977    No Detections   49        70      49      70      0           0              49      70      0        0       0                0                0        0
 1980    No Detections   70        100     49      70      0           0              49      70      20       28      0                0                20       28




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                                                                                                                                                       Dispersal-Only
                                                                                    Post-Action     Dispersal-Only   Dispersal-Only   Dispersal-Only   Post-Action
       2023            Total Federal     NRF Baseline    NRF Loss    NRF Modified   NRF Baseline    Baseline         Loss             Modified         Baseline
MSNO
       Occupancy                  % of
                                  70             % of                                       % of             % of                                               % of
                       acres      ac     acres   70 ac   acres       acres          acres   70 ac   acres    70ac    acres            acres            acres    70 ac
1983   No Detections   70        100     52      75      0           0              52      75      1        1       0                0                1        1
1987   Incidental      70        100     69      99      1           34             68      94      0        0       0                0                0        0
1988   Unknown         57        81      43      62      0           0              43      62      13       19      0                0                13       19
1992   No Detections   65        93      64      92      0           32             64      92      0        0       0                0                0        0
2049   Unknown         42        60      15      22      0           0              15      22      26       37      0                0                26       37
2051   No Detections   58        83      53      76      0           0              53      76      0        0       0                0                0        0
2144   No Detections   34        49      24      34      0           0              24      34      10       15      0                0                10       15
2201   Unknown         64        91      62      89      0           0              62      89      1        2       0                0                1        2
3267   Occupied        0         0       0       0       0           0              0       0       0        0       0                0                0        0
3904   No Detections   38        54      33      47      0           0              33      47      4        6       0                0                4        6
4055   No Detections   5         7       5       7       0           0              5       7       0        0       0                0                0        0
4506   No Detections   68        97      23      33      0           0              23      33      43       62      0                0                43       62
4516   No Detections   43        62      42      60      0           6              42      60      1        2       0                0                1        2
4574   No Detections   35        50      35      50      0           0              35      50      0        0       0                0                0        0
4659   Incidental      32        45      2       2       0           2              2       2       0        0       0                0                0        0
4661   No Detections   70        100     46      65      0           0              46      65      24       34      0                0                24       34
4673   No Detections   37        52      25      36      0           0              25      36      6        8       0                0                6        8

4682   No Detections   50        72      27      39      0           0              27      39      21       30      0                10               21       30




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Table 2. Effects of the Blue and Gold Harvest Plan to northern spotted owl core-use areas (500 acres).
                                                                                                                                                      Dispersal-Only
                                                                     NRF        Post-Action NRF   Dispersal-Only    Dispersal-Only   Dispersal-Only   Post-Action
         2023
 MSNO                    Total Federal   NRF Baseline     NRF Loss   Modified   Baseline          Baseline          Loss             Modified         Baseline
         Occupancy
                                 % of            % of                                    % of              % of                                                % of
                         acres 500 ac    acres   500 ac   acres      acres      acres    500 ac   acres    500 ac   acres            acres            acres    500 ac
 0266    Unknown         422    84       234     47       0          0          234     47        162     32        0                0                162     32
 0267    Unknown         99     20       99      20       0          0          99      20                0         0                0                0       0
 0269    No Detections   337    67       266     53       0          0          266     53        69      14        0                0                69      14

 0271    No Detections   257    51       104     21       0          0          104     21        149     30        0                0                149     30

 0272    No Detections   386    77       264     53       0          0          264     53        117     23        0                0                117     23
 0391    Incidental      271    54       221     44       6          29         215     43        0       0         0                0                0       0
 0392    Occupied        255    51       249     50       0          0          249     50        5       1         0                0                5       1
 0514    No Detections   400    80       212     42       0          0          212     42        102     20        0                0                102     20
 1160    Unknown         245    49       77      15       0          0          77      15        97      19        0                0                97      19
 1359    No Detections   135    27       95      19       0          0          95      19        36      7         0                0                36      7
 1802    No Detections   207    41       202     40       0          0          202     40        0       0         0                0                0       0
 1803    No Detections   252    50       170     34       0          0          170     33        0       0         0                0                0       0
 1804    No Detections   335    67       328     66       0          225        328     66        0       0         0                0                0       0
 1816    Unknown         327    65       182     36       0          0          182     36        80      16        0                0                80      16
 1916    No Detections   303    61       115     23       5          0          110     22        135     27        49               7                86      18
 1923    No Detections   298    60       222     44       3          0          219     44        38      8         27               2                11      3
 1924    Incidental      325    65       186     37       1          1          185     37        128     26        48               11               80      16
 1925    No Detections   51     10       23      5        0          0          23      5         27      5         0                0                27      5
 1972    Incidental      362    72       305     61       0          0          305     61        40      8         0                19               38      8
 1977    No Detections   173    35       171     34       0          0          171     34        0       0         0                0                0       0
 1980    No Detections   406    81       229     46       0          0          229     46        82      16        0                0                82      16
 1983    No Detections   339    68       194     39       0          0          194     39        70      14        1                0                69      14
 1987    Incidental      328    66       269     54       3          231        266     52        0       0         0                0                0       0
 1988    Unknown         273    55       143     29       0          0          143     29        128     26        0                0                128     26
 1992    No Detections   355    71       316     63       0          248        316     63        0       0         0                0                0       0
 2049    Unknown         241    48       148     30       0          0          148     30        91      18        0                0                91      18




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                                                                                                                                                    Dispersal-Only
                                                                   NRF        Post-Action NRF   Dispersal-Only    Dispersal-Only   Dispersal-Only   Post-Action
       2023
MSNO                   Total Federal   NRF Baseline     NRF Loss   Modified   Baseline          Baseline          Loss             Modified         Baseline
       Occupancy
                               % of            % of                                    % of              % of                                                % of
                       acres 500 ac    acres   500 ac   acres      acres      acres    500 ac   acres    500 ac   acres            acres            acres    500 ac
2051   No Detections   326    65       220     44       0          0          220     44        11      2         0                0                11      2
2144   No Detections   87     17       59      12       0          0          59      12        26      5         0                0                26      5
2201   Unknown         343    69       308     62       0          0          308     62        33      7         0                0                33      7
3267   Occupied        31     6        31      6        0          0          31      6         0       0         0                0                0       0
3904   No Detections   250    50       141     28       0          0          141     28        106     21        0                0                106     21
4055   No Detections   171    34       139     28       0          0          139     28        9       2         0                0                9       2
4506   No Detections   325    65       79      16       0          0          79      16        241     48        0                0                241     48
4516   No Detections   267    53       229     46       0          43         229     46        8       2         1                1                7       1
4574   No Detections   41     8        41      8        0          0          41      8         0       0         0                0                0       0
4659   Incidental      251    50       155     31       1          59         154     31        29      6         11               0                18      4
4661   No Detections   491    98       171     34       0          2          171     34        248     50        0                1                248     50
4673   No Detections   281    56       93      19       0          0          93      19        105     21        0                0                105     21

4682   No Detections   228    46       116     23       4          0          112     22        36      7         16               11               20      4




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Table 3. Effects of the Blue and Gold Harvest Plan to northern spotted owl home ranges (4,524 acres).
                                                                                                                                                          Dispersal-Only
                                                                                     Post-Action NRF   Dispersal-Only   Dispersal-Only   Dispersal-Only   Post-Action
         2023
 MSNO                    Total Federal    NRF Baseline     NRF Loss   NRF Modified   Baseline          Baseline         Loss             Modified         Baseline
         Occupancy
                                 % of           % of                                          % of             % of                                               % of
                         acres 4,524 ac   acres 4,524 ac   acres      acres          acres 4,524 ac    acres 4,524 ac   acres            acres            acres 4,524 ac
 0266    Unknown         2747   61        1772   39        0          0              1772   39         706    16        0                1                706    16
 0267    Unknown         1819   40        1424   31        0          0              1424   31         344    8         0                2                344    8
 0269    No Detections   1518   34        972    21        0          3              972    21         440    10        0                2                440    10
 0271    No Detections   1917   42        1159   26        0          0              1159   26         703    16        0                0                703    16
 0272    No Detections   1765   39        1097   24        2          0              1095   24         610    13        1                2                609    13
 0391    Incidental      2190   48        1264   28        30         217            1234   27         698    15        61               47               617    14
 0392    Occupied        1324   29        926    20        0          0              926    20         360    8         0                0                360    8
 0514    No Detections   2131   47        808    18        2          1              806    18         966    21        47               23               919    20
 1160    Unknown         1702   38        968    21        0          2              968    21         574    13        0                0                574    13
 1359    No Detections   1070   24        614    14        0          0              614    14         332    7         0                0                332    7
 1802    No Detections   875    19        751    17        0          4              751    17         108    2         1                1                107    2
 1803    No Detections   2095   46        1047   23        6          1              1041   23         699    15        29               78               670    15
 1804    No Detections   2842   63        2237   49        25         1114           2212   49         317    7         19               116              298    6
 1816    Unknown         1902   42        949    21        0          2              949    21         761    17        0                2                761    17
 1916    No Detections   1064   24        311    7         11         0              300    7          536    12        95               14               441    10
 1923    No Detections   2279   50        1045   23        8          2              1039   23         922    20        198              59               724    16
 1924    Incidental      2427   54        1686   37        7          470            1679   37         482    11        83               16               399    9
 1925    No Detections   1302   29        694    15        0          0              694    15         520    11        0                0                520    11

 1972    Incidental      2038   45        1318   29        14         213            1304   29         406    9         6                89               400    9

 1977    No Detections   1450   32        922    20        0          0              922    20         390    9         0                0                390    9
 1980    No Detections   2107   47        819    18        10         10             809    18         916    20        6                0                910    20
 1983    No Detections   1387   31        755    17        1          1              754    17         417    9         0                3                417    9
 1987    Incidental      2636   58        1581   35        19         750            1562   34         627    14        38               2                589    12
 1988    Unknown         2780   61        1809   40        0          2              1809   40         831    18        0                3                831    18
 1992    No Detections   2811   62        2010   44        19         1215           1991   44         423    9         74               9                349    8
 2049    Unknown         1388   31        756    17        0          0              756    17         451    10        0                0                451    10




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                                                                                                                                                        Dispersal-Only
                                                                                   Post-Action NRF   Dispersal-Only   Dispersal-Only   Dispersal-Only   Post-Action
       2023
MSNO                   Total Federal    NRF Baseline     NRF Loss   NRF Modified   Baseline          Baseline         Loss             Modified         Baseline
       Occupancy
                               % of           % of                                          % of             % of                                               % of
                       acres 4,524 ac   acres 4,524 ac   acres      acres          acres 4,524 ac    acres 4,524 ac   acres            acres            acres 4,524 ac
2051   No Detections   2696   60        1526   34        24         466            1502   33         623    14        156              67               467    10
2144   No Detections   1285   28        816    18        0          1              816    18         287    6         0                1                287    6
2201   Unknown         2497   55        1923   43        0          0              1923   43         423    9         0                3                423    9
3267   Occupied        1363   30        811    18        2          0              809    18         473    10        9                60               464    10
3904   No Detections   1828   40        1010   22        0          1              1010   22         605    13        1                0                604    13
4055   No Detections   1969   44        1410   31        18         168            1392   31         343    8         2                63               341    8
4506   No Detections   2058   45        953    21        7          254            946    21         747    17        5                0                742    16
4516   No Detections   1214   27        889    20        9          100            880    19         222    5         1                4                221    5
4574   No Detections   828    18        413    9         0          0              413    9          290    6         0                0                290    6
4659   Incidental      2444   54        1731   38        10         957            1721   38         369    8         104              23               265    6
4661   No Detections   1703   38        994    22        4          3              990    22         548    12        30               3                518    12
4673   No Detections   2094   46        713    16        13         0              700    15         875    19        151              66               724    16

4682   No Detections   1184   26        582    13        8          87             574    13         317    7         100              23               217    5




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APPENDIX 6 – Northern spotted owl activity center maps




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                                 74
777 NW Garden Valley Blvd
             Case97471
Roseburg, Oregon  6:24-cv-01641-MTK        Document 25-4   Filed 04/18/25   Page 76 of 262
mobile: (971) 666-9316
desk: (541) 957-3476

https://fws.gov/office/oregon-fish-and-wildlife

"Let the beauty of what you love be what you do." - Rumi




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      Outlook


Re: Blue & Gold

From Reeder, Erich M <ereeder@blm.gov>
Date Wed 2/13/2019 10:55
To    Gayner, Elizabeth I <egayner@blm.gov>


And it would make sense that when allocating HLB, and then creating timber sale plans, we'd want to
focus on Dispersal and stay away from NRF/RA32, but since that layer is equally unreliable because it is
also based on an unreliable FOI...my oh my, what a mess!



On Wed, Feb 13, 2019 at 9:49 AM Gayner, Elizabeth <egayner@blm.gov> wrote:
 Back in the day, its starting base is the FOI layer using stand age as the general
 determination for habitat type (0-39 capable, 40-79 dispersal-only, 80+ NRF). Unfortunately,
 many of these stands are not aged correctly because they are based on the younger cohort if
 they were logged at all. Remnant trees were not considered for the stand age. As we visit
 stands... we verify one way or another and I make the changes to the layer with the dates
 field verified and comments to provide justification and documentation.

  Liz



  Elizabeth I. Gayner
  Lead Wildlife Biologist - Swiftwater Field Office
  OR/WA BLM Peregrine Falcon Technical Coordinator
  Bureau of Land Management - Roseburg District Office
  Phone: (541) 464-3381; egayner@blm.gov




  On Wed, Feb 13, 2019 at 9:41 AM Reeder, Erich <ereeder@blm.gov> wrote:
   I just checked 23-6-29B and 24-6-5E, and again NRF and RA32 in classified Dispersal only. I'll get
   you some maps. How was the NSO Habitat layer made anyhow?

     On Wed, Feb 13, 2019 at 7:57 AM Gayner, Elizabeth <egayner@blm.gov> wrote:
      Thanks for the update! Please get me a map with your hab delineations and determinations
      and I will change in the District Habitat layer. No doubt there are many stands
      misclassified... so, we will keep plugging away at updating our hab layer.

        Thanks Erich!

        Liz
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Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov




On Tue, Feb 12, 2019 at 6:29 PM Reeder, Erich <ereeder@blm.gov> wrote:
 Hi Liz, Angie & Cindy,

  Well after being out at 24-6-7C another day here's the scoop—the stand is an old burn that
  was then selectively logged 60 years ago, leaving many large OG remnants, including a whole
  bunch of broken-top live trees beautiful for NSO nesting. I checked the Rsbg District Habitat
  (Feb 2018) layer and the whole stand is down as Dispersal only. This is wildly wrong, all that
  I've seen so far is Nesting, Roosting, Foraging with some areas of high-quality RA32.

  I looked at 23-6-20A too, and the proposed sale area is classified as Dispersal only, and its
  got RA32 along the E side and some NRF there as well.

  I haven't looked at other stands, but I suspect these two are not the only ones we'll find that
  are mistyped as to NSO Habitat and this is a problem.

  Cheers!
  E




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     Outlook


Fw: 2021 PNW ARU Prelim Results and 2022 Blue & Gold NSO Surveys

From Wise, Heather R <hwise@blm.gov>
Date Wed 8/10/2022 11:42
To    Vaca, Veronica M <vvaca@blm.gov>; Whitt, Jordan C <jcwhitt@blm.gov>; Bright, Cindy K
      <ckbright@blm.gov>
Cc    Gayner, Elizabeth I <egayner@blm.gov>


  1 attachments (625 KB)
NSO_B&G_ARU_2021Results&2022Direction.pdf;




Here are the maps for the B&G sites with 2021 ARU detections. Focus survey efforts to cover all NRF and
large areas of dispersal habitat within the hexagon. Code visits as "AD" and "N". Document on STOC visit
cards the reason for the additional visit and that it is Blue and Gold EA. We went over them on 8/09 and
it looks like just 3 hexagons, no need to survey in Doe Creek again, it has 6 visits. I have the sites, TRS
and hexes outlined in the SW Wildlife Tasks sheet that will follow in a separate e-mail.

Thanks,

Heather Wise

Heather R Wise
Wildlife Biologist
hwise@blm.gov
541-464-3253

From: Gayner, Elizabeth I <egayner@blm.gov>
Sent: Tuesday, March 15, 2022 10:48 AM
To: Keller, Marnie N <mkeller@blm.gov>; Wise, Heather R <hwise@blm.gov>; Reeder, Erich M
<ereeder@blm.gov>; Bright, Cindy K <ckbright@blm.gov>; Whitt, Jordan C <jcwhitt@blm.gov>; Vaca, Veronica M
<vvaca@blm.gov>; Bullard, Billy L <bbullard@blm.gov>
Cc: Showalter, Rachel M <rshowalt@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>; Espinosa, Rolando H
<respinos@blm.gov>
Subject: 2021 PNW ARU Prelim Results and 2022 Blue & Gold NSO Surveys

Hey Gang,

Attached are the preliminary results from the PNW ARU surveys in Blue and Gold and my direction on
tackling survey effort in the hexagons that had detections. There are four sites that will take some extra
effort for set-up and surveys. I know that survey areas have been assigned, but I want everybody to be in
the loop because surveys in this area are our highest priority and will most likely involve everyone on the
crew at some point.


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We received the ARU detection information from PNW late last week. We are still trying to get more
detailed information. But given how long it took to get this much from PNW, we are going to use what we
have thus far instead of waiting further. If we get additional information in the near future (e.g., which
specific ARUs recorded NSO), I will let you all know. In the meantime we will proceed with the direction I
have outlined in the attached document. This morning, DLT was briefed on the information we received
from PNW and on how we are going to approach the 2022 survey effort using the 2021 ARU
information.

Please direct any questions or concerns to Heather, and she and I will work through them. We can also
discuss as group before or after NSO training this next Monday if needed.

Thank you,


Liz




Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov




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      Outlook


Re: ARUs & Doe Crk

From Gayner, Elizabeth I <egayner@blm.gov>
Date Mon 6/14/2021 18:06
To    Reeder, Erich M <ereeder@blm.gov>
Cc    Keller, Marnie N <mkeller@blm.gov>; Bright, Cindy K <ckbright@blm.gov>; Wise, Heather R
      <hwise@blm.gov>


Erich, Waiting on the ARU shipment to come in. To meet protocol, we need four ARUs to cover a
hexagon. So, as soon as the order gets here... they can be deployed into Doe Creek.


Liz




Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov



From: Reeder, Erich M <ereeder@blm.gov>
Sent: Monday, June 14, 2021 15:19
To: Gayner, Elizabeth I <egayner@blm.gov>
Cc: Keller, Marnie N <mkeller@blm.gov>; Bright, Cindy K <ckbright@blm.gov>; Wise, Heather R <hwise@blm.gov>
Subject: ARUs & Doe Crk

Hi Liz,
I know we discussed leaving the ARUs out at the Archie fire, but it occurred to me that there is at least
one site in the proposed Blue & Gold TS area where there have been concerns voiced that our night
surveys do not cover the NSO habitat completely. This is Doe Creek (23-6-28,29). I'm not sure if there are
other sites in the B&G footprint that have similar issues (Yellow Butte and Upper Yellow Crk...?), but at
least this one seems to call for ARU placement sooner than later to give us a better chance of detecting
NSO occupancy.
Thanks,
E




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     Outlook


Re: Protocols for NSO Surveys in Blue and Gold Bonus Sections

From Korn, Michael J <mkorn@blm.gov>
Date Tue 2/1/2022 09:12
To   Wise, Heather R <hwise@blm.gov>
Cc   Showalter, Rachel M <rshowalt@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L
     <rmcgraw@blm.gov>


Thanks Heather, to confess - I was at the last level 1 meeting but kept getting interrupted so apparently
missed the discussion (that's what I don't like about telework). Anyway given the extra workload and
exposure I wanted to make sure we weren't just assuming without verifying the necessity for the
additional visits.

Mike Korn
Swiftwater Field Manager
Bureau of Land Management
777 NW Garden Valley Blvd
Roseburg, Oregon
541-464-3211


From: Wise, Heather R <hwise@blm.gov>
Sent: Tuesday, February 1, 2022 8:45 AM
To: Korn, Michael J <mkorn@blm.gov>
Cc: Showalter, Rachel M <rshowalt@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L
<rmcgraw@blm.gov>
Subject: Protocols for NSO Surveys in Blue and Gold Bonus Sections

Hi Mike,

After our discussion yesterday, I asked Liz Gayner about the NSO surveys for the 3 sites in the Blue and
Gold EA "Bonus Sections" (Upper Yellow, Yellow Butte, and Doe Creek) that did not meet protocol in 2021
because the survey area was not covered completely. Our plan is to access the NSO NRF habitat that
needs additional call points for full coverage and survey those sites using the 2012 USFWS Protocol which
requires a minimum of 6 night visits with no response for non-occupancy.

Your question was to inquire about whether we could reduce survey efforts by implementing the 1998
Forsman, Spotted Owl Monitoring Protocol for Demographic Studies which requires a minimum of 3 night
visits with no response for non-occupancy. We are under agreement with the USFWS to use the 1998
Forsman 3-visit protocol for the Tyee Survey Area as a continuation of monitoring sites that were
surveyed during the implementation of the Tyee Density demographic study (1990- 2020).

Liz informed me that this specific topic was brought up and discussed at the last USFWS Level 1 meeting
in January with Jim Thrailkill. Jim confirmed that we need to survey Upper Yellow, Yellow Butte, and Doe
Creek using the 6 visit 2012 USFWS Protocol because there was a break in continuity (since 2016) of
survey effort in this area. This decision was based on knowledge of the PNW crew's survey effort when
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the Tyee Density Study was still in place and last year (2021) when the Swiftwater Wildlife crew continued
monitoring those sites.

In addition, Upper Yellow, Yellow Butte, and Doe Creek are almost entire sections of high quality NSO NRF
and RA-32 habitat which will certainly get the attention of those scrutinizing this EA project, therefore it is
in our best interest to complete the full 2012 USFWS survey effort (6-visits).

The Swiftwater Wildlife crew is prioritizing survey efforts in the Blue and Gold EA NSO survey area as well
as other project areas, and we can ensure that project clearance will be prioritized if there are any
"issues" during the 2022 NSO survey season. Roli Espinosa, the Wildlife lead on the Blue and Gold EA, will
be updated on a regular basis throughout the survey season so that he can address anything that arises in
a timely manner with the IDT.


Let one of the Wildlife staff (Rex, Liz, Roli, or me) know if you have further questions.

Heather Wise




Heather R Wise
Wildlife Biologist
hwise@blm.gov
541-464-3253




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      Outlook


Re: Status

From Gayner, Elizabeth I <egayner@blm.gov>
Date Wed 2/2/2022 23:10
To    Espinosa, Rolando H <respinos@blm.gov>


Habitat layer for DMF area is not updated yet. Sent Jeremy an email asking for the information and then I
will get the GIS layer updated.

I hear ya re MAMU in B&G. The current protocol mentions something about talking with the "powers
that be" (i.e., FWS) if detections are obtained during the second year of surveys to determine if there is a
need for additional years of survey effort (I don't remember exact language, so totally paraphrasing). So
just curious if there was discussion with Level 1. I have been so out of the MAMU loop over the last
couple of years. So when looking through the data, I was surprised on how many presence detections we
had in the B&G area. So, I agree with your biology brain re MAMU likely occupying the area. The jet
sounds are a very good indicator of occupancy in one of the Yellow Creek sites. So, yes frustrating at so
many levels. Hopefully surveys in the bonus units will have positive results.

I still plan to use ARUs in the bonus units to supplement our NSO and MAMU surveys. I am also in the
process of talking with Rex about acquiring additional ARUs (currently we have enough to cover 3
hexagons). I have told Erich to plan for deployment in early March... as soon as the NSO survey season
starts and then have a plan to survey the bonus units throughout the season - especially in those difficult
to reach places by foot.

We are also waiting on PNW to process our ARU data from last year at Doe Creek, as well as waiting on
their ARU data from the same area. Like MAMU, I would think NSO are hiding down in those bonus units
as well. And apparently PNW got MAMU detections on their ARUs- but we don't know where yet (Rex
requested the data). I have also been taking a bunch of trainings through Wildlife Acoustics on running
their software and just got two separate computers to dedicate to processing ARU data. I am also looking
into BirdNet through Cornell to analyze data. So my plan is to process ARU data much more timelier after
retrieving data cards so we can use any positive data to help with our on the ground survey effort.

So will keep you posted on our progress! My fingers are crossed for some positive results one way or
another. 🙂

Liz




Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov



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From: Espinosa, Rolando H <respinos@blm.gov>
Sent: Wednesday, February 2, 2022 22:17
To: Gayner, Elizabeth I <egayner@blm.gov>
Subject: Re: Status


Thanks for the info Liz. The reason I was asking is that originally that project
was included in the Cumulative Analysis for Blue and Gold. I am wondering if
we still have to include it as a cumulative action. Is the NSO habitat layer
updated with that habitat loss yet?

Regarding the murrelets.
2019-Presence (Yellow Creek 4 I C) 6/11/2019
2020-Presence (Yellow Creek 05 III ) 5/14/2020
2020-Presence (Yellow Creek 07 IV) 7/10/2020

No Detections in 2021
I was about to send you this but I see you just corrected the date.

No additional surveys are planned in 2022 in the Yellow Creek sites with prior
presence. As you know rumor and future protocol standards are not good
enough to do more surveys given the desire of managers to sell Blue and Gold
units 4th quarter of 2022 or earlier.

My biology brain says that murrelets are probably nesting in the entire Blue
and Gold project area, especially the Bonus units. Very frustrating.

Have a good night

Roli Espinosa
Roseburg District BLM
South River Lead Wildlife Biologist
777 NW Garden Valley Blvd.
Roseburg, OR 97471
541-464-3351 respinos@blm.gov




From: Gayner, Elizabeth I <egayner@blm.gov>
Sent: Wednesday, February 2, 2022 19:36

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To: Espinosa, Rolando H <respinos@blm.gov>
Subject: Re: Status

Most, if not all, should be cut and completed. I need to ask Jeremy that very question. Just sent him an
email.

On another note, I was going through the MAMU detection data to clean up and update my records for
occupied and presence sites so I can assign numbers to new occupied sites. I noticed that the Yellow
Creek Sites all got detections - jet sounds at one site in 2020 and presence in 2021 at each of the other
two sites. Are another year of surveys planned for 2022, particularly at those sites that got detections last
year?? Rumor has it that at least one of the two last years were not good for MAMU (low nesting/low
food resources) in Oregon.

FYI - Under the new survey protocol currently under review/revision, it will declare jet sound detections as
occupied.

Hope you are hanging in there otherwise. ☺️


Liz




Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov



From: Espinosa, Rolando H <respinos@blm.gov>
Sent: Wednesday, February 2, 2022 17:34
To: Gayner, Elizabeth I <egayner@blm.gov>
Subject: Status


Hi Liz,
Do you know the status of the Deadman’s Folly Harvest Plan, DFHP? Has it been sold and has it been
cut?
RE


Roli Espinosa
Roseburg District BLM
South River Lead Wildlife Biologist
777 NW Garden Valley Blvd.
Roseburg, OR 97471
541-464-3351 respinos@blm.gov


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       need to consider doing so from other perspectives and needs so, we are considering the
       Level 1 perspective, a District and RA perspective, what is best for owl management under
       RMP, etc.,. We would rather drop sites that have been unoccupied for years versus sites that
       have been recently occupied. So if we can drop enough sites to make up for the fact that
       extra work may need to do more at the other sites, then we should consider that. We would
       rather shave off the outer edges of the TSA than taking more out of the middle...especially if
       recently occupied. In addition to Smith River sites, I think other sites to consider dropping
       because they are on the edges of TSA and have not been occupied in recent years are...
             Drain WS
             Bear Hill
             Brad's Trib
             Coon Creek
             Eagle's Beach
             Lost Creek
             Marvin Gardens
             Maupin Road
             Mehl Creek
             Mill Trib
             Ravendale
             South McGee
             Upper Cougar Creek

         By the way, Lower South Fork has no triangle or information in the 2001 NSO layer.
       What is occupancy status for the last 5-10 years?

Take a look at what I am proposing and let's discuss further. We also will need to run this by the
Level 1. So, I think we need to do so with Rex too... just so we have part of Level 1 input looped in
ahead of time.

Thanks!

Liz




Elizabeth I. Gayner
Lead Wildlife Biologist Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management Roseburg District Office
Phone: (541) 464 3381; egayner@blm.gov



From: Wise, Heather R <hwise@blm.gov>
Sent: Thursday, May 12, 2022 13:33
To: Gayner, Elizabeth I <egayner@blm.gov>
Subject: Re: Proposal of sites to drop

Liz,
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In general, I like the proposal.

      I would like to keep Upper North Fork, Smith Folley, Peterson Point, SF Smith River, Lower South
      Fork (large chunk of contiguous NRF with some occupancy).
      I agree with monitoring Smith Folley, (it is completed to protocol for 2022, pair occupancy, not
      nesting), however in most of the other sites you mentioned, there are large areas of NRF that we
      really are not covering, and can't without putting in off road trails, like the B&G bonus sections. I can
      re-evaluate the coverage once I complete the call-point edits from our first round of visits. The pair
      that was in Upper North Fork 2021 is no longer there, the male is alone and hopping around
      between Lookout Mtn (30 March) and Upper Tom Folley (2 & 10 May), we have gotten not nesting
      by mousing with him 3X since the end of March (dates above), with no female. The sites you
      mentioned above are all accessed via Smith River road, which is different and longer route than the
      other sites we kept, that is why I grouped them together. If anything, I would continue surveying
      Lookout Mtn, although isolated access, to see if we can get resident single occupancy, but I doubt
      we will since that male has moved on.

      The bottom line is that we need to drop enough sites to lessen the work load so we can feasibly
      survey to protocol what we have on our plate. I wish we weren't in this predicament, but we just lost 2
      surveyors and I don't want to burn out the rest of us. I would love to keep all the sites but I don't believe we
      can get it all done with the staff we have. It is not safe or fair to over work everyone. Currently we only
      have (3) Veronica, Jordan, and Cindy full-time on owl surveyors, I'm working full-time on owls but
      shouldn't be, and Jon is picking up about half a surveyor work load for the 2nd round of visits.

      Instead drop Ravendale, Drain Watershed, EF Flagler Creek? Drop sites along valley edges...
      I was considering dropping Ravendale and Drain Watershed, but I think that EF Flagler is on the
      edge of the B&G analysis area, so despite its scattered habitat, we need to call the 3 points to
      protocol for B&G. I can add Ravendale and Drain Watershed to the proposal but they are not
      equivalent in effort to Upper North Fork, Smith Folley, Peterson Point, SF Smith River, & Lower South
      Fork.

      Rationale for dropping Andrews Creek (pretty close to incidental site... )
      Andrews Creek was 'dropped' bc it was 'not to protocol' in 2021 due to the "wind" issue. It is still
      being surveyed as part of Snail Canyon, but not under the name of Andrews Creek, which is a TSNO
      site. I guess that is a little confusing.

      The other random sites below Hwy 138 are similar issues from 2021, I just added them into the pot
      to create the full picture. There are notes / rational for why we are not surveying those sites. Some
      are being surveyed by Coos Bay, some are on Coos Bay BLM, and some were not to protocol in 2021
      but being called with an MSNO.

      The scattered sites below Hwy 138 would need rational (some sites are more interior). See Above


I am free to chat today, aside from the Hazmat training which I will join on TEAMS so I can multi-task,
I will be completing NSO call-point edits.

I asked yesterday, but no word from Rachel on Emergency hires.

Thanks for checking out the proposal,

Heather Wise
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Heather R Wise
Wildlife Biologist
hwise@blm.gov
541-464-3253

From: Gayner, Elizabeth I <egayner@blm.gov>
Sent: Wednesday, May 11, 2022 4:48 PM
To: Wise, Heather R <hwise@blm.gov>
Subject: Re: Proposal of sites to drop

I finally got into GIS (been temperamental and sorry for the delay... have been dealing with personal stuff
and work stuff) to look at your proposal.

In general, I like the proposal.

       I would like to keep Upper North Fork, Smith Folley, Peterson Point, SF Smith River, Lower South
       Fork (large chunk of contiguous NRF with some occupancy).
       Instead drop Ravendale, Drain Watershed, EF Flagler Creek? Drop sites along valley edges...
       Rationale for dropping Andrews Creek (pretty close to incidental site... )
       The scattered sites below Hwy 138 would need rational (some sites are more interior).

I have more questions... but these are the main ones. I have a meeting I need to run to. But can discuss
further tomorrow if you are available.

Thanks for the work on this.


Liz




Elizabeth I. Gayner
Lead Wildlife Biologist Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management Roseburg District Office
Phone: (541) 464 3381; egayner@blm.gov



From: Wise, Heather R <hwise@blm.gov>
Sent: Monday, May 9, 2022 17:03
To: Gayner, Elizabeth I <egayner@blm.gov>
Subject: Proposal of sites to drop

Liz,

I looked through the list of sites and on ArcMap. I made a feature class of the proposed Smith river sites
to drop and added the sites that we have already dropped, absorbed into MSNO sites, or Coos Bay is
surveying this year. There are comments on the sites that we are already not surveying in the notes
field.

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My proposal drops an additional 35 sites from TSA, which is only a little bit more than 1 surveyor effort
(~27 sites). I broke it off at the ridge top, Halfway Ridge area.

The feature class is at:
(b) (5) Government Commercial Information


I am waiting on a reply from Devon Johnson at RRC to make sure I have a complete list of the sites that
we agreed were covered for them. He never actually sent a list, I only told him what we dropped that
was out of protocol in 2021.

Otherwise it is up to you, Rex, and Korn.

Let me know what you think,

Heather Wise


Heather R Wise
Wildlife Biologist
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     Outlook


NSO Survey Effort for 6-visit B&G

From Wise, Heather R <hwise@blm.gov>
Date Thu 7/14/2022 14:48
To    McGraw, Rex L <rmcgraw@blm.gov>
Cc    Gayner, Elizabeth I <egayner@blm.gov>


Hi Rex,

I was delightfully wrong when I told you we were on our 4th visit of 6 for the B&G Bonus sections (Upper
Yellow, Yellow Butte/ Doe Cr). it is all a blur!

We completed the 5th Visit last night to all those sites. 🤸‍♀️🎉 And....Have 5 visits completed at East Elk
too!!

Next week we will do the 5th at Galagher Canyon TS sites.

I plan on doing a later in the night/ pre-dawn survey at the B&G sites for the 6th visit.

But so far, we have had only one detection of a female contact call in Upper Yellow Creek in March by
Reeder. Follow-ups and future visits in the area, only detected barred owls, so it is possible that the
contact calls were from a barred owl female. Hopefully ARUs will help identify what species is in the
area.

Nearby at Yellow Trib, Cindy heard a male spotted owl in February while road clearing. There have been
no other spotted owl detections at Yellow Trib or adjacent sites either.

It's saddening that there are no spotted owls making all that contiguous NRF their home.

Heather Wise

Heather R Wise
Wildlife Biologist
hwise@blm.gov
541-464-3253




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      Outlook


Re: Possible survey's adjacent to YEB-4 ARU location

From Gayner, Elizabeth I <egayner@blm.gov>
Date Tue 11/7/2023 18:37
To    Kufta-Christie, Lindsey A <lkuftachristie@blm.gov>; Wind, Marcus <mwind@blm.gov>
Cc    Reeder, Erich M <ereeder@blm.gov>


I need to know more information so I can review this in GIS. What station(s) were being surveyed within the time
frame of the detection? The call points with a 0.25-mile radius buffer -taking topography out of the equation- do
not cover all of the habitat in Section 23. So, we need to scrutinize/review this carefully. I am leaning towards
recorder in part because the male and female hoots are at the same volume (so to speak). I also have not listened
with earphones yet... just turned up on my laptop. We can also discuss further at Monday's afternoon's meeting.

Thanks,

Liz

From: Kufta-Christie, Lindsey A <lkuftachristie@blm.gov>
Sent: Friday, October 20, 2023 14:06
To: Wind, Marcus <mwind@blm.gov>
Cc: Reeder, Erich M <ereeder@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>
Subject: Possible survey's adjacent to YEB-4 ARU location

Hi Marcus,

I see you surveyed Snail Canyon on 5/22. Is it possible you could hear your broadcast at Yellow Butte? The location
of the ARU is:
    469939      4821923

There were three distant four-note calls heard around 2239—the first note may be nonexistent. The other
recording sounds like a series call into a three-note. Let me know if you think it is possible given topography and
the coverage of your broadcast over the landscape. Attached are the clips, if you listen to the recording you will
need to turn the volume up to 100%.

Enjoy the weekend,
Lindsey




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Date:          February 12, 2024

Prepared by:   Elizabeth Gayner (Wildlife Biologist)
               Lindsey Kufta-Christie (Wildlife Bio Science Technician)
               BLM, Roseburg District – Swiftwater Field Office

To:            Roli Espinosa (Wildlife Biologist)
               Chris Foster (Acting Field Manager)
               BLM, Roseburg District – South River Field Office

Subject:       2022 and 2023 Northern Spotted Owl (NSO) Detection Summary using Autonomous
               Recording Units (ARUs) - Supplemental to 6-visit Call-back Survey Effort

Summary:       ARUs were deployed in the Blue & Gold Harvest Plan project area to supplement the
               call-back survey effort. Because of the extremely steep terrain with deep canyons and
               lack of roads, it was determined call-back surveys inadequately surveyed all NRF habitat
               in inaccessible areas (e.g., limited ability for surveyor to hear NSO calling from within a
               deep canyons). Thus, ARUs were deployed to survey these difficult to reach areas and in
               areas where a NSO were heard but difficult to locate during additional day time searches
               and nighttime call-back surveys. ARUs were deployed for a six-week duration during the
               breeding season. Of the 20 ARUs deployed, NSO were detected on 7 and 6 deployment
               days in 2022 and 2023, respectively (Table 1).


Results:       In 2022 20 ARU’s were placed within the Blue & Gold Harvest Plan Project Area and
               were ran continuously for 13 hours a day generally from 1800 to 0600 the following
               morning, averaging 546 hours per ARU deployment. In 2023, 20 ARUs (in same
               locations deployed in 2022, dropped Yellow Trib ARU in 2023) and ran for 8 hours a day
               (1 hour before sunset through 3 hours after sunset and 2 hours before sunrise through 2
               hours after sunrise) for at least six weeks averaging 336 hours per ARU deployment. The
               data was processed using PNW-Cnet v4.2.3 and Kaleidoscope Lite to visually analyze
               spectrograms and listen to 12-second audio clips (each audio clip produced has a
               prediction score output > 0.95 for each target class). Audio data was examined and
               validated to clear false positives and confirm positive detections. ARU detection
               validation to identify false positives were determined by comparing call-back surveyor
               times, locations (e.g., distance to callback survey station to ARU and topographical
               features obstructing sound travel), and the broadcast direction of the callbox at a survey
               station (stand(s) targeted for survey at that particular station).

               Of the 20 ARU’s deployed, 7 ARUs recorded detections of NSO vocalizations in 2022
               and 4 ARUs recorded detections of NSO vocalizations in 2023 (Table 1).




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     Table 1. ARU detections of Northern Spotted Owls in 2022 and 2023.

                                                               Call-
                                                                              Distance
                                                               Back                          Number of
             ARU           Date &                                               from
                                        NSO       Call-back Survey                           Validated
ARU         Location        Time                                              Call-back
                                       (M, F,      Survey      Date,                            NSO                   Notes
 ID1         (UTM            of                                               Station to
           Coordinates)                 Pr)2       Station 1
                                                              Start &                        Detections/
                          Detection                                             ARU
                                                                End                         Vocalizations
                                                                               (miles)
                                                               time
                                                          2022
Upper
                          3/16/2022                               3/16/2022
Yellow       465993,                             Yellow Butte                                  2 detections
                            20:56        M                          2052-        2.8
Creek        4817591                               1992-01                                        3-note
                            21:01                                   2102
 sta. 1
                                                                                                                 Occupied = Pair
Upper
                          3/16/2022                               3/16/2022                   2+ detections           There are
Yellow       467333,                     M       Yellow Butte
                            21:01                                   2052-        2.4         3-note, whistle,        additional
Creek        4817679                     F         1992-01
                            21:33                                   2102                          bark           detections for the
 sta. 3
                                                                                                                    same night.
                          4/27/2022              Yellow Butte     4/27/2022                                        No overlap in
Yellow                                                                                         1 detection
             468366,        20:50                  1992-06          1900-                                         detection times
 Butte                                   M                                       0.84           multiple
             4820562        21:41                 (466758,          2000                                          with call-back
 sta. 1                                                                                       vocalizations
                            23:28                 4819991)         Walk-in                                             survey.
                                                                                                                      Figure 1.
                                                                                                                    Vocalization
                                                                                                                 easily heard and
                                                                                                                    likely in the
Yellow                                                                                         1 detection       stand. Call-back
             468683,      7/12/2022               Marsh Trib       2252-
 Butte                                   F                                       1.5         2 vocalizations          distance
             4821004        22:55                  4682-04         2302
 sta. 2                                                                                        (moderate)         potentially too
                                                                                                                   far and would
                                                                                                                 expect call to be
                                                                                                                      a fainter
                                                                                                                     recording.
                                                                                                                      Figure 2.
                                                                                                                    4659-02 call
                                                                                                                 point – broadcast
                                                                                                                 of callbox should
                                                  Yellow Trib      0007-         1.3            1 detection
                           7/1/2022                                                                                 have been in
Yellow                                             4659-02         0017                       5 vocalizations
             469939,         (6/30                                                                                    opposite
 Butte                                   F        Blackberry                                     includes
             4821925        survey)                                                                              direction of ARU
 sta. 4                                            Canyon          0005-         1.29        very faint female
                             00:10                                                                                    location.
                                                   1916-07         0015                     3-note and whistle
                                                                                                                    1916-07 call
                                                                                                                 point on opposite
                                                                                                                 side of the ridge
                                                                                                                 over a mile away
Yellow                                                                                         1 detection
            4635715,       4/6/2022
Creek                                    M           None           None         NA          4 vocalizations
            4818895          23:09
 sta. 1                                                                                        (very faint)
                                                                                                                      Figure 3.
                                                                                                                     Ridge top to
                                                                                                                   ridge top with
                                                    Upper
Yellow                                                                                                            potential ridges
            4635715,      7/6-7/2022                Martin         0035-                       1 detection
Creek                                    F                                       0.7                                 in between.
            4818895        at 00:38                 Creek          0045                      4 vocalizations
 sta. 1                                                                                                          Feasible that is it
                                                   1972-04
                                                                                                                    is a call-back
                                                                                                                    survey given
                                                                                                                 overlap in times,




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                                                                   Call-
                                                                             Distance
                                                                   Back                     Number of
             ARU           Date &                                              from
                                        NSO       Call-back       Survey                    Validated
ARU         Location        Time                                             Call-back
                                       (M, F,      Survey          Date,                       NSO                    Notes
 ID1         (UTM            of                                              Station to
           Coordinates)                 Pr)2       Station1       Start &                   Detections/
                          Detection                                            ARU
                                                                    End                    Vocalizations
                                                                              (miles)
                                                                   time
                                                                                                                     but no tone
                                                                                                                 recorded; needs
                                                                                                                   topographical
                                                                                                                       analysis.
                                                                                                                      Figure 4.
                                                                                                                     Ridge top to
                                                                                                                   ridge top with
                                                                                                                  potential ridges
                                                                                                                     in between.
Yellow                                                            7/13/22                     1 detection        Feasible that is it
            4635715,      7/13/2022               Doe Creek
Creek                                    M                         2127-        1.09         1 vocalization         is a call-back
            4818895         21:30                  1804-03
 sta. 1                                                            2137                    (moderately faint)       survey given
                                                                                                                 overlap in times,
                                                                                                                     but no tone
                                                                                                                 recorded; needs
                                                                                                                   topographical
                                                                                                                       analysis.
Yellow                                                                                        1 detection
             464209,       4/5/2022
Creek                                    M          None           None         NA          5 vocalizations
             4818224         20:17
 sta. 2                                                                                        (distant)
                                                           2023
 Doe
             467626,      6/14/23 at                                                          1 detection
Creek                                    M          None           None         NA
             4820705        20:56                                                           9 vocalizations
sta. 7
                                                                                                                     Figure 5.
                                                                                                                   Call-back on
                                                                                                                    ridge top at
                                                                                                                  ~1,940 feet to
                                                                                                                  ARU at ~1,040
                                                                                                                   feet. Feasible
                                                                                              1 detection
                          6/15/23 at                                                                                 first three
Upper                                                                                      14 vocalizations
                            22:35                                                                                 detections are
Yellow       467333,                                YEB           6/15/23                 (23:07 faint and 26
                            22:37        M                                      1.4                              call-back survey
Creek        4817679                               1992-13         2232-                   minutes after call-
                            22:41                                                                                given overlap in
 sta. 3                                                            2243                      back survey
                            23:07                                                                                  times, but no
                                                                                              completed)
                                                                                                                  tone recorded.
                                                                                                                 23:07 detection
                                                                                                                 was 26 minutes
                                                                                                                  after call-back
                                                                                                                       survey
                                                                                                                    completed.
Yellow
             469939,      5/10/23 at                                                          1 detection
 Butte                                   M          None           None         NA
             4821925        03:55                                                            1 vocalization
 sta. 4
                                                                                              1 detection
Yellow
             469939,      5/22/23 at                                                        4 vocalizations
 Butte                                  Pr          None           None         NA                               Occupied = Pair
             4821925        22:39                                                         (3-notes includes a
 sta. 4
                                                                                                BARK)




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                                                                   Call-
                                                                               Distance
                                                                   Back                       Number of
             ARU           Date &                                                from
                                        NSO       Call-back       Survey                      Validated
ARU         Location        Time                                               Call-back
                                       (M, F,      Survey          Date,                         NSO                Notes
 ID1         (UTM            of                                                Station to
           Coordinates)                 Pr)2       Station1       Start &                     Detections/
                          Detection                                              ARU
                                                                    End                      Vocalizations
                                                                                (miles)
                                                                   time
                                                                                                                    Figure 6.
                                                                                                                Possible survey?
                                                                                                                Detection 4 min
                                                                                                                 prior to start of
                                                                                                                call-back survey
                                                                                                                  which should
                                                                                                                    have been
                                                                                                                 broadcasting to
Yellow                                                            7/27/23
             465221,      7/27/23 at              Bear Creek                                   1 detection     the west (towards
Creek                                    M                         2246-          0.6
             4818336        22:42                  1972-06                                   4 vocalizations    Bear Creek site);
 sta. 3                                                            2256
                                                                                                                   ARU to the
                                                                                                                  southeast, but
                                                                                                                   elevation is
                                                                                                                   similar and
                                                                                                               within direct line
                                                                                                                   distance for
                                                                                                                     potential
                                                                                                                    audibility.
                                                    Snail          8/3/23
                                                   Canyon          2133-
                                                                                  3.8                          Distance to ARU
Yellow                                             1980-13          2143
             465221,       8/3/23 at                                                           1 detection        to call-back
Creek                                    M
             4818336        21:34                                                             1 vocalization    stations are too
 sta.3                                            Blackberry       8/3/23
                                                                                  4.97                                far.
                                                   Canyon          2134-
                                                   1916-08          2144

     1
       ARU ID is not associated with NSO site name.
     2
       F = Female, M = Male, Pr = Pair.
     3
       Note: Juvenile Northern Goshawk detected 4/27.




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Figure 1. Yellow Butte 1 (YEB 2) to Callback Survey Station 4682-04.




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Figure 2. Yellow Butte 4 (YEB 4) to Callback Survey Stations 1916-07 and 4659-02.




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Figure 3. Yellow Creek 1 (YEC 1) to Callback Survey Station 1972-04.




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Figure 4. Yellow Creek 1 (YEC 1) to Callback Survey Station 1804-03.




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Figure 5. Upper Yellow Creek 3 (UYC 3) to Callback Survey Station 1992-13.




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Figure 6. Yellow Creek 3 (YEC 3) to Callback Survey Station 1972-06.




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Notes:

Most recent literature to consider when determining results and NSO occupancy status:

Appel, Cara L., Damon B. Lesmeister, Adam Duarte, Raymond J. Davis, Matthew J. Weldy, and Taal
Levi. 2023. “Using Passive Acoustic Monitoring to Estimate Northern Spotted Owl Landscape Use and
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    • At distances less than 250 meters, the CNN correctly identified occupancy in more than 73
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    • Areal coverage was a function of distance from source to microphone, location of the source
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      Outlook


B&G 2022-2023 ARU Data

From Gayner, Elizabeth I <egayner@blm.gov>
Date Mon 2/12/2024 16:30
To    Espinosa, Rolando H <respinos@blm.gov>; Foster, Christopher C <cfoster@blm.gov>
Cc    Korn, Michael J <mkorn@blm.gov>; Showalter, Rachel M <rshowalt@blm.gov>; Kufta-Christie, Lindsey A
      <lkuftachristie@blm.gov>; Mowdy, Jason S <jmowdy@blm.gov>


  1 attachments (4 MB)
Blue&Gold_2022-2023ARU_NSOSurveySummary_12Feb2024_Final.docx;




Roli and Chris,

Attached is the 2022-2023 summary of ARU results for NSOs in Blue & Gold. We only listed the
detections. We did not work through the occupancy status other than where there was a pair detected.

A huge shout-out to Lindsey for her hard thorough work and attention to detail on this effort. Lots of
moving parts and data to work through.

Thank you so much for your patience. Let me know if you have any questions.

Liz

P.S. Roli - note that juvenile NOGOs were also detected on one of the ARUS. Reference the footnote in
Table 1.




Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov




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Date:          February 12, 2024

Prepared by:   Elizabeth Gayner (Wildlife Biologist)
               Lindsey Kufta-Christie (Wildlife Bio Science Technician)
               BLM, Roseburg District – Swiftwater Field Office

To:            Roli Espinosa (Wildlife Biologist)
               Chris Foster (Acting Field Manager)
               BLM, Roseburg District – South River Field Office

Subject:       2022 and 2023 Northern Spotted Owl (NSO) Detection Summary using Autonomous
               Recording Units (ARUs) - Supplemental to 6-visit Call-back Survey Effort

Summary:       ARUs were deployed in the Blue & Gold Harvest Plan project area to supplement the
               call-back survey effort. Because of the extremely steep terrain with deep canyons and
               lack of roads, it was determined call-back surveys inadequately surveyed all NRF habitat
               in inaccessible areas (e.g., limited ability for surveyor to hear NSO calling from within a
               deep canyons). Thus, ARUs were deployed to survey these difficult to reach areas and in
               areas where a NSO were heard but difficult to locate during additional day time searches
               and nighttime call-back surveys. ARUs were deployed for a six-week duration during the
               breeding season. Of the 20 ARUs deployed, NSO were detected on 7 and 6 deployment
               days in 2022 and 2023, respectively (Table 1).


Results:       In 2022 20 ARU’s were placed within the Blue & Gold Harvest Plan Project Area and
               were ran continuously for 13 hours a day generally from 1800 to 0600 the following
               morning, averaging 546 hours per ARU deployment. In 2023, 20 ARUs (in same
               locations deployed in 2022, dropped Yellow Trib ARU in 2023) and ran for 8 hours a day
               (1 hour before sunset through 3 hours after sunset and 2 hours before sunrise through 2
               hours after sunrise) for at least six weeks averaging 336 hours per ARU deployment. The
               data was processed using PNW-Cnet v4.2.3 and Kaleidoscope Lite to visually analyze
               spectrograms and listen to 12-second audio clips (each audio clip produced has a
               prediction score output > 0.95 for each target class). Audio data was examined and
               validated to clear false positives and confirm positive detections. ARU detection
               validation to identify false positives were determined by comparing call-back surveyor
               times, locations (e.g., distance to callback survey station to ARU and topographical
               features obstructing sound travel), and the broadcast direction of the callbox at a survey
               station (stand(s) targeted for survey at that particular station).

               Of the 20 ARU’s deployed, 7 ARUs recorded detections of NSO vocalizations in 2022
               and 4 ARUs recorded detections of NSO vocalizations in 2023 (Table 1).




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     Table 1. ARU detections of Northern Spotted Owls in 2022 and 2023.

                                                             Call-
                                                                              Distance
                                                             Back                           Number of
             ARU           Date &                                               from
                                        NSO     Call-back Survey                            Validated
ARU         Location        Time                                              Call-back
                                       (M, F,    Survey      Date,                             NSO                   Notes
 ID1         (UTM            of                                               Station to
           Coordinates)                 Pr)2     Station 1
                                                            Start &                         Detections/
                          Detection                                             ARU
                                                              End                          Vocalizations
                                                                               (miles)
                                                             time
                                                        2022
Upper
                          3/16/2022                               3/16/2022
Yellow       465993,                            Yellow Butte                                  2 detections
                            20:56        M                          2052-        2.8
Creek        4817591                              1992-01                                        3-note
                            21:01                                   2102
 sta. 1
                                                                                                                Occupied = Pair
Upper
                          3/16/2022                               3/16/2022                  2+ detections           There are
Yellow       467333,                     M      Yellow Butte
                            21:01                                   2052-        2.4        3-note, whistle,        additional
Creek        4817679                     F        1992-01
                            21:33                                   2102                         bark           detections for the
 sta. 3
                                                                                                                   same night.
                          4/27/2022             Yellow Butte      4/27/2022                                       No overlap in
Yellow                                                                                        1 detection
             468366,        20:50                 1992-06           1900-                                        detection times
 Butte                                   M                                       0.84          multiple
             4820562        21:41                (466758,           2000                                         with call-back
 sta. 1                                                                                      vocalizations
                            23:28                4819991)          Walk-in                                            survey.
                                                                                                                     Figure 1.
                                                                                                                   Vocalization
                                                                                                                easily heard and
                                                                                                                   likely in the
Yellow                                                                                        1 detection       stand. Call-back
             468683,      7/12/2022             Marsh Trib         2252-
 Butte                                   F                                       1.5        2 vocalizations          distance
             4821004        22:55                4682-04           2302
 sta. 2                                                                                       (moderate)         potentially too
                                                                                                                  far and would
                                                                                                                expect call to be
                                                                                                                     a fainter
                                                                                                                    recording.
                                                                                                                     Figure 2.
                                                                                                                   4659-02 call
                                                                                                                point – broadcast
                                                                                                                of callbox should
                                                Yellow Trib        0007-         1.3           1 detection
                           7/1/2022                                                                                have been in
Yellow                                           4659-02           0017                      5 vocalizations
             469939,         (6/30                                                                                   opposite
 Butte                                   F      Blackberry                                      includes
             4821925        survey)                                                                             direction of ARU
 sta. 4                                          Canyon            0005-         1.29       very faint female
                             00:10                                                                                   location.
                                                 1916-07           0015                    3-note and whistle
                                                                                                                   1916-07 call
                                                                                                                point on opposite
                                                                                                                side of the ridge
                                                                                                                over a mile away
Yellow                                                                                        1 detection
             4635715,      4/6/2022
Creek                                    M         None             None         NA         4 vocalizations
             4818895         23:09
 sta. 1                                                                                       (very faint)
                                                                                                                     Figure 3.
                                                                                                                    Ridge top to
                                                                                                                  ridge top with
                                                   Upper
Yellow                                                                                                           potential ridges
             4635715,     7/6-7/2022               Martin          0035-                      1 detection
Creek                                    F                                       0.7                                in between.
             4818895       at 00:38                Creek           0045                     4 vocalizations
 sta. 1                                                                                                         Feasible that is it
                                                  1972-04
                                                                                                                   is a call-back
                                                                                                                   survey given
                                                                                                                overlap in times,




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                                                                  Call-
                                                                           Distance
                                                                  Back                   Number of
             ARU           Date &                                            from
                                        NSO     Call-back        Survey                  Validated
ARU         Location        Time                                           Call-back
                                       (M, F,    Survey           Date,                     NSO                     Notes
 ID1         (UTM            of                                            Station to
           Coordinates)                 Pr)2     Station1        Start &                 Detections/
                          Detection                                          ARU
                                                                   End                  Vocalizations
                                                                            (miles)
                                                                  time
                                                                                                                   but no tone
                                                                                                               recorded; needs
                                                                                                                 topographical
                                                                                                                     analysis.
                                                                                                                    Figure 4.
                                                                                                                   Ridge top to
                                                                                                                 ridge top with
                                                                                                                potential ridges
                                                                                                                   in between.
Yellow                                                           7/13/22                   1 detection         Feasible that is it
             4635715,     7/13/2022             Doe Creek
Creek                                    M                        2127-       1.09        1 vocalization          is a call-back
             4818895        21:30                1804-03
 sta. 1                                                           2137                  (moderately faint)        survey given
                                                                                                               overlap in times,
                                                                                                                   but no tone
                                                                                                               recorded; needs
                                                                                                                 topographical
                                                                                                                     analysis.
Yellow                                                                                      1 detection
             464209,       4/5/2022
Creek                                    M        None            None        NA          5 vocalizations
             4818224         20:17
 sta. 2                                                                                      (distant)
                                                         2023
 Doe
             467626,      6/14/23 at                                                        1 detection
Creek                                    M        None            None        NA
             4820705        20:56                                                         9 vocalizations
sta. 7
                                                                                                                   Figure 5.
                                                                                                                 Call-back on
                                                                                                                  ridge top at
                                                                                                                ~1,940 feet to
                                                                                                                ARU at ~1,040
                                                                                                                 feet. Feasible
                                                                                            1 detection
                          6/15/23 at                                                                               first three
Upper                                                                                    14 vocalizations
                            22:35                                                                               detections are
Yellow       467333,                              YEB            6/15/23                (23:07 faint and 26
                            22:37        M                                    1.4                              call-back survey
Creek        4817679                             1992-13          2232-                  minutes after call-
                            22:41                                                                              given overlap in
 sta. 3                                                           2243                     back survey
                            23:07                                                                                times, but no
                                                                                            completed)
                                                                                                                tone recorded.
                                                                                                               23:07 detection
                                                                                                               was 26 minutes
                                                                                                                after call-back
                                                                                                                     survey
                                                                                                                  completed.
Yellow
             469939,      5/10/23 at                                                       1 detection
 Butte                                   M        None            None        NA
             4821925        03:55                                                         1 vocalization
 sta. 4
                                                                                            1 detection
Yellow
             469939,      5/22/23 at                                                      4 vocalizations
 Butte                                  Pr        None            None        NA                               Occupied = Pair
             4821925        22:39                                                       (3-notes includes a
 sta. 4
                                                                                              BARK)




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                                                                    Call-
                                                                             Distance
                                                                    Back                   Number of
             ARU           Date &                                              from
                                        NSO      Call-back         Survey                  Validated
ARU         Location        Time                                             Call-back
                                       (M, F,     Survey            Date,                     NSO                Notes
 ID1         (UTM            of                                              Station to
           Coordinates)                 Pr)2      Station1         Start &                 Detections/
                          Detection                                            ARU
                                                                     End                  Vocalizations
                                                                              (miles)
                                                                    time
                                                                                                                 Figure 6.
                                                                                                             Possible survey?
                                                                                                             Detection 4 min
                                                                                                              prior to start of
                                                                                                             call-back survey
                                                                                                               which should
                                                                                                                 have been
                                                                                                              broadcasting to
Yellow                                                             7/27/23
             465221,      7/27/23 at             Bear Creek                                 1 detection     the west (towards
Creek                                    M                          2246-       0.6
             4818336        22:42                 1972-06                                 4 vocalizations    Bear Creek site);
 sta. 3                                                             2256
                                                                                                                ARU to the
                                                                                                               southeast, but
                                                                                                                elevation is
                                                                                                                similar and
                                                                                                            within direct line
                                                                                                                distance for
                                                                                                                  potential
                                                                                                                 audibility.
                                                    Snail           8/3/23
                                                   Canyon           2133-
                                                                                3.8                         Distance to ARU
Yellow                                             1980-13           2143
             465221,       8/3/23 at                                                        1 detection        to call-back
Creek                                    M
             4818336        21:34                                                          1 vocalization    stations are too
 sta.3                                           Blackberry         8/3/23
                                                                                4.97                               far.
                                                  Canyon            2134-
                                                  1916-08            2144

     1
       ARU ID is not associated with NSO site name.
     2
       F = Female, M = Male, Pr = Pair.
     3
       Note: Juvenile Northern Goshawk detected 4/27.




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Figure 1. Yellow Butte 1 (YEB 2) to Callback Survey Station 4682-04.




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Figure 2. Yellow Butte 4 (YEB 4) to Callback Survey Stations 1916-07 and 4659-02.




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Figure 3. Yellow Creek 1 (YEC 1) to Callback Survey Station 1972-04.




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Figure 4. Yellow Creek 1 (YEC 1) to Callback Survey Station 1804-03.




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Figure 5. Upper Yellow Creek 3 (UYC 3) to Callback Survey Station 1992-13.




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Figure 6. Yellow Creek 3 (YEC 3) to Callback Survey Station 1972-06.




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    • Calls broadcast toward the microphones were more likely to be detected than calls broadcast
         away from the microphones.
    • At 200 meters the estimated mean detection probability averaged over the five microphones for
         Kaleidoscope was 0.21 (95% CI: 0.17–0.26).
    • For an estimated detection rate of at least 50 meters, distances ranged from 70–150 meters.
    • a detection radius of 300 meters with the CNN method covers an area only one half as large as
         assumed in traditional surveys (400 meters/0.25 miles).
    • The theoretical communication limit of a NSO call broadcast in a forest is between 300–600
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      Outlook


Wildlife Mini Meeting Notes

From Gayner, Elizabeth I <egayner@blm.gov>
Date Tue 4/12/2022 15:27
To    Wise, Heather R <hwise@blm.gov>


Hey Heather,

Here are notes from the meeting from the time you left...

ARU – FWS feels the PNW should determine an activity center. PNW disagrees and only determines occupancy at
a hexagon level. Still being sorted out…
MATOC – thanks for those that contributed comments. Rex met with District Bios this morning… worked through
comments. Punchline is we are going to have a MATOC for MAMU, NSO, and RTV. There are District specifics as
well as areas in MATOC that are common to all. There will be latitude over some things, such as flagging colors.
Carole (CB) lead for MAMU, Robin (MF) lead for NSO, and Sonya (NC) lead for RTV. Will have comments
incorporated within a week.
Roli wants to have the language about how the contracts will be awarded… e.g., can we choose the same
contractor for 2-3 years in a row for a project? The MATOC team doesn’t have answers. Such questions will get
forwarded to the SO.
Roli – how long is MATOC going to be implemented for?
Rex does not have answers. “Time will tell.”
Walk-in premium for over a half-mile and then 1-mile increments after that. Roli doesn’t think we even need a
walk-on premium. The current contractor put a minimal cost on it implying they are not that concerned about it.

Liz – measuring by half-mile increments is ridiculous. Gives a way for the contractor to nickel and dime us.
Jason – stated it really needs to be identified clearly how these measurements will need to be
documented/counted (e.g., straight line from truck vs serpentine path to station).
Other discussion was about crew leads and required experience. All over the board among Districts from 1 -3
years of experience. The MATOC team agreed on requiring 2 years of relevant experience.
Roli’s newscast – task order for MAMU contract has been received!
Franklin’s Bumble Bee - Rex has high priority zones. He needs to finish up whatever he was going to do with it…
clean it up and send us an email with the GIS layers are located. Hasn’t had any further discussions with the FWS
about what the high priority zones really mean. Using the Weed BA as a vehicle to push that discussion.
Jason - there is an assumption by SR managers that surveys will be completed in B&G and 42 Divide... at least one
round of surveys this year. Don't know who is going to do the surveys... both crews are super busy.
Liz - Chris told me that he would be doing some surveys out and B&G this year. I plan to do surveys at projects at
Rock Creek and Canton Creek. NBHMA.
Roli - There is a big learning curve. Takes a lot of time to identify them. Take good photographs at the time. B&G
meadows in hab layer = about 10 acres... in reviewing the hab layer for MAMU... there are some other meadows
to add. Throwing in 42 Divide would not be realistic... there is a lot of bee habitat that would not be feasible to
survey this year given our staffing. We would need to have a crew of people to this.
Jason - Need to evaluate what it would take for all of the projects. We will work together to figure out how to
tackle the bee workload.
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Rex - who is trained up? Liz, Roli, Cindy, and Erich at this moment. There is also the weed treatment areas that
would need to be surveyed too. Will check with Summer about prospects of doing a joint training.
Will the Rapid Habitat Assessment be part of the process? Rex says it would be prudent to pursue so we have
some indication of quality of habitat that we are surveying in. We agreed that it would be part of the survey
process.
Consultation Monitoring – has not been touched. We will get to it when we have time, and we just don’t have
time right now.
RMP Monitoring – due at the end of next week. Implemented projects that are to be monitored are all in South
River. Roli has looked at the spreadsheet to understand what it was and means. There is missing data from
previous years, but not going to worry about that right now. Just focus on the 2021 data. Needs to do write-up for
three SR projects. Need to identify why a project was being surveyed... habitat removal or disruption or both.
Roli stated that one reason to survey relevant to MAMU was to avoid site loss (ex premise of manager in 2020 was
he did not want site loss, so survey it).
Other Topic
Jason brought up that PNW reached out about placing ARUs on Tyee and/or Klamath around two active site
centers this year. 37 ARUs would be deployed around that activity center to determine detection rate in a given
year. They would like a list of sites by end of month. Showed map of example of ARU deployment locations at the
Upper Green Site. Wait to pass on site info until after second visit to determine if a solid pair. Roli's concern is the
significant about of disruption given the number of ARU in the site. Rex concerned about convoluting the site
issue with PNW without them giving us the information in a timely manner. Liz suggested maybe to check one of
the sites up Canton Creek that was most recently occupied... if any of those are occupied, can recommend one or
two in that area that would not potentially compromise a TS project. Roli recommends just providing a list of sites
to PNW and let them pick the area they want.... then it is their call, not ours. Roli and Liz think this information is
valuable. Jason - in an ideal world, put grid on two adjacent sites... would be valuable too. Will have another
meeting near the end of the month to determine site list and discussion.
Rex - got an early alert that tomorrow the Streaked-horned Lark is going to get listed as Threatened. The Federal
Register Notice will be posted tomorrow.


Hope this makes sense!

Liz




Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov




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      Outlook


2024 - ARU use in Blue & Gold

From Gayner, Elizabeth I <egayner@blm.gov>
Date Thu 8/15/2024 10:51
To    Price, Amy L <amy_price@fws.gov>


Hi Amy,

I am confirming that, per Swiftwater's Field Manager's direction, BLM did not deploy ARUs in 2024 within the areas
previously surveyed with ARUs within the Blue and Gold Project Area. We used ARUs as a supplement to the 2012
NSO survey protocol to ensure survey coverage of areas that were not adequately covered due to safety concerns
in very steep terrain and lack of road access. However, we contracted our NSO surveys in 2024 to Hamer
Environmental who has ensured they could adequately survey these areas via the 2012 NSO survey protocol.

Let me know if you need additional information.

Liz


Elizabeth I. Gayner
Lead Wildlife Biologist - Swiftwater Field Office
OR/WA BLM Peregrine Falcon Technical Coordinator
Bureau of Land Management - Roseburg District Office
Phone: (541) 464-3381; egayner@blm.gov




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     Outlook


Blue and Gold Harvest Plan Environmental Assessment and unsigned Finding of No Significant
Impact

From Whitman, Heather L <hwhitman@blm.gov>
Date Fri 7/29/2022 5:48 PM
To   BLM_OR_RB_All <BLM_OR_RB_All@blm.gov>



Good afternoon,

It was recently brought to my attention that employees have questions on the status of
the Blue and Gold Harvest Plan EA. I'm hoping the following provides an adequate
update. If not, I'm open for questions and conversations (after I return on August 8th
😀).
Back on April 28th, I asked for the Blue & Gold EA and unsigned FONSI to be removed
from ePlanning because 1) the state office and headquarters were not aware of the
proposed project that is a bit controversial, and 2) the documents were posted within five
days after the President signed the Executive Order on Strengthening the Nation's Forests,
Communities, and Local Economies, which is partly about the BLM and the USFS defining,
identifying, and completing an inventory of old-growth and mature forests on federal
lands. In addition, immediately upon the EA and unsigned FONSI being posted on
ePlanning, media and members of the public started contacting the BLM expressing
concerns about the proposed actions outlined in the EA.

After the EA was removed from ePlanning, I let Mike and Sarah know that I planned to
review the EA and unsigned FONSI, which I had not done before it was posted. I started
that review back in May, and since then, multiple conversations have occurred among our
staff, as well as with other districts and agencies and the state office, regarding our FY
2023 ASQ achievement, autonomous recording units (ARU), habitat modifications, etc. Of
course, not all employees were involved in these conversations, but many of you
participated and know some of the issues.

One issue I think you all should know about because I am sure it is being discussed in
some form around the office: To avoid incidental take of northern spotted owl (NSO)
territorial pairs or resident singles from timber harvest until a barred owl management
program is implemented (as required by our RODs/RMPs), we planned to have had at
least two years of complete and valid NSO call-back protocol surveys in the Blue and Gold
EA analysis area to determine NSO occupancy to avoid incidental take. However, we
discovered earlier this year/late last year that three of the historic NSO sites were not
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surveyed to call-back survey protocol standards, and the home ranges of these historic
sites were all predominantly NRF habitat. Therefore, the acres within those NSO home
ranges could not be proposed for regeneration harvest because that would result in a
determination of incidental take. Any historic NSO sites that are not surveyed to protocol
are presumed occupied and have limitations on our management actions.

In addition, we were provided information late this spring that NSO were detected by the
Pacific Northwest Research Station using autonomous recording units (ARU) in the former
Tyee density study area, and based upon the pilot ARU protocol for project clearances,
those results indicated NSO occupancy in two ARU hexagons. Because of this, our
biologists, as well as biologists from the state office, other districts, and other agencies,
have been working on the best way for us to analyze this information in our EA
documents. Those biologists have agreed to an analytical methodology that is similar to
the method they use for call-back survey protocol analysis. For the Blue and Gold EA, this
affected additional proposed regeneration harvest unit acres.

What this all means is that the Blue and Gold EA must be modified, as some of this was
unknown when the EA was finalized, but we know it now. Our DLT members, along with
other staff, are figuring out a strategy for making modifications to the EA and are trying to
figure out the timeline, with the consideration that if we make adjustments to the
proposed actions, we may need to re-scope the project for the public to be aware and to
participate. To adhere to the "no take" provision, we may have to either consider avoiding
timber sales in certain locations or reducing the intensity of our timber harvest of NRF
habitat within the home ranges of occupied NSO sites, for example. We need to continue
to remind ourselves that we do have flexibility in scheduling the order in which stands are
harvested in the HLB to avoid incidental take of NSOs, even if that means some work may
need to be paused. Your resiliency and thoughtful public lands management are really
appreciated.

Like I said, I hope this update answers questions I am told folks are asking. If not, please
talk with me about the status of this project.

Heather
Heather Whitman
District Manager
========================​
Bureau of Land Management
Roseburg District
777 NW Garden Valley Boulevard
Roseburg, Oregon 97471
(541) 464-3200 Phone
========================
The Bureau of Land Management’s mission is to sustain the health, diversity, and productivity of America's public lands for the use and
enjoyment of present and future generations.


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From: Bickford, Sarah <sbickfor@blm.gov>
Sent: Monday, May 2, 2022 12:17 PM
To: BLM_OR_RB_All <BLM_OR_RB_All@blm.gov>
Subject: Fw: Notice of Availability – Blue and Gold Harvest Plan Environmental Assessment and unsigned Finding
of No Significant Impact

Good Afternoon - The State Office (SO) and Washington Office (WO) were not aware of the release of
this EA. We pulled the EA back, and are working on the Week Ahead Report to the SO for notification
prior to the release on E-Planning. If you have any questions please reach out to either myself, Mike, or
Heather.

Thanks, Sarah


From: RB_Mail, BLM_OR <BLM_OR_RB_Mail@blm.gov>
Sent: Friday, April 29, 2022 12:12 PM
To: RB_Mail, BLM_OR <BLM_OR_RB_Mail@blm.gov>
Subject: Re: Notice of Availability – Blue and Gold Harvest Plan Environmental Assessment and unsigned Finding
of No Significant Impact

Good afternoon~

The Roseburg District, Bureau of Land Management is temporarily suspending the public
comment period for the Environmental Assessment (EA) and the unsigned Finding of No
Significant Impact (FONSI) for the Blue and Gold Harvest Plan EA. A revised notice for the
comment period will be provided following additional internal review.



Bureau of Land Management
Roseburg District Office
777 NW Garden Valley Blvd.
Roseburg, OR 97471
541-440-4930

From: RB_Mail, BLM_OR <BLM_OR_RB_Mail@blm.gov>
Sent: Wednesday, April 27, 2022 2:44 PM
Subject: Notice of Availability – Blue and Gold Harvest Plan Environmental Assessment and unsigned Finding of
No Significant Impact

The Roseburg District Bureau of Land Management Environmental Assessment (EA) and the
unsigned Finding of No Significant Impact (FONSI) for the Blue and Gold Harvest Plan EA
(DOI-BLM-ORWA-R040-2020-0001-EA) are available for review. The documents will be
published on April 27, 2022, on the Bureau of Land Management National NEPA Register
(ePlanning) website at: https://eplanning.blm.gov/eplanning-ui/home. The 30-day comment
period will begin April 28, 2022.


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The BLM welcomes substantive comments on this proposal by 4:30 PM Pacific Time on Friday,
May 27, 2022. You may submit your comments via email
at: BLM_OR_RB_Blue_and_Gold_Harvest_Plan_EA@blm.gov. Please specify the project
name in the subject line of your email.

You may also submit written comments to Mike Korn, Bureau of Land Management, 777 NW
Garden Valley Blvd., Roseburg, OR 97471.

For further information, contact Kelly Ware, Roseburg District, Bureau of Land Management,
777 NW Garden Valley Blvd., Roseburg, OR 97471, 541-440-4930 or at kware@blm.gov.



Bureau of Land Management
Roseburg District Office
777 NW Garden Valley Blvd.
Roseburg, OR 97471
541-440-4930




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Here are a few updates:

-rm actually moved out on time

-had meeting RE B&G NSO surveys with Liz, Jason, and Chris and we asked 5 different ways if
we were covered by ONLY 6-visit call back protocol and the answer was YES and that the ARU
data is sheerly supplementary.




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       Outlook


Re: Call points & Habitat coverage in B&G

From Korn, Michael J <mkorn@blm.gov>
Date Wed 2/21/2024 2:05 PM
To     Mowdy, Jason S <jmowdy@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>; Espinosa, Rolando H <respinos@blm.gov>; Showalter, Rachel M <rshowalt@blm.gov>; Foster, Christopher C <cfoster@blm.gov>


Sounds like Monday 9-11 works for everyone. I'll send the invite

Mike Korn
Swiftwater Field Manager
Bureau of Land Management
777 NW Garden Valley Blvd
Roseburg, Oregon
541-464-3211



From: Mowdy, Jason S <jmowdy@blm.gov>
Sent: Wednesday, February 21, 2024 11:25 AM
To: Gayner, Elizabeth I <egayner@blm.gov>; Espinosa, Rolando H <respinos@blm.gov>; Showalter, Rachel M <rshowalt@blm.gov>; Korn, Michael J <mkorn@blm.gov>; Foster, Christopher C <cfoster@blm.gov>
Subject: Re: Call points & Habitat coverage in B&G

Any time next week works for me.

-Jason

From: Gayner, Elizabeth I <egayner@blm.gov>
Sent: Wednesday, February 21, 2024 10:51 AM
To: Espinosa, Rolando H <respinos@blm.gov>; Showalter, Rachel M <rshowalt@blm.gov>; Korn, Michael J <mkorn@blm.gov>; Foster, Christopher C <cfoster@blm.gov>; Mowdy, Jason S <jmowdy@blm.gov>
Subject: Re: Call points & Habitat coverage in B&G

I am currently open on Monday the 26th.

Liz

From: Espinosa, Rolando H <respinos@blm.gov>
Sent: Wednesday, February 21, 2024 06:41
To: Showalter, Rachel M <rshowalt@blm.gov>; Korn, Michael J <mkorn@blm.gov>; Foster, Christopher C <cfoster@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>; Mowdy, Jason S <jmowdy@blm.gov>
Subject: Re: Call points & Habitat coverage in B&G




Greetings all,
Below are my available times-please note-they are similar but slightly different.

2/21/2024- Not available; COR training
2/23/2024- Can squeeze a meeting from 0800-1200 hours; and 3:00-4:30 pm
2/26/2024- Can squeeze a meeting from 0900-1100 hours; and 1:30-4:30 pm
2/27/2024- Can squeeze a meeting from 0900-1100 hours; and 1:30-4:30 pm

Roli




From: Showalter, Rachel M <rshowalt@blm.gov>
Sent: Tuesday, February 20, 2024 19:10
To: Korn, Michael J <mkorn@blm.gov>; Foster, Christopher C <cfoster@blm.gov>; Espinosa, Rolando H <respinos@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>; Mowdy, Jason S <jmowdy@blm.gov>
Subject: Re: Call points & Habitat coverage in B&G

I can make any of those times except next Tuesday afternoon work!

Get Outlook for iOS

From: Korn, Michael J <mkorn@blm.gov>
Sent: Tuesday, February 20, 2024 10:11:26 AM
To: Showalter, Rachel M <rshowalt@blm.gov>; Foster, Christopher C <cfoster@blm.gov>; Espinosa, Rolando H <respinos@blm.gov>; Gayner, Elizabeth I <egayner@blm.gov>; Mowdy, Jason S <jmowdy@blm.gov>
Subject: Call points & Habitat coverage in B&G

All, recent survey effort in B&G has been augmented with the use of ARU"s of which I have heard mixed statements on whether our protocol survey effort within the B&G planning area has established call points that are or are not adequate in providing appropriate
coverage of the existing suitable habitat for consultation. As such I would like to meet as a group and get concurrence one way or another.

This is critical that we reach a consensus on the matter as it dictates what needs to be done with our survey effort moving forward as well as to avoid possible mixed messaging to the service during consultation. With whatever the conclusion is it will define how we
approach our continuing survey effort as I understand B&G is moving forward under a task order rather than in house surveys.

I would think this needs to be addressed soon (before surveys start). I can make myself available this Wednesday afternoon (2/21), all day Friday, All day Monday and next Tuesday afternoon. Let me know what days are open and I'll send a meeting invite.

Mike Korn
Swiftwater Field Manager
Bureau of Land Management
777 NW Garden Valley Blvd
Roseburg, Oregon
541-464-3211




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FYI, talked with Jason and it sounds like PNW released their owl data. He said it goes to OSO (Carol
Aron) who then disseminates the data. I told Jason to ping her and let her know it's critical we get
that data ASAP. Hopefully we have closure in the next week as far as B&G. I'm sure Barry and Anita
are going to want to know if were in the clear on that end as well.




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       Asst Field Mgr, Swiftwater Field Office
       Roseburg District BLM
       777 NW Garden Valley Blvd
       Roseburg, OR 97471
       541.464.3227 (office)
                               (work cell)
      (b) (6) Personal Privacy


       rshowalt@blm.gov



      From: Keller, Marnie N <mkeller@blm.gov>
      Sent: Tuesday, June 8, 2021 2:18 PM
      To: Gayner, Elizabeth I <egayner@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: Re: NSO survey status

      I wrote a long email and somehow accidentally deleted it all. I worked 17 hours yesterday, slept 3 and
      will be working another 17 today. I let you know we are checking fledges Wednesday and Thursday.
      When I said "we're" checking nests Wed/Thurs, I was letting you know when it was going to happen. I
      didn't say the entire crew is doing them. "We're" still figuring out who is doing them. They will be
      getting done. If you're talking about BAEA, I told Cindy, Erich and Heather they need to do them, they
      know they do, and are getting them done. We are doing night surveys in addition to day work.



      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Tuesday, June 8, 2021 13:51
      To: Keller, Marnie N <mkeller@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: Re: NSO survey status

      Marnie,

      Follow up to my previous email...

      Heard back from Werner. As a result of what he told me, I emailed Erich and Jason and asked them to
      help with NSO surveys instead of doing hab reviews on Thursday. Also told Erich to help with NSO the rest
      of the month. However, I do need his help with ARUs when the time arises here and there. We are still
      waiting for new units to arrive.

      I also forgot I have a appointment this afternoon (needed to leave 10 min ago) and then will need to
                             (b) (6)




      get back online with FWS when I get back. So, will try and touch base with you tomorrow. If you could
      please clarify the plan for fledge checks, I would appreciate it.

      Thanks,


      Liz




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      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov


      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Monday, June 7, 2021 23:35
      To: Keller, Marnie N <mkeller@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: Re: NSO survey status

      Ok, thanks for filling the information gaps re first and second visits.

      I do need clarification regarding fledge checks... is everyone doing them Wed/Thurs? And will they be
      done in lieu of night surveys or done before night work? If in lieu of night surveys, then only two people
      need do the nest checks (given only two nesting sites) and the others can do night surveys.

      Regarding Erich's time, I was going off what you told me a couple of weeks ago... that Heather and Erich
      were doing NSO two nights per week in June. So, until I heard otherwise, I assumed all was on track. I am
      waiting to hear from Werner if a particular sale needs habitat review sooner rather than later (originally
      review was due June 1st). I was tentatively planning on going out to that sale with Jason and Erich on
      Thursday. If Werner can somehow wait until I can get out there next week with Rex (we are dealing with
      BO issues for the Archie fire... which is hindering our ability to get to the field more timely this week),
      then Erich and Jason can do NSO surveys instead. If I need to get the sale reviewed this week, then the
      guys and I will do so on Thursday, and I can help with NSO surveys next week.

      With that said, I talked with Janice further about the visit situation and on occasion under extenuating
      circumstances, they were not able to meet the two visits by June 30th and therefore for some sites, they
      used July 15th as the target date. So, sounds like that option would help this year. For the two visits by
      June 30th, please prioritize sites that are within Blue and Gold, sites that have been occupied in the last
      10 years, and Whipples Haven. With pushing to July 15th for second visits, it is going to make getting four
      visits completed by end of survey season challenging. Let's see how third visits go and determine plan of
      attack for four visits later. I am thinking it will be the same prioritization as listed above.

      I have a meeting with FWS most of the day tomorrow. So, if I get done at a reasonable time in the
      afternoon, I will try to give you a call to further touch base on this. Otherwise, it would have to be
      Wednesday.

      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov




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                                                              - Showalter, Rachel04/18/25
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      From: Keller, Marnie N <mkeller@blm.gov>
      Sent: Monday, June 7, 2021 14:07
      To: Gayner, Elizabeth I <egayner@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: Re: NSO survey status

      I'll keep track of the sites SR is doing.

      The reason 2nd visits are being done when 1st visits haven't been done is because when we have issues
      precluding us from 1st visits, we're doing 2nd visits as a Plan B for efficiency sake, so we're not going
      home or standing around with nothing to do. I'm also having Gina and Claire do 2nd visits at sites where
      we've already done first visits where issues have been resolved, in order to make their time more
      efficient. It is complicated and not easily explained over email, so if you want further clarification,
      please just call me or Teams call me.

      We will be doing fledge checks on Wednesday/Thursday.

      We are struggling to finish 2nd visits by the end of June and most likely will not be able to, so although I
      understand you needing Erich, it's taking a surveyor away from the NSO effort, so it's your choice. Both
      Erich and Jason could be helping with NSO surveys, but that's up to you and management.

      As I said at the beginning of all of this, when I was giving you my honest thoughts and you told me I was
      "giving up", it's going to be close to impossible to make this happen given the staffing and time we have
      been given. It's impossible to predict something that I know very little about. I'm giving you a prediction
      based on the little I know, which is how many people it takes to do a certain number of surveys in a
      certain amount of time, with all other factors negligible. This doesn't take into consideration all of the
      significant factors involved in this particular situation, like road access, none of the crew knowing any of
      the sites, not having anyone to ask for help, not knowing preferred roads, whether we have access at all,
      having to make maps on a daily basis rather than having them available up front, new crew without
      much knowledge and no time for training, GIS issues, computer issues, gate key issues, weather,
      sickness, exhaustion. I can't tell you in black and white terms whether we will be able to finish or not.
      We are breaking our backs trying. That's all we can do, and it's more than we should have to.

      I will never turn down a meeting to get us on the same page.

      All for now,
      Marnie

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Sunday, June 6, 2021 16:08
      To: Keller, Marnie N <mkeller@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: Re: NSO survey status

      Thanks for the update. Super great to hear (b) (6) Personal Privacy                              Awesome!

      Re NSO Happy to hear SR staff is able to help with NSO surveys. If you could somehow keep track of
      how much of that effort is being done by SR, I would appreciate it (e.g., number of SR folks/night and
      number of sites they are covering). Curious why 30 sites have second visits, but still needing first visits at
      other sites??
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      Were you counting on Erich's help this next week? He and Jason (I hope will be helping me with hab
      surveys on Thursday.. still need to confirm this with the guys).

      So, what is your thought with my meeting with you all at this point? Since I am now updated on NSO, my
      other concern is eagle surveys. But I can just email the gang and have them send me an update on those
      instead of taking time away from field for a meeting. Now is the time to get fledgling counts. Should be
      relatively simple if the site was successful given that big ol' babies will be out and about. Would crew be
      able to get the west sites done prior to starting NSO surveys? Erich or I can cover the Rock Creek site.
      Darren has adopted the Swiftwater BAEA, so I get regular updates on that site. I know Erich did some
      west side GOEA and PEFA this past week.

      All for now.

      Thanks again,


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov



      From: Keller, Marnie N <mkeller@blm.gov>
      Sent: Friday, June 4, 2021 04:51
      To: Gayner, Elizabeth I <egayner@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: Re: NSO survey status

      My week has gotten away from me as well. I did get your text but I haven't had a minute to spare, so I
      apologize for not replying right away.

             We have about 16 more sites in Smith River and about 7 sites elsewhere still needing 1st visits.
             We've done about 30 second visits out of 154 sites needing them.
             We've done 3rd visits at East Elk.
             We have 2 pairs nesting at Melrose and Rookery.
             Two pairs not nesting at Western Cougar and Upper North Fork (just got this one tonight).

      Jason called me a couple days ago to let me know that most of his crew is done with their second visits,
      so he can give us 2 folks to help next week with surveys and will also be able to give us some during the
      last week of June. He also came out with us to Smith River tonight to give us a hand and found the pair
      at Upper North Fork.

      (b) (6) Personal Privacy                                                                            . I have to
      take him to a follow up Dr. appt tomorrow.

      I will be working this weekend getting maps and info for Jason's crew to be able to assist us next week.
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https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   7/8
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                                                             - Showalter, Rachel04/18/25
                                                                                 M - Outlook   Page 138 of 262

      -Marnie




      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Thursday, June 3, 2021 9:28
      To: Keller, Marnie N <mkeller@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>
      Subject: NSO survey status

      Hey Marnie,

      I got your text yesterday, but do not know if you received my response. I meant to ask you for an NSO
      survey status update last week, but the week got away from me. I am heading to field today and will not
      be available to talk or meet this afternoon. So, could you please send me a quick summary of NSO survey
      status to this point? My main concern is whether all first visits got done given down time for road
      clearing and weather and we are now into June. I have not had a chance to review the tracking table yet
      either.

      I would like to try to meet with everyone in person next week... but do not know if doable given schedules
      being worked. Or we can just meet on teams? If you see a need to meet with me one on one, let me
      know and we can do that prior to meeting with the crew. I just need to know where we are at with
      everything. With June 1st flying by it is time to check eagle nests for teenagers.

      Thank you,


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov




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                                                              - Showalter, Rachel04/18/25
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      From: Wise, Heather R <hwise@blm.gov>
      Sent: Wednesday, October 20, 2021 12:59
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      I just came across another site that is out of protocol beacause one survey was windy. Mill Creek MSNO
      3098 alt O only has 2 complete night visits for 2021, the other had a windy weather code with
      comments about wind on 2 of the 3 call points for the site. Mill Creek is NOT in Blue and Gold. It is
      located along the eastern boundary of the TDSA, and is east of Hubbard Creek, between Hubbard Creek
      and the Umpqua River. This time it was Zanarini. I can't understand why these issues were not brought
      to our attention.

      I hope this is the last,

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Tuesday, October 19, 2021 8:44 AM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Cool.

      Yes, I think the info you listed to provide some context and maybe an estimate in your mind of what it
      would take (number of surveyors) to complete the workload comfortably (e.g., no OT, assuming all stars
      align and barring any major obstacles/issues).


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Tuesday, October 19, 2021 08:37
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues


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https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   2/5
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      Sure I can meet on Friday. The morning would work best for me, I usually work a half day. Do I need to
      have some sort of analysis done for the meeting, like numbers of MSNO, TSNO and timber sale clearance
      that we currently survey at 3 visits vs what we would need to survey at 6 visits for timber sale
      clearance? Any other burning questions? I like to be prepared so I'm not wasting time trying to figure
      things out on the fly.

      Thanks,

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Tuesday, October 19, 2021 12:44 AM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Heather,

      After talking with Rex, I decided not to talk with Mike about the Tyee stuff since he can tend to complicate
      matters more. But, I did talk with Rachel and she is interested in meeting. Are you available for an hour
      or two on Friday?? If so, when would work best for you?


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Monday, October 18, 2021 07:47
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Sounds like a plan! I will keep you all posted if any other issues arise from the data.

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253
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https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   3/5
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11/12/24, 11:50 AM                               Document 25-4
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                                                             - Showalter, Rachel04/18/25
                                                                                 M - Outlook   Page 142 of 262

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Sunday, October 17, 2021 6:27 PM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Wow Heather. Thanks for the thorough rundown of 'hang-ups' with the SW NSO data. Disappointing to
      say the least. And again, this begs the question on whether we even keep up survey effort at this level
      given the issues. I go into the field tomorrow with Mike and I might get his take on it (without divulging
      the issues we are having on our end). Just want to see if he thinks it is beneficial from mgmt perspective
      or not at this point. I am on the fence about it. But we need to have the discussion soon... when you,
      Rex, Rachel, and I can meet.

      Thanks again,


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Friday, October 15, 2021 10:01
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: TDSA Site Issues

      Liz and Rex,

      To date, I have proofed visit cards from A- L, with some hang-ups.

      I was telling Rex at the gathering on Thursday, that I had just confirmed with Claire on Wednesday that
      she had 6 site visits where she used the W (windy) code for weather. I made sure that she knew that
      wind affects the surveyor's ability to detect owls. If wind affects coverage of the NRF habitat at the NSO
      site, then the site visit needs to be made up under better weather conditions. Claire agreed that she was
      aware of what windy means (wind speed wise and not meeting protocol) but did not indicate on the
      NSO tracking sheet or alert the crew lead or other crew members that she had site visits that were out
      of protocol. She stated that she flagged the sites with windy weather in her notebook and was going to
      survey them again, but after her accident she forgot that those sites needed an additional visit.

      Additionally, I have become aware of some other issues with sites that caused them to be out of
      protocol.

      Here is the list of sites that did not meet protocol:


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https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   4/5
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11/12/24, 11:50 AM                              Document    25-4
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                                                               - Showalter, Rachel04/18/25
                                                                                   M - Outlook Page 143 of 262
          1. Andrews Creek TSNO RB 9069T - Appeared to have 3 complete night visits but one was coded as
             windy and Claire did not complete the survey that night. Therefore, only 2 complete night visits for
             2021 meet protocol. Site polygon does not meet protocol. Andrews Creek is not on the list for
             Blue and Gold EA sites but is very close and it may be an error that it was not included. Polygon is
             situated between Snail Canyon and EF Flagler. Looks like it should be part of Snail Canyon and not
             a separate site, but that's another rabbit hole.
          2. Callahan Ridge TSNO RB 9163T- had 3 complete night visits, but one was coded as Windy weather
             therefore only 2 night visits for 2021 meet protocol. Site polygon does not meet protocol. Not in
             Blue and Gold EA area.
          3. Coos Bay Roadside MSNO 0559- No surveys were conducted in 2021 due to confusion with Coos
             Bay District. It was thought that Coos Bay BLM was having surveys contracted for this site, but they
             did not. This site is within the TDSA but on Coos Bay BLM. Not in Blue and Gold EA area.
          4. Little Elk TSNO RB9055T - had 3 complete night visits, but one was coded as Windy weather
             therefore only 2 night visits for 2021 meet protocol. Site polygon does not meet protocol. This
             polygon is between Hancock Creek TSNO and Bell Mountain MSNO. Not in Blue and Gold EA area.
          5. Panther Haney MSNO 1164 - This site is located on the edge of the TDSA in the Smith River area.
             There were access issues with locked gates on private land and surveyors were unable to cover all
             NRF habitat in this site polygon. Only one partial visit was conducted.
          6. Haney Creek MSNO 2151 - This site is located on the edge of the TDSA in the Smith River area.
             There were access issues with locked gates on private land and surveyors were unable to cover all
             NRF habitat in this site polygon. Three visits were conducted; however this is a large area and only
             a small portion of the NRF habitat was covered.



      The following sites also had a Crawbuck visit with a windy code that no one knew about, but these have
      3 complete night visits or greater because they are all within the Blue and Gold EA area and we did a 4th
      visit at those sites: Green Ridge TSNO RB9073T, Little Canyon Creek MSNO 0272, and Lower Little
      Canyon MSNO 3267.
      So those three sites meet protocol for 2021.

      Fun stuff!

      Hopefully those are the only major issues that I run across. I have not completed NSO Summaries for
      these sites due to the NSO database being offline.

      Please feel free to ask questions,

      Heather Wise



      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253




                                                             142
https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   5/5
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                 Case 6:24-cv-01641-MTK
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             situated between Snail Canyon and EF Flagler. Looks like it should be part of Snail Canyon and not
             a separate site, but that's another rabbit hole.
          2. Callahan Ridge TSNO RB 9163T- had 3 complete night visits, but one was coded as Windy weather
             therefore only 2 night visits for 2021 meet protocol. Site polygon does not meet protocol. Not in
             Blue and Gold EA area.
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             Bay District. It was thought that Coos Bay BLM was having surveys contracted for this site, but they
             did not. This site is within the TDSA but on Coos Bay BLM. Not in Blue and Gold EA area.
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             polygon is between Hancock Creek TSNO and Bell Mountain MSNO. Not in Blue and Gold EA area.
          5. Panther Haney MSNO 1164 - This site is located on the edge of the TDSA in the Smith River area.
             There were access issues with locked gates on private land and surveyors were unable to cover all
             NRF habitat in this site polygon. Only one partial visit was conducted. Not in a timber sale area.
          6. Haney Creek MSNO 2151 - This site is located on the edge of the TDSA in the Smith River area.
             There were access issues with locked gates on private land and surveyors were unable to cover all
             NRF habitat in this site polygon. Three visits were conducted; however this is a large area and only
             a small portion of the NRF habitat was covered. Not in a timber sale area.
          7. Mill Creek MSNO 3098 - This site is located along the eastern boundary of the TDSA, and is east of
             Hubbard Creek, between Hubbard Creek and the Umpqua River. This site had 3 complete night
             visits, but one was coded as Windy weather therefore only 2 night visits for 2021 meet
             protocol. Site polygon does not meet protocol. Not in Blue and Gold EA area.



      Map of NSO SWIM Area: Orange = Surveyed to 3-visit Protocol
                            Orange Hatch= Surveyed to 6-visit protocol by contractor
                            Teal Green= Sites listed above Out of Protocol
                            Purple= NSO nests 2021 (2)
                            White areas are private lands never included in TDSA




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       Let me know if you all need any other facts and figures.


      Have a good weekend,
      Heather Wise


      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Wednesday, October 20, 2021 3:23 PM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Her reason for not addressing the wind issue is absolute b.s. Arghhhhh.

      Weather excerpts from the NSO Survey Protocols...

      1995 protocol (used in TSDA), page 3
      Do not survey under inclement weather conditions, such as high winds ( > 10 mph) rain, or high noise
      levels
      (stream noise, machinery, etc.) which would prevent you from hearing a response that would be heard
      under
                                                       145
https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   3/9
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      better conditions.

      2012 protocol, (used outside study areas), page 12
      Acceptable Weather Conditions. Do not survey under inclement weather conditions, such as high wind
      speed (e.g. > 15 mph), rain, heavy fog, or at high noise levels which would prevent hearing of responses
      (e.g., stream noise, continuous tree drip after a rain event, machine noise, etc.). If weather conditions or
      noise levels are in doubt, be conservative. Consider placing call stations away from streams to reduce
      noise interference. Surveys conducted under marginal conditions will reduce quality of the overall survey
      effort. Negative results collected under inclement weather conditions may not be adequate for evaluating
      spotted owl presence/absence. Generally, surveys should be conducted under conditions described as a
      gentle breeze (wind speed 8 11 mph, or less. Under such conditions, flags may extend, and leaves move.
      As wind levels reach >12mph (small branches move, dust begins to blow) conditions are not acceptable as
      background sound level substantially reduces ability of the owl to hear the caller, and vice versa. For
      additional information, see: http://www.unc.edu/~rowlett/units/scales/beaufort.html.


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov



      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Wednesday, October 20, 2021 15:11
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Wow. Weather, wind, etc., is in the protocol. Always been the case. Why would this be different than the
      other protocol?? I am beyond frustrated. Rex and Rachel predicted she would blame me.


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Wednesday, October 20, 2021 14:57
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

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https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   4/9
                 Case 6:24-cv-01641-MTK
11/12/24, 11:52 AM                               Document 25-4
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                                                             - Showalter, Rachel04/18/25
                                                                                 M - Outlook   Page 148 of 262
      Liz,

      I talked to Marnie about the wind issues. I think it wasn't stressed that it is important to notify the crew
      and crew leader when surveys need made up because of bad weather. It seems like a no brainer to me,
      since I've done MAMU work and am aware of weather issues affecting surveys.

      Hopefully Jason and I can do a comprehensive training/ re-training of all the NSO surveyors as a group so
      these issues don't arise.

      I feel really bad for not double checking on this sort of thing, but I was trying not to step on toes with
      crew lead stuff. Plus, the seasonals did not notify anyone or highlight the windy weather out on the
      tracking sheet.

      Very frustrating, but a lesson learned.

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Wednesday, October 20, 2021 2:14 PM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Uuuuuuugh! So, it just dawned on me and another disturbing issue I see, is that if you were not going
      through this data with a fine-tooth comb, we would assume all these sites met protocol. These issues
      should have been caught when individuals were QC'ing and entering data into the database. No one else
      caught these!?! WTH?!?

      The evening/night wind is why Janice had her crew do surveys in the early morning into the dawn hours
      for so many years. She said it was a pain needing to reschedule make ups.

      Well, thanks for your AWESOME EFFORTS catching this stuff Heather. I am at loss of words at this point.
      This kind of work is unacceptable and will certainly need to be addressed further next year. Have you
      talked to Marnie about this???


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov



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      From: Wise, Heather R <hwise@blm.gov>
      Sent: Wednesday, October 20, 2021 12:59
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

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      located along the eastern boundary of the TDSA, and is east of Hubbard Creek, between Hubbard Creek
      and the Umpqua River. This time it was Zanarini. I can't understand why these issues were not brought
      to our attention.

      I hope this is the last,

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Tuesday, October 19, 2021 8:44 AM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Cool.

      Yes, I think the info you listed to provide some context and maybe an estimate in your mind of what it
      would take (number of surveyors) to complete the workload comfortably (e.g., no OT, assuming all stars
      align and barring any major obstacles/issues).


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management Roseburg District Office
      Phone: (541) 464 3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Tuesday, October 19, 2021 08:37
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Sure I can meet on Friday. The morning would work best for me, I usually work a half day. Do I need to
      have some sort of analysis done for the meeting, like numbers of MSNO, TSNO and timber sale clearance
                                                        148
https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   6/9
                 Case 6:24-cv-01641-MTK
11/12/24, 11:52 AM                             Document  25-4
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                                                            - Showalter, Rachel04/18/25
                                                                                M - Outlook Page 150 of 262
      that we currently survey at 3 visits vs what we would need to survey at 6 visits for timber sale
      clearance? Any other burning questions? I like to be prepared so I'm not wasting time trying to figure
      things out on the fly.

      Thanks,

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Tuesday, October 19, 2021 12:44 AM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Heather,

      After talking with Rex, I decided not to talk with Mike about the Tyee stuff since he can tend to complicate
      matters more. But, I did talk with Rachel and she is interested in meeting. Are you available for an hour
      or two on Friday?? If so, when would work best for you?


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Monday, October 18, 2021 07:47
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Sounds like a plan! I will keep you all posted if any other issues arise from the data.

      Heather Wise

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253


                                                             149
https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   7/9
                 Case 6:24-cv-01641-MTK
11/12/24, 11:52 AM                                Document 25-4
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                                                              - Showalter, Rachel04/18/25
                                                                                  M - Outlook   Page 151 of 262
      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Sunday, October 17, 2021 6:27 PM
      To: Wise, Heather R <hwise@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: Re: TDSA Site Issues

      Wow Heather. Thanks for the thorough rundown of 'hang ups' with the SW NSO data. Disappointing to
      say the least. And again, this begs the question on whether we even keep up survey effort at this level
      given the issues. I go into the field tomorrow with Mike and I might get his take on it (without divulging
      the issues we are having on our end). Just want to see if he thinks it is beneficial from mgmt perspective
      or not at this point. I am on the fence about it. But we need to have the discussion soon... when you,
      Rex, Rachel, and I can meet.

      Thanks again,


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov



      From: Wise, Heather R <hwise@blm.gov>
      Sent: Friday, October 15, 2021 10:01
      To: Gayner, Elizabeth I <egayner@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>
      Subject: TDSA Site Issues

      Liz and Rex,

      To date, I have proofed visit cards from A- L, with some hang-ups.

      I was telling Rex at the gathering on Thursday, that I had just confirmed with Claire on Wednesday that
      she had 6 site visits where she used the W (windy) code for weather. I made sure that she knew that
      wind affects the surveyor's ability to detect owls. If wind affects coverage of the NRF habitat at the NSO
      site, then the site visit needs to be made up under better weather conditions. Claire agreed that she was
      aware of what windy means (wind speed wise and not meeting protocol) but did not indicate on the
      NSO tracking sheet or alert the crew lead or other crew members that she had site visits that were out
      of protocol. She stated that she flagged the sites with windy weather in her notebook and was going to
      survey them again, but after her accident she forgot that those sites needed an additional visit.

      Additionally, I have become aware of some other issues with sites that caused them to be out of
      protocol.

      Here is the list of sites that did not meet protocol:

          1. Andrews Creek TSNO RB 9069T - Appeared to have 3 complete night visits but one was coded as
             windy and Claire did not complete the survey that night. Therefore, only 2 complete night visits for
                                                               150
https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   8/9
                 Case 6:24-cv-01641-MTK
11/12/24, 11:52 AM                              Document    25-4
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             2021 meet protocol. Site polygon does not meet protocol. Andrews Creek is not on the list for
             Blue and Gold EA sites but is very close and it may be an error that it was not included. Polygon is
             situated between Snail Canyon and EF Flagler. Looks like it should be part of Snail Canyon and not
             a separate site, but that's another rabbit hole.
          2. Callahan Ridge TSNO RB 9163T- had 3 complete night visits, but one was coded as Windy weather
             therefore only 2 night visits for 2021 meet protocol. Site polygon does not meet protocol. Not in
             Blue and Gold EA area.
          3. Coos Bay Roadside MSNO 0559- No surveys were conducted in 2021 due to confusion with Coos
             Bay District. It was thought that Coos Bay BLM was having surveys contracted for this site, but they
             did not. This site is within the TDSA but on Coos Bay BLM. Not in Blue and Gold EA area.
          4. Little Elk TSNO RB9055T - had 3 complete night visits, but one was coded as Windy weather
             therefore only 2 night visits for 2021 meet protocol. Site polygon does not meet protocol. This
             polygon is between Hancock Creek TSNO and Bell Mountain MSNO. Not in Blue and Gold EA area.
          5. Panther Haney MSNO 1164 - This site is located on the edge of the TDSA in the Smith River area.
             There were access issues with locked gates on private land and surveyors were unable to cover all
             NRF habitat in this site polygon. Only one partial visit was conducted.
          6. Haney Creek MSNO 2151 - This site is located on the edge of the TDSA in the Smith River area.
             There were access issues with locked gates on private land and surveyors were unable to cover all
             NRF habitat in this site polygon. Three visits were conducted; however this is a large area and only
             a small portion of the NRF habitat was covered.



      The following sites also had a Crawbuck visit with a windy code that no one knew about, but these have
      3 complete night visits or greater because they are all within the Blue and Gold EA area and we did a 4th
      visit at those sites: Green Ridge TSNO RB9073T, Little Canyon Creek MSNO 0272, and Lower Little
      Canyon MSNO 3267.
      So those three sites meet protocol for 2021.

      Fun stuff!

      Hopefully those are the only major issues that I run across. I have not completed NSO Summaries for
      these sites due to the NSO database being offline.

      Please feel free to ask questions,

      Heather Wise



      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253




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https://outlook.office365.com/mail/id/AAMkAGRhZWQ4OGI1LTI3NTUtNGVlNy1iZTZiLWVhY2M0NDljMTY3MABGAAAAAAD5zaUtcTZNQ6C1J78ldRk…   9/9
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                                                              - Showalter, Rachel04/18/25
                                                                                  M - Outlook   Page 153 of 262


            Outlook


      Fw: 2021 PNW ARU Prelim Results and 2022 Blue & Gold NSO Surveys

       From Showalter, Rachel M <rshowalt@blm.gov>
       Date Tue 6/13/2023 1:53 PM
       To    Korn, Michael J <mkorn@blm.gov>


         1 attachment (623 KB)
      NSO_B&G_ARU_2021Results&2022Direction_hwise03152022.pdf;




      FYI

      Rachel Showalter
      Asst Field Mgr, Swiftwater Field Office
      Roseburg District BLM
      777 NW Garden Valley Blvd
      Roseburg, OR 97471
      541.464.3227 (office)
      541.841.2239 (work cell)
      rshowalt@blm.gov


      From: Wise, Heather R <hwise@blm.gov>
      Sent: Tuesday, March 15, 2022 2:00 PM
      To: Gayner, Elizabeth I <egayner@blm.gov>; Keller, Marnie N <mkeller@blm.gov>; Reeder, Erich M
      <ereeder@blm.gov>; Bright, Cindy K <ckbright@blm.gov>; Whitt, Jordan C <jcwhitt@blm.gov>; Vaca, Veronica M
      <vvaca@blm.gov>; Bullard, Billy L <bbullard@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>; Espinosa, Rolando H
      <respinos@blm.gov>
      Subject: Re: 2021 PNW ARU Prelim Results and 2022 Blue & Gold NSO Surveys

      I went through the maps that Liz provided and added the indicated call points to
      the TSA_Callpoints_2022_edit feature class. Jordan is in the process of updating the NSO Survey TPKs
      with the updated call point feature. It now also includes the points we added in the B&G Bonus sections.
      Plus there is a trails feature. So Jordan, you can delete the Blue_Gold_CallPoints_Add_2022 feature, bc it
      is now included in the other one.

      Click on the sticky notes in the attached .pdf for notes regarding the sites and call point numbers.

      Also keep in mind that for some reason PNW re-numbered the hexagons for the ARU study, therefore
      they do not match the BSNO that we use for our STVA cards and database. I was confused and had to
      figure it out.

      Feel free to ask questions,

      Heather Wise
                                                              152
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                 Case 6:24-cv-01641-MTK
11/12/24, 12:38 PM                                DocumentMail25-4       Filed
                                                               - Showalter, Rachel04/18/25
                                                                                   M - Outlook   Page 154 of 262

      Heather R Wise
      Wildlife Biologist
      hwise@blm.gov
      541-464-3253

      From: Gayner, Elizabeth I <egayner@blm.gov>
      Sent: Tuesday, March 15, 2022 10:48 AM
      To: Keller, Marnie N <mkeller@blm.gov>; Wise, Heather R <hwise@blm.gov>; Reeder, Erich M
      <ereeder@blm.gov>; Bright, Cindy K <ckbright@blm.gov>; Whitt, Jordan C <jcwhitt@blm.gov>; Vaca, Veronica M
      <vvaca@blm.gov>; Bullard, Billy L <bbullard@blm.gov>
      Cc: Showalter, Rachel M <rshowalt@blm.gov>; McGraw, Rex L <rmcgraw@blm.gov>; Espinosa, Rolando H
      <respinos@blm.gov>
      Subject: 2021 PNW ARU Prelim Results and 2022 Blue & Gold NSO Surveys

      Hey Gang,

      Attached are the preliminary results from the PNW ARU surveys in Blue and Gold and my direction on
      tackling survey effort in the hexagons that had detections. There are four sites that will take some extra
      effort for set-up and surveys. I know that survey areas have been assigned, but I want everybody to be in
      the loop because surveys in this area are our highest priority and will most likely involve everyone on the
      crew at some point.

      We received the ARU detection information from PNW late last week. We are still trying to get more
      detailed information. But given how long it took to get this much from PNW, we are going to use what we
      have thus far instead of waiting further. If we get additional information in the near future (e.g., which
      specific ARUs recorded NSO), I will let you all know. In the meantime we will proceed with the direction I
      have outlined in the attached document. This morning, DLT was briefed on the information we received
      from PNW and on how we are going to approach the 2022 survey effort using the 2021 ARU
      information.

      Please direct any questions or concerns to Heather, and she and I will work through them. We can also
      discuss as group before or after NSO training this next Monday if needed.

      Thank you,


      Liz




      Elizabeth I. Gayner
      Lead Wildlife Biologist - Swiftwater Field Office
      OR/WA BLM Peregrine Falcon Technical Coordinator
      Bureau of Land Management - Roseburg District Office
      Phone: (541) 464-3381; egayner@blm.gov




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        Preliminary NSO Survey Results from PNW ARUs in 2021 and
              Direction for 2022 Broadcast Calling Survey Effort
The following is a summary of results from PNW’s ARU surveys completed in 2021. Based on these
results, direction has been provided for completing surveys within areas of detections in 2022.

2021: Preliminary NSO (“STOC”) detections for hexes in the Tyee Survey Area (TSA) associated within
the Blue & Gold project area.
    • Hexes 18734 and 18730 had no verified STOC detections.
    • Hexes 18541, 18828, 18928, and 18926 have verified STOC detections (Figures 1-4).
    • ARU STOC detections have not been processed through a sex predictor model, so we don't
       have that specific information at this time.
    • The KNOWN SURVEY column is whether callback survey information was documented
    • The SUSPECTED SURVEY column is for validating a heard a callback survey, but PNW
       doesn't have confirmed information that a survey was conducted.
    • The same hexes will be sampled every year.
    • Note: there were no MAMU detections for the 6 hexagons in the project area.

 Table 1. PNW Hexagons with NSO Detections in the Blue & Gold Project Area.




2022: At this time, we do not know which ARU locations recorded STOC detections which makes
it challenging with knowing where to proceed with core walks and managing sites. ARUs were
placed in NRF and dispersal-only habitats. We are working on obtaining more detailed
information from PNW. However, it is not guaranteed we will receive the information in a timely
manner. Therefore, efforts to locate birds on the ground to determine an activity center will be
based on ARUs that were in NRF habitat.

Direction for completing surveys in hexagons that had STOC detections in 2021:
   • Conduct at least one “core walk” in areas where an ARU is in NRF. Blue (megaphone) icons
     in Figures 1-4 indicate approximate ARU deployment locations by PNW.
        o Additional note for all survey effort throughout the TSA… based on recent
            discussion with the PNW biologist who led the study effort for 30+ years in the TSA:
            Most STOC in TSA are accustomed to surveyors and mousing. But given presence of
            barred owls, STOC are not keen on being vocal. During core walks… regularly stop,


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            look up and scan the trees for a silent STOC that has flown in. Squeaking like a
            mouse can be effective for calling in a STOC. In addition, up until the last couple of
            years of survey effort (prior to changing to ARU monitoring), surveys and core walks
            were primarily conducted in the morning. If you don’t get detections in
            afternoon/evening, she strongly encourages surveying in the morning.

  •   Hexagon 18541 –– to ensure adequate survey coverage, add a call station near ARU to the
      north. Current call stations (indicated with ) are approximately 0.3 miles from ARU
      location. Red star indicates suggestion for station placement (Figure 1).
      Figure 1: Hexagon 18541 (detections on four nights 3/9-11 and 3/21= occupied)




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  • Hexagon 18828 –– adding stations is already in progress to obtain adequate survey
    coverage of habitat indicated in cross hatch in Figure 2.
          o Based on review of BLM ARU 2021 data (red megaphone icons in Figure 2), there
              is at least one barred owl pair. No STOC detections thus far. BLM data is still
              being reviewed and therefore, more details will be provided in near future.


  Figure 2: Hexagon 18828 (2 detections on 3/31) and Hexagon 18734 (no detections)




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  • Hexagon 18928 –– to ensure adequate survey coverage, re-establish call point 1980-03
    (indicated with on road bordering western edge of NRF) and add a call station near
    ARU in SE corner of section (Figure 3). Survey stations to west likely not adequately
    surveying habitat east of ridgeline where ARUs are located along east boundary of section
    15 (refer to contours in additional figure below). Addition of two stations would provide
    survey coverage of habitat east of ridgeline. If roads are not accessible, will need to
    determine a walk-in call point or two to adequately survey habitat.

     Figure 3: Hexagon 18928 (3 detections on 6/14)




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  • Hexagon 18926 –– will need at least three stations added to adequately cover habitat
    indicated in red oval polygons in Figure 4. The closest call stations currently established are
    more than 0.6 – 0.8 miles from habitat (including the ARU) located in the NE corner of
    section 19). In addition, based on the GIS Lidar topography, the habitat in the NE corner of
    section 19 (including the ARU) appears to be in a drainage between two ridgelines.
    Therefore, the established stations do not adequately cover the habitat per protocol. Red
    stars indicate suggestions for station placement. If roads are not accessible, will need to
    determine a walk-in call point along the ridge to access NE corner of Section 19 (Figure 4).

   Figure 4: Hexagon 18926 (detections on 3 nights 6/14-16)




Prelim NSO ARU 2021 Results in TSA and Direction for 2022                              Page 5 of 5

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Kufta-Christie, Lindsey A

From:                            Kufta-Christie, Lindsey A
Sent:                            Tuesday, December 5, 2023 4:36 PM
To:                              Espinosa, Rolando H
Cc:                              Gayner, Elizabeth I
Subject:                         Possible STOC/SURV1 detections in Yellow Butte


Hello again Roli,

I have been reviewing and re-reviewing 2023 recordings, cross-referencing our survey eﬀorts, and listening to the
‘scripts’ of the FoxPro recordings namely: 000 NSO_10min_USFWS, 001 & Fukudas_funky_mix to ensure whether or not
the detec ons are true owl vocaliza ons or recordings. Here is a list of compiled informa on:

Here are poten al STOC/SURV1 (NSOsurveys). These recordings from the ARU were picked up the same date and
roughly MM:HH as the scripts were broadcasted by the owl crew:

YEB-4 SURV1? vocaliza on consis ng of three audible 3-note calls followed by roughly two minutes of no audible
vocaliza ons, and then three groupings of faint BARKS (survey performed that night at STA 9069-10, survey me 2236-
2246 by M.Wind). Please see email forwarded to you with correspondence between myself and MW.

YEC-3 SURV1? 8/3 at 2134 possibly Snail Canyon survey (JMowdy, Snail Canyon survey data card reads 2133-2143);
SURV1? 7/27 @ 2242 (JMowdy, HMarshall Yellow Mar n survey data card reads 2040-2050)
These recordings from YEC-3 consists of three audible 3-note calls
Not sure whether J.Mowdy uses a hoot ﬂute or recordings, all 3-note calls were very consistent.

This excel data sheet is located at: (b) (5) Government Commercial Information                           . Please
select the “Copy” version with my ini als a ached to the end.

I need to look at the sta ons distance from the ARU loca on. Also loca on of ARU are in the “2023 ARU ﬁxed loc” tab

Talk to you soon,
Lindsey




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Kufta-Christie, Lindsey A

From:                               Kufta-Christie, Lindsey A
Sent:                               Tuesday, January 30, 2024 12:20 PM
To:                                 Gayner, Elizabeth I
Subject:                            Comparison of actual SURV1 footage and questionable STOC? detection in YEC 3
Attachments:                        BLM_YEC-1_20230727_224202_2of2three&four-note.jpg; BLM_YEC-3_20230727_224202
                                    _surv1stoc_2of2three-note.jpg; BLM_YEC-2_20230727_224202_2of2_three&four-
                                    note_surv1.jpg


Hi Liz,

Follow the thread to the survey slides I pulled for comparison, or see the a ached photos. I looked at SURV1 recording
from YEC-1, -2 7/27 (addi onal SURV1 can also be found in YEC-3) and there is some diﬀerence, perhaps echo or wind
that clouds the visual. Also in the folder is the recording of the SURV1/STOC? detec on we are working through for the
report. If you measure the me on the ‘x-axis’ it suggests the ARU recording on 7/27 is a survey from Bear Creek picked
up on the Yellow Creek ARU sta on #1,2&3. There may have been some element of rearranging the script with
individual calls being played at the surveyors liking OR human error on recording a me later than when the surveyor
played the callbox, but that is an assump on and not known.

(b) (5) Government Commercial Information
The next step in the process is, year a er year, no ng what sta ons are heard on the ARU repeatedly and no ng the
influence of weather, the noise volume the call-box is played at, whether or not the sta on requires the surveyor to
direct the calls in all four cardinal direc ons to cover are area, etc. I realize some of these details are already recorded
on the data card, but some are not and it can be emphasized throughout the season so people are aware of the
intricacies and inner-workings of the ARU. Wow! This whole process is exci ng! I am hoping we can find some other
call-box inaccessible “holes” to fill with ARU’s in the future and find more actual vocaliza ons.

Lindsey




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Kufta-Christie, Lindsey A

From:                             Reeder, Erich M
Sent:                             Wednesday, January 31, 2024 6:18 PM
To:                               Kufta-Christie, Lindsey A
Subject:                          RE: Cross-referencing call-back surveys and ARU recordings


Thank you for asking me to help, hopefully I can :0)

To begin with your last point, it may come as a shock to you but I don’t think there is a geodatabase with any of our ARU
sta on loca ons! I just kept the coordinates on the tracking sheet and manually entered x,y onto Arcmap to map them.

As to conﬁrma on for June14, 2023, I will have to check on that tomorrow morning as it’s me for me to walk away
from this computer for today.

I hope you have another wonderful night with or without the wind!
E
From: Kufta-Christie, Lindsey A <lkuftachristie@blm.gov>
Sent: Wednesday, January 31, 2024 2:36 PM
To: Reeder, Erich M <ereeder@blm.gov>
Subject: Cross-referencing call-back surveys and ARU recordings

Thank you Erich for the help. This is what needs to happen. DOE-7 (coordinates 467626 4820705) ARU picked up
vocaliza ons. Please conﬁrm on the date 6/14/2023 at 2056 there were NO surveys or night core walks.
I have looked at the following 2023 survey eﬀort data card records: Yellow Bu e starts at 2136, Upper Li le Canyon
starts at 0009, Yellow Trib starts at 2240, McGee Creek starts at 2239… is there something I missed?

Thank you, thank you, thank you : )
Lindsey

(b) (5) Government Commercial Information


Lastly, where is the B&G ARU geodatabase with all the loca ons of YEB, YEC, UYC, DOE, LYC etc.




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Kufta-Christie, Lindsey A

From:                            Kufta-Christie, Lindsey A
Sent:                            Thursday, February 22, 2024 1:15 PM
To:                              Mowdy, Jason S
Subject:                         2022-2023 ARU detections, in progress
Attachments:                     22_23_NSOdetection_timelinePERstation.docx


Hi Jason,

Here is an update on the ARU detec ons—s ll working on Yellow Creek 2022 and 2023.

I am curious, was there a point on your map where Bright picked up a bird on 4/14/2022 in Yellow Creek? Thought I may
have remembered that from our mee ng on Wednesday.

Will con nue digging and working on the document,
Lindsey




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2022-2023 NSO Recordings (Survey and STOC)
All times mark the beginning of the individuals ‘grouped’ vocalizations unless noted
otherwise

Upper Yellow Creek ARU #1 & 3 Surveys 3/16/2022
UYC-1         SURV                                Reeder, 1924-12, 2057-2108, 1.07miles
                                                          Was he playing the recording?
                                                  Keller, 1924-04, 2107-2117,
                                                  questionable, 1.72miles, also not
                                                  picked up at UYC-3 which is closer.
              BUVI at:                            19hr 31min 49sec
              Male 4-note at:                     20hr 56min 00sec
              Male two series to a 2-note at:     20hr 56min 11sec
              Male one 4-note at:                 20hr 56min 36sec
              Male three irregular call/series?
              to a 2-note at:                     20hr 56min 36sec
              Male one 4-note at:                 21hr 01min 12sec
              Male two series at:                 21hr 01min 20sec
              Male one 4-note at:                 21hr 01min 46sec
              Female four ¾-notes at:             21hr 03min 22sec
              Male three ¾-notes                  21hr 04min 08sec
              STVA 8-note at:                     21hr 04min 43sec
              Whistle seven + 4-barks at:         21hr 05min 49sec

UYC-3         walk-in SURV                       Reeder, 1924-12, 1.22miles
                                                 Bright, 1992-06, 1920-1930, 1.39miles
               BUVI at:                          19hr 19min 09sec
               ER one 4-note at:                 19hr 21min 30sec
               ER 4-note at:                     20hr 00min 59sec
               ER two 4-notes at:                20hr 03min 17sec, 40sec
               ER random hoots:                  20hr 05min 58sec
               ER 4-note:                        20hr 07min 38sec
        Reeder hikes to station 1924-12 (no times recorded but from Kellers start time at
        station 1924-08 at 2005, assume she drops Reeder oﬀ at 1800/1830 (see DOC-5)
        1900 and he starts hooting on his way in. Survey at station 1924-12 is from
        2057-2108. Reeder walks from 1924-12 to 1804-02, presumably does NOT call
        post survey from 2108 to 2156. Surveys 1804-02 from 2156-2206, hears whistles
        (repeated six times), estimates detection point at: 10 N 465613 4818859 from
        station 1804-02 (azimuth of 171degrees at ~100m), hikes into stand crashes
        and “left stand” at 2236. UYC-3 to 1804-02 is 0.91miles. Keller surveys station




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        1924-06 from 2158-2208. Distance from 1924-06 Keller to 1804-02 Reeder is
        1.07miles. He could have heard the seven whistles in the recording of Kellers
        survey. Was there a radio check-in?

UYC-3         SURV                                  Keller 1924-03, 21:28-21:38, 0.49 miles
                                                    and 1924-06, 21:58-22:08, 0.73 miles
              Female four 3-notes at:               21hr 33min 11sec
              7 whistles and 6 barks at:            21hr 35min 38sec
                             Ends at:               21hr 36min 32sec
              SURV                                  SURVEYOR
              Female four 3-notes at:               22hr 06min 03sec
              7 whistles at:                        22hr 08min 30sec
              5 barks (very faint) ends at:         22hr 09min 23sec




UYC-4         walk-in SURV                    Reeder walk-in to 1924-12, 1.12miles
              ER one 4-note at:               19hr 21min 26sec
              (Document faint, moderate, distant “qualier”)

Doe Creek ARU #5 detections (ARU deployed 3/3/2022) 3/16/2022
DOC-5         walk-in SURV                          Reeder walk-in detected by UYC-3 & -4
                                                    1921 and 2000 hour, no data card
              ER two 4-notes at:                    18hr 33min 01sec**
              ER one 4-note at:                     18hr 34min 31sec
              ER one 4-notes at:                    18hr 35min 56sec
              ER one 4-note at:                     18hr 37min 08sec
              ER one 4-note at:                     18hr 43min 13sec
              ER two 4-notes at:                    18hr 46min 51sec

Yellow Trib ARU #3 detections 3/16/2022
YET-3         walk-in SURV                          Keller, 1992-07, (1730-1930), 0.95mi
              Female four 3-notes at:               18hr 29min 26sec


Yellow Butte ARU #1 detections 4/27/2022
YEB-1         SURV                                  Wise, Gayner, entire survey: 1900-0022
              Male two 3-notes at:                  20hr 50min 27sec, 50min 44sec
              Female? four 3-notes at:              20hr 52min 58sec, 53min 15sec, 31sec,
                                                    44sec (mod-faint vocalizations)
                                                    Wise, Gayner, 2050-2100, 1992-04,
                                                    0.73miles



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           Male three 3-notes at:           21hr 15min 28sec
                                            Wise, Gayner, 2111-2121, 1992-03, 0.72
                                            miles
           Male two 3-notes and two series to 3-notes at:
                                            21hr 41min 09sec, 15sec, 23sec, 39sec,
           Male two 3-notes at:             21hr 49min 48sec, 54sec
                                            Wise, 2131-2150, “1992-??” between -3
                                            and -5 is -12, 0.74miles
           Male six 3-notes plus one 3-note at:
                                            23hr 28min 26sec, 23hr 29min 46sec
                                            (faint)
           Male four 3-notes at:            23hr 31min 33sec (getting closer)
                                            Wise, Gayner, 2328-2338, 1992-09,
                                            0.31miles

Yellow Butte ARU #1 Survey 4/28/2022
YEB-1      SURV                              Wise, Gayner, entire survey: 1900-0022
           Male four 3-notes at:             00hr 00min 39sec
           Male four 3-notes at:             00hr 40min 13sec
           Male four 3-notes at:             00hr 41min 59sec
                                             Wise, Gayner, 2357-0007, 1992-10, 0.39
                                             miles
           Male two 3-notes at:              21hr 15min 15 sec
                                             Wise, walk-in 2021-2100 to 1992-07,
                                             0.19 mile

Yellow Butte ARU #4 detection 7/1/2022 (6/30 survey)
YEB-4      STOC
           Male one 3-notes at:              00hr 10min 35 sec (slightly farther)
           Male two 3-notes at:              00hr 10min 52 sec, 11min 09sec
                                             (closer)
           Whistle at:                       00hr 09min 57sec (possibly more
                                             throughout, VERY faint)

Yellow Butte ARU #2 detection 7/12/2022
YEB-2      STOC
           Male three 3-notes at:            22hr 55min 44sec
                                             (one distant and two closer)




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Yellow Creek ARU #2 detection 4/05/2022
YEC-2     STOC
          Male 3-note:                      20hr 17min 36sec (distance?)
          Male 3-note to two series to two 4-note:
                                            20hr 19min 43sec (moderate)

Yellow Creek ARU #1 detection 4/06/2022
YEC-1     STOC
          Male two 3-notes:                   23hr 09min 51sec, 10min 19sec
                                              Three indistinct hoots


Yellow Creek ARU #1 Survey 4/14/2022
YEC-1     SURV                                Bright, 2222-2232, 0391-02, 0.86mi
          Male two ¾-notes:                   22hr 24min 16sec
          Male three-note and WHIS:           22hr 24min 52sec (overall windy)

Yellow Creek ARU #1 detection 7/06-07/2022
YEC-1     STOC
          Male four 3-notes:                  00hr 38min 33sec (moving farther
                                              away)

Yellow Creek ARU #1 detection 7/13/2022
YEC-1     STOC
          BUVI present:                       21hr 29min 38sec
          Male one distant 4-note:            21hr 30min 29sec




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Kufta-Christie, Lindsey A

From:                               Kufta-Christie, Lindsey A
Sent:                               Friday, February 23, 2024 10:50 AM
To:                                 Mowdy, Jason S
Subject:                            2022-23 document changes
Attachments:                        22_23_NSOdetection_timelinePERstation.docx


Hi Jason,

A ached is the document we went over this morning so you can see the changes that were made during our
conversa on.

Many thanks for revisi ng this topic again, helps to clarify and talk it out.
Lindsey




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2022-2023 NSO Recordings (Survey and STOC)
All times mark the beginning of the individuals ‘grouped’ vocalizations unless noted
otherwise

Upper Yellow Creek ARU #1 & 3 detections 3/16/2022
UYC-1         SURV                                Reeder, 1924-12, 2057-2108, 1.07miles
                                                          Was he playing the recording?
                                                  Keller, 1924-04, 2107-2117,
                                                  questionable, 1.72miles, also not
                                                  picked up at UYC-3 which is closer.
              BUVI at:                            19hr 31min 49sec
              Male 4-note at:                     20hr 56min 00sec
              Male two series to a 2-note at:     20hr 56min 11sec
              Male one 4-note at:                 20hr 56min 36sec
              Male three irregular call/series?
              to a 2-note at:                     20hr 56min 36sec
              Male one 4-note at:                 21hr 01min 12sec
              Male two series at:                 21hr 01min 20sec
              Male one 4-note at:                 21hr 01min 46sec
              Female four ¾-notes at:             21hr 03min 22sec
              Male three ¾-notes                  21hr 04min 08sec
              STVA 8-note at:                     21hr 04min 43sec
              Whistle seven + 4-barks at:         21hr 05min 49sec

UYC-3         walk-in SURV                       Reeder, 1924-12, 1.22miles
                                                 Bright, 1992-06, 1920-1930, 1.39miles
               BUVI at:                          19hr 19min 09sec
               ER one 4-note at:                 19hr 21min 30sec
               ER 4-note at:                     20hr 00min 59sec
               ER two 4-notes at:                20hr 03min 17sec, 40sec
               ER random hoots:                  20hr 05min 58sec
               ER 4-note:                        20hr 07min 38sec
        Reeder hikes to station 1924-12 (no times recorded but from Kellers start time at
        station 1924-08 at 2005, assume she drops Reeder oﬀ at 1800/1830 (see DOC-5)
        1900 and he starts hooting on his way in. Survey at station 1924-12 is from
        2057-2108. Reeder walks from 1924-12 to 1804-02, presumably does NOT call
        post survey from 2108 to 2156. Surveys 1804-02 from 2156-2206, hears whistles
        (repeated six times), estimates detection point at: 10 N 465613 4818859 from
        station 1804-02 (azimuth of 171degrees at ~100m), hikes into stand crashes
        and “left stand” at 2236. UYC-3 to 1804-02 is 0.91miles. Keller surveys station




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        1924-06 from 2158-2208. Distance from 1924-06 Keller to 1804-02 Reeder is
        1.07miles. He could have heard the seven whistles in the recording of Kellers
        survey. Was there a radio check-in?

UYC-3         SURV                                  Keller 1924-03, 21:28-21:38, 0.49 miles
                                                    and 1924-06, 21:58-22:08, 0.73 miles
              Female four 3-notes at:               21hr 33min 11sec
              7 whistles and 6 barks at:            21hr 35min 38sec
                             Ends at:               21hr 36min 32sec
              SURV                                  SURVEYOR
              Female four 3-notes at:               22hr 06min 03sec
              7 whistles at:                        22hr 08min 30sec
              5 barks (very faint) ends at:         22hr 09min 23sec


UYC-4         walk-in SURV                    Reeder walk-in to 1924-12, 1.12miles
              ER one 4-note at:               19hr 21min 26sec
              (Document faint, moderate, distant “qualier”)

Doe Creek ARU #5 detections (ARU deployed 3/3/2022) 3/16/2022
DOC-5         walk-in SURV                          Reeder walk-in detected by UYC-3 & -4
                                                    1921 and 2000 hour, no data card
              ER two 4-notes at:                    18hr 33min 01sec**
              ER one 4-note at:                     18hr 34min 31sec
              ER one 4-notes at:                    18hr 35min 56sec
              ER one 4-note at:                     18hr 37min 08sec
              ER one 4-note at:                     18hr 43min 13sec
              ER two 4-notes at:                    18hr 46min 51sec

Yellow Trib ARU #3 detections 3/16/2022
YET-3         walk-in SURV                          Keller, 1992-07, (1730-1930), 0.95mi
              Female four 3-notes at:               18hr 29min 26sec


Yellow Butte ARU #1 detections 4/27/2022
YEB-1         SURV                                  Wise, Gayner, entire survey: 1900-0022
              Male two 3-notes at:                  20hr 50min 27sec, 50min 44sec
              Female? four 3-notes at:              20hr 52min 58sec, 53min 15sec, 31sec,
                                                    44sec (mod-faint vocalizations)
                                                    Wise, Gayner, 2050-2100, 1992-04,
                                                    0.73miles




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           Male three 3-notes at:           21hr 15min 28sec
                                            Wise, Gayner, 2111-2121, 1992-03, 0.72
                                            miles
           Male two 3-notes and two series to 3-notes at:
                                            21hr 41min 09sec, 15sec, 23sec, 39sec,
           Male two 3-notes at:             21hr 49min 48sec, 54sec
                                            Wise, 2131-2150, “1992-??” between -3
                                            and -5 is -12, 0.74miles
           Male six 3-notes plus one 3-note at:
                                            23hr 28min 26sec, 23hr 29min 46sec
                                            (faint)
           Male four 3-notes at:            23hr 31min 33sec (getting closer)
                                            Wise, Gayner, 2328-2338, 1992-09,
                                            0.31miles

Yellow Butte ARU #1 detections 4/28/2022           Recording in ARU_B&G le
YEB-1      SURV
           Male two 3-notes at:              21hr 15min 15 sec
                                             Wise, walk-in 2021-2100 to 1992-07,
                                             0.19 mile (qualier)
                                             Wise, Gayner, entire survey: 1900-0022
           Male four 3-notes at:             00hr 00min 39sec
           Male four 3-notes at:             00hr 40min 13sec
           Male four 3-notes at:             00hr 41min 59sec clip for Jason
                                             Wise, Gayner, 2357-0007, 1992-10, 0.39
                                             miles

Yellow Butte ARU #4 detection 7/1/2022 (6/30 survey)
YEB-4      SURV                              Wise, 4659-02, 0007-0017, 1.31miles
           Male one 3-notes at:              00hr 10min 35 sec (slightly farther)
           Male two 3-notes at:              00hr 10min 52 sec, 11min 09sec
                                             (closer)
           Whistle at:                       00hr 09min 57sec (possibly more
                                             throughout, VERY faint)
                                             Question the direction of the callbox
                                             clip for Jason detect a Wise-tone call
                                             She had a giddy-up in her last note
                                             Inquire about more surrounding
                                             vocalizations
                                             Add ARU to yellow butte sec 22 and 23




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Yellow Butte ARU #2 detection 7/12/2022
YEB-2     STOC or SURV                        Wise, 2252-2302, 4682-04, 1.5miles
          Male three 3-notes at:              22hr 55min 44sec
                                              (one distant and two closer)
                                              Clip for Jason (louder or softer)


Yellow Creek ARU #2 detection 4/05/2022
YEC-2     STOC
          Male 3-note:                      20hr 17min 36sec (distance?)
          Male 3-note to two series to two 4-note:
                                            20hr 19min 43sec (moderate)

Yellow Creek ARU #1 detection 4/06/2022
YEC-1     STOC
          Male two 3-notes:                   23hr 09min 51sec, 10min 19sec
                                              Hoots have a strange echo eﬀect


Yellow Creek ARU #1 detections 4/14/2022
YEC-1     SURV                                Bright, 2222-2232, 0391-02, 0.86mi
          Whistle:                            22hr 23min 27sec
          Male two ¾-notes:                   22hr 24min 17sec
          Male 3-note:                        22hr 24min 29sec
          Male three-note:                    22hr 24min 53sec
          Whistle:                            22hr 25min 00sec
          Three whistles:                     22hr 27min 26sec (overall windy)

Yellow Creek ARU #1 detection 7/06-07/2022
YEC-1     SURV                                Bright, 0039-0052, 1972-11, miles?
          Male four 3-notes:                  00hr 38min 33sec (moving farther
                                              away)

Yellow Creek ARU #1 detection 7/13/2022
YEC-1     SURV                                1804-03, 2127-2137, 1.09miles
          BUVI present:                       21hr 29min 38sec
          Male one distant 4-note:            21hr 30min 29sec




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Doe Creek ARU #7 detection 6/14/2023
DOC-7     STOC, juvenile and STVA
          STVA before and after STOC recording
          Male two 4-notes to two series:          20hr 41min 14sec
          Male 4-note                              20hr 42min 08sec
          Male four 4-notes with overlapping
                juvenile calls plus two notes:     20hr 45min 13sec
          Female single high hoot?                 20hr 45min 13sec
          STVA inspection and faint 8-notes:       20hr 50min 22sec
          Male rst three notes, then two 4-notes: 20hr 52min 00sec
          Male one 4-note:                         20hr 52min 23sec
          STVA/STOC:                               20hr 52min 59sec
                (Indistinct calls afterwards)
          STVA 8-note, caterwauling,
                and juvenile calling:              20hr 55min 37sec

Yellow Butte ARU #4 detection 5/10/2023
YEB-4     STOC
          Male one 4-note:                       03hr 25min 00sec

          STOC
          Female three 3-notes:                  starting slide at 22hr 39min
                                                 53min 57sec into slide
                                                 Results in time:23hr 32min XXsec
YEB-4     SURV??
          Female??
          Barks at:                              57:34.85




Upper Yellow Creek ARU #3 detection 6/14/2023




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Kufta-Christie, Lindsey A

From:                           Kufta-Christie, Lindsey A
Sent:                           Monday, February 26, 2024 7:40 AM
To:                             Mowdy, Jason S
Subject:                        Updated 22-23 detections as of 2/26
Attachments:                    22_23_NSOdetection_timelinePERstation.docx


Hi Jason,

I came in early today to review the dates and detec on mes again. At the end of each years detec on summary is a
simple table with reference to the actual STOC detected.

Lindsey




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2022-2023 Survey and STOC recordings
All times mark the beginning of the individuals ‘grouped’ vocalizations unless noted
See Table 1 and 2 for ARU detection summaries in 2022 and 2023

Upper Yellow Creek ARU #1 & 3 detections 3/16/2022
UYC-1         SURV                                Reeder, 1924-12, 2057-2108, 1.07miles
                                                          Was he playing the recording?
                                                  Keller, 1924-04, 2107-2117,
                                                  questionable, 1.72miles, also not
                                                  picked up at UYC-3 which is closer.
              BUVI at:                            19hr 31min 49sec
              Male 4-note at:                     20hr 56min 00sec
              Male two series to a 2-note at:     20hr 56min 11sec
              Male one 4-note at:                 20hr 56min 36sec
              Male three irregular call/series?
              to a 2-note at:                     20hr 56min 36sec
              Male one 4-note at:                 21hr 01min 12sec
              Male two series at:                 21hr 01min 20sec
              Male one 4-note at:                 21hr 01min 46sec
              Female four ¾-notes at:             21hr 03min 22sec
              Male three ¾-notes                  21hr 04min 08sec
              STVA 8-note at:                     21hr 04min 43sec
              Whistle seven + 4-barks at:         21hr 05min 49sec

UYC-3         walk-in SURV                       Reeder, 1924-12, 1.22miles
                                                 Bright, 1992-06, 1920-1930, 1.39miles
               BUVI at:                          19hr 19min 09sec
               ER one 4-note at:                 19hr 21min 30sec
               ER 4-note at:                     20hr 00min 59sec
               ER two 4-notes at:                20hr 03min 17sec, 40sec
               ER random hoots:                  20hr 05min 58sec
               ER 4-note:                        20hr 07min 38sec
        Reeder hikes to station 1924-12 (no times recorded but from Kellers start time at
        station 1924-08 at 2005, assume she drops Reeder oﬀ at 1800/1830 (see DOC-5)
        1900 and he starts hooting on his way in. Survey at station 1924-12 is from
        2057-2108. Reeder walks from 1924-12 to 1804-02, presumably does NOT call
        post survey from 2108 to 2156. Surveys 1804-02 from 2156-2206, hears whistles
        (repeated six times), estimates detection point at: 10 N 465613 4818859 from
        station 1804-02 (azimuth of 171degrees at ~100m), hikes into stand crashes
        and “left stand” at 2236. UYC-3 to 1804-02 is 0.91miles. Keller surveys station




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        1924-06 from 2158-2208. Distance from 1924-06 Keller to 1804-02 Reeder is
        1.07miles. He could have heard the seven whistles in the recording of Kellers
        survey. Was there a radio check-in?

UYC-3         SURV                                  Keller 1924-03, 21:28-21:38, 0.49 miles
                                                    and 1924-06, 21:58-22:08, 0.73 miles
              Female four 3-notes at:               21hr 33min 11sec
              7 whistles and 6 barks at:            21hr 35min 38sec
                             Ends at:               21hr 36min 32sec
              SURV                                  SURVEYOR
              Female four 3-notes at:               22hr 06min 03sec
              7 whistles at:                        22hr 08min 30sec
              5 barks (very faint) ends at:         22hr 09min 23sec


UYC-4         walk-in SURV                    Reeder walk-in to 1924-12, 1.12miles
              ER one 4-note at:               19hr 21min 26sec
              (Document faint, moderate, distant “qualier”)

Doe Creek ARU #5 detections (ARU deployed 3/3/2022) 3/16/2022
DOC-5         walk-in SURV                          Reeder walk-in detected by UYC-3 & -4
                                                    1921 and 2000 hour, no data card
              ER two 4-notes at:                    18hr 33min 01sec**
              ER one 4-note at:                     18hr 34min 31sec
              ER one 4-notes at:                    18hr 35min 56sec
              ER one 4-note at:                     18hr 37min 08sec
              ER one 4-note at:                     18hr 43min 13sec
              ER two 4-notes at:                    18hr 46min 51sec

Yellow Trib ARU #3 detections 3/16/2022
YET-3         walk-in SURV                          Keller, 1992-07, (1730-1930), 0.95mi
              Female four 3-notes at:               18hr 29min 26sec


Yellow Butte ARU #1 detections 4/27/2022
YEB-1         SURV                                  Wise, Gayner, entire survey: 1900-0022
              Male two 3-notes at:                  20hr 50min 27sec, 50min 44sec
              Female? four 3-notes at:              20hr 52min 58sec, 53min 15sec, 31sec,
                                                    44sec (mod-faint vocalizations)
                                                    Wise, Gayner, 2050-2100, 1992-04,
                                                    0.73miles




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           Male three 3-notes at:           21hr 15min 28sec
                                            Wise, Gayner, 2111-2121, 1992-03, 0.72
                                            miles
           Male two 3-notes and two series to 3-notes at:
                                            21hr 41min 09sec, 15sec, 23sec, 39sec,
           Male two 3-notes at:             21hr 49min 48sec, 54sec
                                            Wise, 2131-2150, “1992-??” between -3
                                            and -5 is -12, 0.74miles
           Male six 3-notes plus one 3-note at:
                                            23hr 28min 26sec, 23hr 29min 46sec
                                            (faint)
           Male four 3-notes at:            23hr 31min 33sec (getting closer)
                                            Wise, Gayner, 2328-2338, 1992-09,
                                            0.31miles

Yellow Butte ARU #1 detections 4/28/2022           Recording in ARU_B&G le
YEB-1      SURV
           Male two 3-notes at:              21hr 15min 15 sec
                                             Wise, walk-in 2021-2100 to 1992-07,
                                             0.19 mile (qualier)
           Male four 3-notes at:             00hr 00min 42sec
           Male four 3-notes at:             00hr 01min 00sec
           Male four 3-notes at:             00hr 01min 28sec
                                             Wise, Gayner, 2357-0007, 1992-10, 0.39
                                             miles
                                             Wise, Gayner, entire survey: 1900-0022

Yellow Butte ARU #4 detection 7/1/2022 (6/30 survey)
YEB-4      SURV                              Wise, 4659-02, 0007-0017, 1.31miles
           Male one 3-notes at:              00hr 10min 35 sec (slightly farther)
           Male two 3-notes at:              00hr 10min 52 sec, 11min 09sec
                                             (closer)
           Whistle at:                       00hr 09min 57sec (possibly more
                                             throughout, VERY faint)
                                             Question(s): the direction of the
                                             callbox? Wise has a giddy-up in her last
                                             note
                                             Any more surrounding vocalizations?




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Yellow Butte ARU #2 detection 7/12/2022
YEB-2       STOC or SURV                        Wise, 2252-2302, 4682-04, 1.5miles
            Male three 3-notes at:              22hr 55min 44sec
                                                (one distant and two closer)


Yellow Creek ARU #2 detection 4/05/2022
YEC-2       STOC
            Male 3-note:                      20hr 17min 36sec (sound-distance?)
            Male 3-note to two series to two 4-note:
                                              20hr 19min 43sec (moderate)

Yellow Creek ARU #1 detection 4/06/2022
YEC-1       STOC
            Male two 3-notes:                   23hr 09min 51sec, 10min 19sec
                                                Hoots have a strange echo eﬀect


Yellow Creek ARU #1 detections 4/14/2022
YEC-1       SURV                                Bright, 2222-2232, 0391-02, 0.86mi
            Whistle:                            22hr 23min 27sec
            Male two ¾-notes:                   22hr 24min 17sec
            Male 3-note:                        22hr 24min 29sec
            Male three-note:                    22hr 24min 53sec
            Whistle:                            22hr 25min 00sec
            Three whistles:                     22hr 27min 26sec (overall windy)

Yellow Creek ARU #1 detection 7/06-07/2022
YEC-1       SURV                                Whitt, 0035-0045, 1972-04, 0.73 miles
            Male four 3-notes:                  00hr 38min 33sec (moving farther
                                                away)

Yellow Creek ARU #1 detection 7/13/2022
YEC-1       SURV                                1804-03, 2127-2137, 1.09miles
            BUVI present:                       21hr 29min 38sec
            Male one distant 4-note:            21hr 30min 29sec

Table 1. Summary of ARU detections in 2022
 STOC presence ARU station location      M, F, Juvenile        Date, time
 Yes              Yellow Creek sta. 2    M                     4/05/22, 20:17
 Yes              Yellow Creek sta. 1    M                     4/06/23, 23:09




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Doe Creek ARU #7 detection 6/14/2023
DOC-7       STOC, juvenile and STVA
            STVA before and after STOC recording
            Male two 4-notes to two series:          20hr 41min 14sec
            Male 4-note                              20hr 42min 08sec
            Male four 4-notes with overlapping
                  juvenile calls plus two notes:     20hr 45min 13sec
            Female single high hoot?                 20hr 45min 13sec
            STVA inspection and faint 8-notes:       20hr 50min 22sec
            Male rst three notes, then two 4-notes: 20hr 52min 00sec
            Male one 4-note:                         20hr 52min 23sec
            STVA/STOC:                               20hr 52min 59sec
                  (Indistinct calls afterwards)
            STVA 8-note, caterwauling,
                  and juvenile calling:              20hr 55min 37sec

Yellow Butte ARU #4 detection 5/10/2023
YEB-4       STOC
            Male one 4-note:                          04hr 20min 00sec


Yellow Butte ARU #4 detection 5/22/2023
YEB-4       STOC
            Female three 3-notes:                     23hr 32min 58sec
                                                      23hr 33min 16sec, 32sec
            Barks:                                    23hr 36min 36sec

Yellow Creek ARU #3 detection 7/27/2023
            SURV                       Mowdy, HM, 1972-06, 2246-2256, 0.6 miles
            Male four 3-note:                     22hr 48min 50sec

Yellow Creek ARU #3 detection 8/03/2023
            STOC                                Mowdy, 1980-13, 2133-2143, 3.8 miles
            Male one 3-note:                        22hr 23min 40sec

Table 2. Summary of ARU detections in 2023
 STOC presence ARU station location      M, F, Juvenile        Date, time
 Yes              Doe Creek sta. 7       M, F, Juv             6/14/23, 20:41
 Yes              Yellow Butte sta. 4    M                     5/10/23, 04:20
 Yes              Yellow Butte sta. 4    F                     5/22/23, 23:32
 Yes              Yellow Creek sta. 3    M                     8/03/23, 22:23



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                                                                                                                     ARU #1
                                    # of ARUs
       Site          Hexagon ID       (n = 23/5
                                    hex+3floaters)                Date
                                                     Surveyor               Station #              ARU ID               UTMx
                                                                deployed
Blue & Gold
Doe Creek              18828              4          Reeder     05/04/23      DOC 6          SM Mini 14 (SMA05363)     467065
Upper Yellow Creek     18733              4          ER&LKC     06/13/23      UYC-1            SM4 #4 (S4A16577)       465967
Yellow Butte          18829               4           Wise      05/03/23      YEB 3         SM Mini 10 (SMA05394)      468973
Yellow Creek           18732              4            LKC      06/29/23      YEC 1         SM mini #16 (SMA05357)     463689
Yellow Trib           18734
Lower Yellow Creek    Multiple            4            LKC      07/18/23      LYC 1         SM mini #3 (SMA04809)      463799




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                                                                                                ARU #2


                                                 Date
UTMy         Notes                 Surveyor                Station #          ARU ID               UTMx
                                               deployed

4820945                            Reeder       5/4/23      DOC 7        Mini #16 (SMA05357)      467618
4817608    SD card SS              ER&LKC       6/13/23     UYC-2         SM4 #7 (S4A20179)       466991
4822194                             Wise        5/3/23      YEB 2      SM mini #11 (SMA05334)     468683
4818885   SD card WW                 LKC        6/28/23     YEC 2       SM mini #6 (SMA05358)     464230

4816738    SD card TT                LKC        7/18/23      LYC 2     SM mini #10 (SMA05394)     463003




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                                                                                                          ARU #3


                                                         Date
UTMy                 Notes                 Surveyor                Station #          ARU ID           UTMx        UTMy
                                                       deployed

4820713                                    Reeder       6/15/23     DOC 3       Mini #15 (SMA05269)    466755      4820257
4816837            SD card VV              ER&LKC       6/13/23     UYC-3        SM4 #3 (S4A16574)     467342      4817690
4821004                                    Reeder       5/4/23      YEB 4       Mini #3 (SMA04809)     469939      4821923
4818239   SD card EE (unit was finicky)      LKC        6/27/23     YEC 3      SM mini#11 (SMA05334)   465185      4818355

4816175           SD card UU                 LKC        7/20/23      LYC 3     SM mini #8 (SMA05328)   463817      4816510




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                                                                                                           ARU #4


                                                             Date
                 Notes                        Surveyor                Station #          ARU ID                UTMx     UTMy
                                                           deployed

ARU deployed 5/3 not ON; switched on 6/15          Wind      5/3/23     DOC 5     SM Mini #17 (SMA05351)       466423   4819191
               SD card Q                          ER&LKC    6/13/23     UYC-4        SM4 #2 (S4A13403)         467753   4818309
               SD card O                           Wind      5/4/23     YEB 1      SM Mini #4 (SMA04710)       468365   4820565
               SD card XX                           LKC     6/27/23     YEC 4     SM mini #14 (SMA05363)       465740   4818801

               SD card ZZ                          LKC      7/18/23     LCY 4     SM mini #17 (SMA05352)       465070   4817533




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                                          Date
 Notes                 Surveyor                     Station #            ARU ID
                                        Retrieved

                           ER            6/15/23     DOC 6        SM mini #14 (SM05363)
                    LKC, LS, BG, L, A    7/25/23     UYC-4          SM4 #2 (S4A13403)
                           ER            6/14/23     YEB 1        SMmini#4, (SMA04710)
                          LKC            8/17/23     YEC-1        Smmini#16 (SMA05357)

SD card P                 LKC            9/12/23      LYC-1       SM mini #3 (SMA04809)




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              ARU #1


                                                                                                                             Date
      Date_time of recording            UTMx          UTMy                         Notes                      Surveyor                   Station #
                                                                                                                           Retrieved

05/03/2023, 191700-6/15/2023, 225602                                      Rec'd in office 6/16, SD card RR,        ER         6/15/23     DOC 7
 06/13/23, 200000-07/26/23, 063002      467753          4818309           Rec'd in office 7/25, SD card "U"       LKC         7/26/23     UYC-3
05/04/2023, 191800-6/14/2023, 205402                                                                              ER
                                       Rec'd in office 6/15, SD card PP; changed file names to "BLM_YEB13-1_" on working drive 7/03/23    YEB 2
     06/29, 195900-8/14,222250          463689         4818885           Rec'd in office, 8/17, SD card WW        LKC         8/9/23      YEC-2

  7/15/23, 195100-9/02/23, 215150       463799       4816738           Rec'd in office 9/12, SD card TT          LKC         9/12/23       LYC-2




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                                          ARU #2


        ARU ID                    Date_time of recording         UTMx       UTMy                             Notes


 SM mini #16 (SMA05357)     05/03/2023, 192237-06/15/2023, 195600                                Rec'd in office 6/16, SD card L
    SM4 #3 (S4A16574)        06/13/2023, 200000-07/26/23, 063002 467333    4817679             Rec'd in office 7/26, SD card "Q"
SM Mini #11?? (SMA05334)                                                                   Rec'd in office 6/16, SD card T? (ER verify)
  SM mini #6 (SMA05358)           6/28, 195900-8/10,071302       464230    4818239               Rec'd in office 8/9, SD card EE

SM mini #10 (SMA05394)         7/18/20, 195000-9/02/23, 195150   463003    4816175              Rec'd in office 9/12, SD card UU




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                                                                    ARU #3


             Date
Surveyor               Station #          ARU ID             Date_time of recording       UTMx       UTMy
           Retrieved

  LKC       8/1/23      DOE-3      SM mini #15 (SMA05269) 6/15/23, 220231-08/01/23,070402 466755    4820257
  LKC       7/25/23     UYC-1         SM4 #4 (S4A16577) 06/13/2023, 200000-07/26/23, 063002465993   4817591
  LKC       7/6/23      YEB-4       SM mini #3 (SMA04809) 5/04/23 20013 - 6/16/2023 231822 469939   4821923
  LKC       8/9/23      YEC-3      SM mini #11 (SMA05334)    6/27, 195900-8/10, 061302     465185   4818355

  LKC       9/12/23      LYC-3     SM mini #8 (SMA05328) 7/20/23, 194900-9/04/23, 214750 463817     4816510




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                                                                                                                                 ARU #4


                                                         Date
                   Notes                    Surveyor               Station #           ARU ID                  Date_time of recording
                                                       Retrieved

       SD card "OO" rec'd in office 8/01        LKC     6/27/23     DOC-5      SM mini #17 (SMA05352)   05/03/2023, 191700-06/18/2023, 225950
       Rec'd in office 7/26, SD card "SS"       LKC     7/26/23     UYC-2        SM4 #7 (S4A20179)       06/13/2023, 200000-07/26/23, 063002
Rec'd in office 7/6, SD card O, backed on BIGhd LKC     7/10/23     YEB-3      SM mini#10 (SMA05394)     5/03/2023 191700-6/18/2023 225950
         Rec'd in office 8/9, SD card XX        LKC      8/9/23     YEC-4      SM mini#14 (SMA05363)    06/23/2023, 195900-08/09/2023, 071202

         Date rec'd 9/12, SD card ZZ           LKC      9/12/23      LYC-4      Smmini #17 (SMA05352)      7/18/23, 195000-9/2/23, 215150




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UTMx     UTMy                               Notes


466435   4819207   TYPO of last digit on ARU ID differs from deployment info
466983   4816834               Rec'd in office 7/26, SD card "VV"
468973   4822194               Rec'd in office 7/10/23, SD card Z
463689   4818885               Rec'd in office 8/17, SD card WW

465070   4817533                Rec'd in office 9/12, SD card P




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                                          Comments


Meet ARU Protocol - deploy for 6wks = two deployments per site/hexagon for 3-4 wks




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    Label               Site         Hexagon ID         Station #    UTMx    UTMy
YEC 1          Yellow Creek            18732               1        463715   4818895
YEC 2          Yellow Creek            18732               2        464209   4818224
YEC 3          Yellow Creek            18732               3        465221   4818336
YEC 4          Yellow Creek            18732               4        465795   4818858
UYC 1          Upper Yellow Creek      18733               1        465993   4817591
UYC 2          Upper Yellow Creek      18733               2        466983   4816834
UYC 3          Upper Yellow Creek      18733               3        467333   4817679
UYC 4          Upper Yellow Creek      18733               4        467753   4818309
YET 1          Yellow Trib             18734               1        468962   4818995
YET 2          Yellow Trib             18734               2        469265   4819690
YET 3          Yellow Trib             18734               3        469619   4819350
YET 4          Yellow Trib             18734               4        470214   4818710
DOC 3          Doe Creek               18828               3        466732   4820274
DOC 5          Doe Creek               18828               5        466438   4819206
DOC 6          Doe Creek               18828               6        467065   4820945
DOC 7          Doe Creek               18828               7        467626   4820705
YEB 1          Yellow Butte            18829               1        468366   4820562
YEB 2          Yellow Butte            18829               2        468683   4821004
YEB 3          Yellow Butte            18829               3        468973   4822194
YEB 4          Yellow Butte            18829               4        469939   4821925
LYC 1          Lower Yellow Creek      18731               1        462731   4816627
LYC 2          Lower Yellow Creek      18636               2        463010   4816158
LYC 3          Lower Yellow Creek      18637               3        463811   4816503
LYC 4          Lower Yellow Creek      18637               4        465063   4817530




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                                                                                                       Swiftwater Field Office - 2023 ARU Tra
                                                                            Survey Deployment Months                    # of ARUs
        Site         Hexagon ID   Priority                                                                                (n = 23/5
                                                                                                                        hex+3floaters)
                                                  March            April         May        June       July    August
Blue & Gold                                  Start March 1st

Doe Creek              18828         1                                                                                        4
Upper Yellow Creek     18733         1                                                                                        4
Yellow Butte           18829         1                                                                                        4
Yellow Creek           18732         1                                                                                        4
Yellow Trib            18734         1                                                                                        4
Lower Yellow Creek                                                                                                            3




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- 2023 ARU Tracking Chart for NSO Surveys
                       Date                                     Date
    Date of 1st   Maintenance     Date of 1st   Date of 2nd Maintenance    Date of 2nd
    Deployment    (battery & SD    Retrieval    Deployment (battery & SD    Retrieval
                   card change)                             card change)


     5/3/2023                     6/15/2023
    6/13/2023
     5/3/2023                     6/14/2023
      6/27-29


    6/18/2023




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                                                  Comments


Meet ARU Protocol - deploy for 6wks = two deployments per site/hexagon for 3-4 wks
DOC-3 switched ON 6/15




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2022-2023 Survey and STOC recordings
All times mark the beginning of the individuals ‘grouped’ vocalizations unless noted
See Table 1 and 2 for ARU detection summaries in 2022 and 2023
 LOCATION SURV OR STOC                          SURVEYOR STATION, HH RR,
               DETERMINATION                    MILES FROM ARU

 SITE-LOC    SPECIES VOCALIZATION                  HH MM SS                  DATE
Upper Yellow Creek ARU #1 & 3 detections 3/16/2022
UYC-1                                                                       03/16/2022

UYC-1        BUVI at:                          19hr 31min 49sec
             Male 4-note at:                   20hr 56min 00sec
             Male two series to a 2-note at: 20hr 56min 11sec
             Male one 4-note at:               20hr 56min 36sec
             Male three irregular call/series?
                 to a 2-note at:               20hr 56min 36sec
             Reeder, 1924-12, 2057-2108, 1.07miles

 DATE     SIT-      VOC
          LOC


            STOC/SURV SURVEYOR STATION TIME HH MM MILES QUALIFIER
             SURV         REEDER       1924-12 2057-2108 1.07MI UNK
NOTES:       Was he playing the recording?

UYC-1        SURV                                 Keller, 1924-04, 2107-2117,
                                                  questionable, 1.72miles, also not
                                                  picked up at UYC-3 which is closer.
             Male one 4-note at:                  21hr 01min 12sec
             Male two series at:                  21hr 01min 20sec
             Male one 4-note at:                  21hr 01min 46sec
             Female four ¾-notes at:              21hr 03min 22sec
             Male three ¾-notes                   21hr 04min 08sec
             STVA 8-note at:                      21hr 04min 43sec
             Seven whistles + 4 barks at:         21hr 05min 49sec

UYC-3        walk-in SURV                         Reeder, 1924-12, 1.22miles
                                                  Bright, 1992-06, 1920-1930, 1.39miles
             BUVI at:                             19hr 19min 09sec
             ER one 4-note at:                    19hr 21min 30sec



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               ER 4-note at:                     20hr 00min 59sec
               ER two 4-notes at:                20hr 03min 17sec, 40sec
               ER random hoots:                  20hr 05min 58sec
               ER 4-note:                        20hr 07min 38sec
        Reeder hikes to station 1924-12 (no times recorded but from Kellers start time at
        station 1924-08 at 2005, assume she drops Reeder oﬀ at 1800/1830 (see DOC-5)
        1900 and he starts hooting on his way in. Survey at station 1924-12 is from
        2057-2108. Reeder walks from 1924-12 to 1804-02, presumably does NOT call
        post survey from 2108 to 2156. Surveys 1804-02 from 2156-2206, hears whistles
        (repeated six times), estimates detection point at: 10 N 465613 4818859 from
        station 1804-02 (azimuth of 171degrees at ~100m), hikes into stand crashes
        and “left stand” at 2236. UYC-3 to 1804-02 is 0.91miles. Keller surveys station
        1924-06 from 2158-2208. Distance from 1924-06 Keller to 1804-02 Reeder is
        1.07miles. He could have heard the seven whistles in the recording of Kellers
        survey. Was there a radio check-in?

UYC-3         SURV                                  Keller 1924-03, 21:28-21:38, 0.49 miles
              Female four 3-notes at:               21hr 33min 11sec
              7 whistles and 6 barks at:            21hr 35min 38sec
                           Ends at:                 21hr 36min 32sec

UYC-3         SURV                                  Keller, 1924-06, 21:58-22:08, 0.73 miles
              Female four 3-notes at:               22hr 06min 03sec
              7 whistles at:                        22hr 08min 30sec
              5 barks (very faint) ends at:         22hr 09min 23sec


UYC-4         walk-in SURV                    Reeder walk-in to 1924-12, 1.12miles
              ER one 4-note at:               19hr 21min 26sec
              (Document faint, moderate, close “qualier”)

Doe Creek ARU #5 detections (ARU deployed 3/3/2022) 3/16/2022
DOC-5         walk-in SURV                          Reeder walk-in detected by UYC-3 & -4
                                                    1921 and 2000 hour, no data card
              ER two 4-notes at:                    18hr 33min 01sec**
              ER one 4-note at:                     18hr 34min 31sec
              ER one 4-notes at:                    18hr 35min 56sec
              ER one 4-note at:                     18hr 37min 08sec
              ER one 4-note at:                     18hr 43min 13sec
              ER two 4-notes at:                    18hr 46min 51sec




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Yellow Trib ARU #3 detections 3/16/2022
YET-3      walk-in SURV                      Keller, 1992-07, (1730-1930), 0.95mi
           Female four 3-notes at:           18hr 29min 26sec


Yellow Butte ARU #1 detections 4/27/2022
YEB-1      SURV                              Wise, Gayner, entire survey: 1900-0022
                                             Wise, Gayner, 2050-2100, 1992-04,
                                             0.73miles
           Male two 3-notes at:              20hr 50min 27sec, 50min 44sec
           Female? four 3-notes at:          20hr 52min 58sec, 53min 15sec, 31sec,
                                             44sec (mod-faint vocalizations)


Cont’d Yellow Butte ARU #1 detections 4/27/2022
YEB-1      SURV                       Wise, Gayner, 2111-2121, 1992-03, 0.72 miles
                                            Wise, Gayner, entire survey: 1900-0022
           Male three 3-notes at:           21hr 15min 28sec
YEB-1      SURV                             Wise, 2131-2150, “1992-??” between -3
                                            and -5 is -12, 0.74miles
                                            Male two 3-notes and two series to 3
                                            notes at:
                                            21hr 41min 09sec, 15sec, 23sec, 39sec,
           Male two 3-notes at:             21hr 49min 48sec, 54sec
YEB-1      SURV                             Wise, Gayner, 2328-2338, 1992-09,
                                            0.31miles
           Male six 3-notes plus one 3-note at:
                                            23hr 28min 26sec, 23hr 29min 46sec
                                            (faint)
           Male four 3-notes at:            23hr 31min 33sec (getting closer)

Yellow Butte ARU #1 detections 4/28/2022           Recording in ARU_B&G le
YEB-1      SURV                              Wise, walk-in 2021-2100 to 1992-07,
                                             0.19 mile (qualier)

           SURV                              Wise, 2115-2125, 1924-14
           Male two 3-notes at:              21hr 15min 15 sec

           SURV                              Wise, Gayner, 2357-0007, 1992-10, 0.39
                                             Miles
           Male four 3-notes at:             00hr 00min 42sec
           Male four 3-notes at:             00hr 01min 00sec



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           Male four 3-notes at:               00hr 01min 28sec



Yellow Butte ARU #4 detection 7/1/2022 (6/30 survey)
YEB-4      SURV                                Wise, 4659-02, 0007-0017, 1.31miles
           Whistle at:                         00hr 09min 57sec (possibly more
                                               throughout, VERY faint)
           Male one 3-notes at:                00hr 10min 35 sec (slightly farther)
           Male two 3-notes at:                00hr 10min 52 sec, 11min 09sec
                                               (closer)
                                               Question(s): the direction of the
                                               callbox? Wise has a giddy-up in her last
                                               note
                                               Any more surrounding vocalizations?



Yellow Butte ARU #2 detection 7/12/2022
YEB-2      STOC or SURV                        Wise, 2252-2302, 4682-04, 1.5miles
           Male three 3-notes at:              22hr 55min 44sec
                                               (one distant and two closer)


Yellow Creek ARU #2 detection 4/05/2022
YEC-2      STOC
           Male 3-note:                      20hr 17min 36sec (sound-distance?)
           Male 3-note to two series to two 4-note:
                                             20hr 19min 43sec (moderate)

Yellow Creek ARU #1 detection 4/06/2022
YEC-1      STOC
           Male two 3-notes:                   23hr 09min 51sec, 10min 19sec
                                               Hoots have a strange echo eﬀect


Yellow Creek ARU #1 detections 4/14/2022
YEC-1      SURV                                Bright, 2222-2232, 0391-02, 0.86mi
           Whistle:                            22hr 23min 27sec
           Male two ¾-notes:                   22hr 24min 17sec
           Male 3-note:                        22hr 24min 29sec
           Male three-note:                    22hr 24min 53sec
           Whistle:                            22hr 25min 00sec
           Three whistles:                     22hr 27min 26sec (overall windy)



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Yellow Creek ARU #1 detection 7/06-07/2022
YEC-1       SURV                              Whitt, 0035-0045, 1972-04, 0.73 miles
            Male four 3-notes:                00hr 38min 33sec (moving farther
                                              away)

Yellow Creek ARU #1 detection 7/13/2022
YEC-1       SURV                              Wise, 1804-03, 2127-2137, 1.09miles
            BUVI present:                     21hr 29min 38sec
            Male one distant 4-note:          21hr 30min 29sec

Table 1. Summary of ARU detections in 2022
 STOC presence ARU station location      M, F, Juvenile      Date, time
 Yes              Yellow Creek sta. 2    M                   4/05/22, 20:17
 Yes              Yellow Creek sta. 1    M                   4/06/23, 23:09



Doe Creek ARU #7 detection 6/14/2023
DOC-7       SURV                                Reeder, 1992-07, 2136-2147, 0.47miles
            STVA before and after STOC recording
            Male two 4-notes to two series:          21hr 41min 14sec, 27sec, 39 sec,
                                                     50 sec
            Male 4-note                              21hr 42min 02sec
            Male four 4-notes with overlapping
                  juvenile calls plus two notes:     21hr 45min 13sec
            Female single high hoot?                 21hr 42min 06sec
            STVA inspection and faint 8-notes:       21hr 46min 24sec
            Male rst three notes, then two 4-notes: 21hr 46min 40sec
            Male one 4-note:                         21hr 47min 58sec
            STVA/STOC:                               21hr 47min 12sec
                  (Indistinct calls afterwards)
            STVA 8-note, caterwauling,
                  and juvenile calling:              21hr 55min 37sec


Upper Yellow Creek ARU #3 detection 6/15/2023
UYC-3       SURV                                    Reeder, 1992-13, 2232-
                                                    2243, 1.4 mile
            Male two 4-notes:                       22hr 35min 08sec, 18sec, 30sec
            Male two 4-note and two series:         22hr 37min 42sec
            Male 4-note:                            22hr 39min 02sec



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            Female four 3/4-notes (distant):          22hr 41min 08sec

UYC-3       SURV                                      Bankert, 1992-05, 2308-2318,
                                                      miles? Also notes windy
                                                      conditions
            Female three 4-notes (distant):           23hr 07min 42sec


LEFT OFF HERE 5 MARCH 1330
Yellow Butte ARU #4 detection 5/10/2023
YEB-4       STOC
            Male one 4-note:                          04hr 20min 00sec


Yellow Butte ARU #4 detection 5/22/2023
YEB-4       STOC
            Female three 3-notes:                     23hr 32min 58sec
                                                      23hr 33min 16sec, 32sec
            Barks:                                    23hr 36min 36sec

Yellow Creek ARU #3 detection 7/27/2023
            SURV                       Mowdy, HM, 1972-06, 2246-2256, 0.6 miles
            Male four 3-note:                     22hr 48min 50sec

Yellow Creek ARU #3 detection 8/03/2023
            STOC/SURV1?                         Mowdy, 1980-13, 2133-2143, 3.8 miles
            Male one 3-note:                        22hr 23min 40sec

Table 2. Summary of ARU detections in 2023
 STOC presence ARU station location      M, F, Juvenile        Date, time
 Yes              Yellow Butte sta. 4    M                     5/10/23, 04:20
 Yes              Yellow Butte sta. 4    F??                   5/22/23, 23:32
 Yes              Yellow Creek sta. 3    M                     8/03/23, 22:23




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ARU ID                     non-survey vocalization (Y/N)              Unique script
**daylight savings time (add an hour) takes place ?? March 2022 and IS NOT accounted for on the SM4's unless you change the location upon deployment
DOC-3                      N                                         SURV1 3/15 at 2000 TONE, 2100 TONE recordings contain WHIS, BARK and TONE only
DOC-5                      N                                         walk-in SURV1
                           N (map)                                   Suspect SURV1
                           N                                         SURV1
                           N (map)                                   SURV1 plus TONE
DOC-6                      N                                         SURV1 3/15/22 at 2029 TONE, ARU tracking sheet states "Battery, SD card maintenance" on 3/15; 3/1
DOC-7                      N                                         three very indistinct four-note calls, male
DOC-8 (coordinates?)       N                                         SURV1 Female 4 three-notes
                           N                                         SURV1 four three-notes, female
                           N                                         SURV1
YEB-1                      Maybe (map)                               SSS-2 juvenile Am. Goshawk, no survey at 2000, two three-note male
                           N                                         slide 8/11, two three-note to two-series calls male
                           N                                         slide 5&6/11 7x three-notes male, plus 4x three-notes female
                           N                                         SURV1 4 three-notes male; STRANGE call with slight variation Wise survey
                           N                                         SURV1 4 three-notes female
                           N                                         walk-in Survey, one distant three-note, male, with echo; possible survey 4 minutes earlier than call-ba
YEB-2                      N                                         SURV+WALK-IN; 4 three-notes, faint develops into closer four-notes and WHIS and BARKS, Wise and W
                           Yes (map)                                 Two three-notes female
                           N (map)                                   SURV1+TONE+COREWALK
                           N                                         SURV1+walk-in
                           N                                         sounds like a SURV1, distant single 3 three-notes
YEB-3                      N                                         NONE
YEB-4                      Maybe (map)                               SURV1 Very faint four 3 three-notes, WHIS SLIDE 3/11 at 09:57 (TOPO ANALYSIS)
                           N                                         SURV1 multiple faint 3/4-notes CALLS, MALE, one four note was spaced out suspiciously; with WHIS S
YEC-1                      YES                                       4 three-note male, faint
                           N                                         SURV1 4 three-notes with one WHIS; sounds like a recording look at Kaliedoscope, 1.43 mi from Yello
                           YES (map)                                 4 three-notes (female, Liz confirm) (needs topographical analysis 1803-07 to YEC1; 1.35 miles)
                           Y?                                        distant four-note?, male
YEC-2                      YES                                       five four-note distant, male
YEC-3                      N                                         NONE, STVA, STVA_IRREG, INSP
YEC-4                      N                                         VERY AUDIBLE SURV1, four-notes, three-notes, series, WHIS, plust TONE
                           N                                         SURV1 four three-notes


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UYC-1   N                              SURV1 4 three-notes with WHIS's
UYC-1   N (map)                        SURV1 4 three-notes very faint almost lost two middle notes
UYC-1
UYC-1   N                              three-notes plus WHIS
UYC-1   N                              two-middle notes only (Liz review; need more vocalizations, dog? Looks like a COCO/raven see slide 1
UYC-1   Yes                            three 3-note female, followed by a single three-note male
UYC-1   Yes                            three-note male
UYC-2   N                              SURV1
UYC-3   N (map)                        SURV1 Wise/Whitt 3/16 survey start 1850-2127, AND Keller at sta 1992-07 walk-in 1730-1930, AND B
UYC-3   N                              SURV1
UYC-3   Yes (map)                      SURV1 distant female 4 three-notes; male 4 note at 21:01
UYC-3   N                              SURV1 4 three-notes, with WHIS, BARKs, slide 1/6 three-notes, WHIS, BARKs, slide 2/6 ER crashing thr
UYC-3   N                              SURV1, distant three-notes
UYC-3   N                              SURV1, distant 3-notes
UYC-3   N                              SURV1 Female 4 three-note
UYC-3
UYC-4   N                              SURV1 cadence of notes sounds like a surveyor
YET-1   N                              SURV 4x three-notes
        N                              SURV (male and female 3/4 note hoots)
        Y                              STOC faint first note and audible two-middle notes, distant overall
YET-2   N (map)                        DOE SURV, four distant three-note calls, male
        N (map)
        N (map)                        5 three and four-note calls, distant with echo
        N                              indistinct hoot--Liz review
YET-3   N                              SURV1
        N                              SURV1
                                       indistinct hoot--Liz review
        N                              SURV
                                       strange mammal_hoot?




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    Date and time of detection               Miles from ARU to sta.               Surveys performed that date, surveyor
                                                                                                                     Start and end survey time
oyment
   3/15 2000,2100                                                                Doe Creek C. Bright 3/15 at 2000 TONE, 2100 TONE SURV1 recordings contain WHIS, BARK and
   3/16 1800,1900,1936,2036                 0.5 miles                            Yellow Butte Bright partial corewalk            1807-2018
   5/24 2100                                1.36 mi from DOE5 to 1992-07 YellowYellow
                                                                                   Butte Butte sta 1992-07 survey time 2041-2051 2051-2109
   5/24 at 2200                             1.43 DOE-5 to 1924-14 UYC            Upper yellow Creek                              2202-2212
   5/24 at 2300                             1.57 mi DOE-5 to 1924-03             Upper yellow Creek                              2259-2309
   3/15, 3/16 at 1800                                                            SURV1 3/15/22 AT 2029 WITH TONE; ARU tracking sheet states "Battery, SD card maintenance
   5/24 at 0000 (survey 5/23 past midnight)                                      possibly 5/24 Upper Yellow Creek sta 1924-10 2352-0002;
                                                                                                                                 2353-0003 Upper Martin Creek (info to follow)
   3/16 at 1800                                                                  Yellow Butte Bright partial corewalk
   5/24 at 2000                                                                  Yellow Butte 5/24                               2020-2109
   5/25 at 2300                                                                  Yellow Butte 5/25 (data follows)                2247-2300
   4/27 at 2000                             1.06 mi to coordinates; YEB1 to 1992-06
                                                                                 Yellow
                                                                                      is 0.84mi
                                                                                          Butte 4/27                             1900-2000 walk-in to station
   4/27 at 2100                             0.74 mi                              Yellow Butte 4/27                               2050-2100
   4/27 at 2300                             0.54mi                               Yellow Butte 4/27                               2257-2307
   4/28 at 0000 (4/27 survey past midnight)0.39 mi                               Yellow Butte 4/27                               2357-0007
   4/28 at 2000 (slide 8/11)                0.19mi                               Yellow Butte 4/28                               2021-2100
   4/28 at 2100 (slide 3/11)                0.19mi                               Yellow Butte 4/28                               2021-2100
   6/22 at 2300                                                                  6/22 at 2300, Doe Creek sta 1804-13 2302-2312;  2302-2312
                                                                                                                                    Yellow Butte walk-in started at 1956-2234 sta
   7/12 at 2200 (slide 10/11 at 22:56)      1.50mi                               Marsh Trib                                      2252-2302
   7/13 at 2300 (slide 9/11)                YEB2 to Yellow Butte 1992-09 at 0.07mi
                                                                                 Yellow Butte                                    2259-2309
   7/14 at 0000 (survey 7/13 past midnight)0.08miles
                                             slide 1/11                          (see Yellow Butte) Upper Yellow Creek           2346-0028
   7/14 at 0100 (survey 7/13 past midnight).41
                                             slide
                                                mi10/11
                                                    from YEB2 to Yellow Butte station
                                                                                 Yellow1992-02;
                                                                                          Butte 7/13
                                                                                                 1.85 mi from YEB2 to UYC 1924-12;
                                                                                                                                 0039-0049
                                                                                                                                    1.44 mi Doe creek -01,-11 to YEB2
   NA
   7/01 at 0000 slide 2/11 00:10 (see 6/30 Thursday)
                                            1.29 miles 1916-07 to YEB4 OR 1.30 miles
                                                                                 See Yellow
                                                                                        to 4659-02
                                                                                              Trib 1.30 miles 4659-02 0007-0017, Balckberry Canyon 1916-07 0005-0015
   7/06 at 2100                             0.36 from YEB4 to Rice Flat 1987-07 RICE FLAT survey 7/06 C. Bright; North Martin, J.2100-2111
                                                                                                                                   Whitt 2057-2107 at sta 4661-08; North Saddle
   4/06 at 2300, 09:51 slide 2/11
   4/14 at 2200                             0.86 miles from Yec1 to 0391-02 survey
                                                                                 Yellow
                                                                                      timeCreek
                                                                                            2222-2232;
                                                                                                4/14 1.43 mi from Yect1 to 0391-01
                                                                                                                                 2147-2158, 2202-2213
   7/07 at 0000 (look at 7/6 for surveys) 00:38
                                            2.65slide
                                                  from4/6                        Upper
                                                       Yec-1 to 2051-03 (Brush Head       Martin4.01
                                                                                      Waters);   Creek  1803-07,
                                                                                                     miles  Yec-10005-0015,
                                                                                                                 to 1987-07 1.35 miles
                                                                                                                            Rice Flat;
                                                                                                                                 (see 4.8
                                                                                                                                       upper
                                                                                                                                          miles
                                                                                                                                             martin)
                                                                                                                                                from 2347-2357,
                                                                                                                                                     YEC1 to Flagler
                                                                                                                                                                 0001-0011
                                                                                                                                                                     Creek
   7/13 at 2100 30:29 slide 3/6             1.09 mi Yec-1 to 1804-03             Doe Creek, Wise                                 2054-2104
   4/05 at 20:17                                                                 None
   NA                                                                            None
   7/14 at 0000 (7/13 survey midnight)                                           Yellow Butte (measure distance)                 2352-0002
   7/14 at 0100 (7/13 survey midnight)      .76 mi YEC4 to 1924-10               Doe Creek 7/13 sta 1924-10 0055-0105            0055-0105


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6/24 at 0000 (6/23 midnight survey)      .2 miles                           Upper Yellow Creek                                 2357-0007
6/23 at 2300 (slide 1/11)                0.60 miles from UYC1 to 1924-10    UPPER YELLOW CREEK, WHITT                          2300-2310
                                                                            YELLOW CREEK, WISE/WHITT                           2256-2306
6/23 at 2100                              1.08 UCY1 to 1924-12              UPPER YELLOW CREEK, WISE                           2100-2110
3/26 at 1900                                                                X
3/16 at 2100 (21:01 slide 1/11)           2.76 miles                        YELLOW BUTTE, WISE/WHITT                           2052-2102
3/16 at 2000 (20:56 slide 10/11)                                            YELLOW BUTTE, WISE/WHITT                           2052-2102
3/16 at 2000                              2.9 miles                         YELLOW BUTTE, WISE/WHITT                           1959-2012
3/16 at 1900 (slide 2/6 19:21)            UYC3 to 1992-06 1.36mi; UYC3 to 1992-04
                                                                            Yellow1.62mi
                                                                                   Butte, Keller walk-in                       1730-1930
3/16 at 2000                                                                YELLOW BUTTE, WISE/WHITT                           1959-2012
3/16 at 2100 (M slide 1/6); 2133 (slide 3/6)
                                          2.40mi UYC3 to 1992-01; 2.47 mi UYC3
                                                                            YELLOW
                                                                               to 1992-05
                                                                                     BUTTE, WISE/WHITT                         2052-2102
3/16 at 2200                              1.3 miles in-line across drainage Upper Yellow Creek                                 2156-2206
6/23 at 2100                              1.0 miles in-line across drainage UPPER YELLOW, WISE                                 2100-2110
6/23 at 2200                              0.9 miles                         DOE CREEK, WISE                                    2158-2208
6/23 at 2300                              0.6 miles                         UPPER YELLOW CREEK, WHITT                          2300-2310
                                          1.5 miles in-line across drainage YELLOW CREEK, WISE/WHITT                           2256-2306
3/16 at 1900                              1.7 and 1.8 miles                 YELLOW BUTTE, WISE/WHITT                           1850-2028
7/14 (see 7/13 survey) at 0100 (slide 9/11 01:52)
7/14 (see 7/13 survey) at 0200 (slide 3/11 02:14 TONE)
7/28 (see 7/27 survey) at 02:14
8/2 at 23:59 slide 11/11                  2.09 mi                           Doe Creek 8/2                                      2354-0004
8/3 (see survey 8/2) at 00:56             2.29 mi                           Doe Creek 8/3                                      0053-0103
8/3 (see survey 8/2) at 02:00.08          1.89 mi                           Upper Yellow Creek 8/2 or DOE creek 1804-03 0159-0209
                                                                                                                               0140-0240 (2.87 mi)
8/3 2300
3/9 at 1800 (slide 10/11 18:52)           YELLOW TRIB survey WISE 4659-09 (0.16mi);
                                                                            Yellow Trib
                                                                                    06:38-06:51
                                                                                        survey (multiple
                                                                                                 (Vaca records
                                                                                                         surveysinthis
                                                                                                                   thisnight
                                                                                                                        format)
                                                                                                                             in1852-1902
                                                                                                                                this
                                                                                                                                 4682-06
                                                                                                                                     area) (1.20 mi); and 4682-05 (1.91 mi)
3/9 at 1900 (slide 1/11 19:00.31)         0.16 mi                                                                              1852-1902
3/10 at 0400
3/16 at 1800
3/20 at 1700
4/17 at 1900




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     Station number

ngs contain WHIS, BARK and TONE only; possible survey areas are Doe Creek starts at 1929 with corewalk before, 1804-09 sta survey starts 2054-2107, other locations dated 3/1
      on way to 1992-06
      1992-07
      1924-14
      1924-03
attery, SD card maintenance" on 3/15; 3/16 AT 1800 SURV1+ER;
      sta 0803-04

     walk-in to 1992-07
     1992-02
     1992-11"??" record quoted
     1992-04
     1992-01
     1992-10
     1992-07
     1992-07
     1804-13
     4682-04
     1804-07
     1992-09
     1992-02

1916-07 0005-0015
    1987-08

     0391-01, 0391-03
     9069-05,9069-08
     1804-12


     1992-09
     1924-10


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1924-06
1924-10
0391-02
1924-12

1992-01
1992-01
1992-10
1992-07
1992-10
1992-01
1804-02
1924-12
1804-?
1924-10
0391-02
1992-09, 1992-10




1804-11
1804-02
1924-12 (walk-in)

4659-09
4659-09




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Site-Station   Hexagon ID          Validator           QC (Y/N)                     STOC presence


Blue & Gold
DOC-3                                                                  NO
DOC-5                                                                  NO
DOC-6                                                                  NO
DOC-7                                                                  NO
DOC-8                                                                  NO
YEB-1                                                                  unk
YEB-2                                                                  unk
YEB-3                                                                  NONE
YEB-4                                                                  unk
UYC-1                                                                  NO
UYC-2                                                                  NO
UYC-3                                                                  NO
UYC-4                                                                  NO
YEC-1                                                                  NO
YEC-2                        LKC                                       maybe
YEC-3                                                                  None
YEC-4                                                                  No
LYC-1
LYC-2




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                                                                                                                   Date, location and surveyor initials
                                       STOC notes/vocalizations detected
                                                                                                                       of local call-back surveys


3/15 at 2000 TONE, 2100 TONE SURV1 recordings contain WHIS, BARK and TONE only                                       3/15 at 2000 TONE, 2100 TONE SURV1
3/16 ER SURVEY 1800, 1900 (two-middle notes heard, probably ER), 1936, 2036, Doe Creek data card ER 3/16 notes a contact call at 2206 (none of his hooting is heard by AR
SURV1 3/15/22 at 2029 TONE, 3/16 1800; SURV1_ER                                                                      None
SURV1 3/15/22 AT 2029 WITH TONE, 3/16 AT 1800 SURV1+ER; 5/24 at 0000 three very indistinct four-note calls, Upper       Martin Creek stsa 0803-04 2353-0003
                                                                                                                     None
SURV1 3/16/22 AT 1800 WITH NO TONE; SURV1? 5/24 AT 2000 (NO SURVEYS); 5/25 STOC AT 2300, Yellow Butte 1992-02 2247-2300, with STVA (STVA also heard on ARU)
4/27 AT 2000, 2100, 2300, CALL BACK SURVEY YEB 1992-?? (466758, 4819991), 1992-04, 01; 4/28 AT 0000, 2000, STOC? 2100
SURV1 +STOC? +COREWALKS, LOTS OF DISTANCE ON ARU
NONE
SURV1? 7/01, 0000; SURV1 7/06 AT 2100
SURV1 6/24 AT 0000, 6/23 AT 2300, 2100; 3/16 at 2100, 2000
3/16 SURV1 AT 2000, PLUS ER_SURVEY
3/16 SURV1 at 1900, 2000, 21000, 2200; SURV1 6/23 2200, 2300
3/16 SURV1+ER AT 1900
4/06 survy1 2300
2 series, 2 three/four-notes, 4/05 at 2000                                                                           whipple haven, brads trib
None
4 three/four-note calls 7/14 at 0100; closest survey C.Bright Martin Trib?? 7/14 sta 3904-03 2309-0009; other locationsEAgles View Little Wolf Trib, Maupin Road surveys on




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                                                         Presence of BRMA,
        Juvenile notes       STVA vocalization dates
                                                           CALU, raptors


SURV1 recordings contain WHIS, BARK and TONE only; possible survey areas are Doe Creek starts at 1929 with corewalk before, 1804-09 sta survey starts 2054-2107, NOT Cole C
s hooting is heard by ARU, but ER DETECTs a female in the area that he was unable to locate, from


A also heard on ARU)
                                                         NOGO? 4/27 AT 0600




                         STVA_IRREG and INSP calls found in STOC folder
Maupin Road surveys on 7/14




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                                           QC
Site-Station   Hexagon ID     Validator             STOC presence
                                          (Y/N)
Blue & Gold
DOC-3            18828          LKC         Y            NO
DOC-5            18828          LKC         Y            NO
DOC-6            18288          LKC         Y            NO


DOC-7            18288          LKC         Y            YES

YEB-1            18733          LKC                      NO
YEB-2            18733          LKC                      NO
YEB-3            18733          LKC                      NO


YEB-4            18733          LKC                      YES


UYC-1            18829          LKC                      NO
UYC-2            18829          LKC                      NO


UYC-3            18829          LKC                      YES


UYC-4            18829          LKC                      NO


YEC-1            18732          LKC               survey with no tone



YEC-2            18732          LKC                      NO




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YEC-3   18732          LKC                     YES


YEC-4   18732          LKC                     NO
LYC-1   18637          LKC                     NO
LYC-2   18637          LKC                     NO


LYC-3   18637          LKC                     NO


LYC-4   18637          LKC                     NO




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    STOC notes or additional vocalizations (juveniles) detected


SURV1, ER voice6/15 at 2202; 7/24 three three-notes
SURV1
SURV1


STOC AND SURV1

no clear SURV1 heard; STVA & STVA_IRREG
SURV1, HW in Yellow Butte deploying ARU, SURV1+ER
SURV1


5/10 STOC one 4-note; 5/22 a female STOC at 2239, two three-note with barks, sounds windy; STVA & STVA?_IRREG?


SURV1? Distances do not match up, difficult to hear ticking malfunction
SURV1


6/15 male 4-note 9 vocalizations, 6/22 SURV1 in UYC 1924-01


INDISTINCT


SURV1; this night is FULL of survey recordings



SURV1




                                                                            220
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STOC 4 sets of 3-note


None
None
SURV1


SURV1


SURV1




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                                           Date, station, surveyor initials and time of local call-back surveys


6/15 (Yellow Butte, ER deploying, set of 3 four note calls); 7/24 (Yellow Creek, CB, MW at 2144 station 1992-04 (0.28mi))
5/3 (Bear Creek, Upper Yellow Creek 2017, 2117), 6/15 (yellow butte, 2155, 2255)
5/3 (Upper Yellow Creek (1924-10? 2213-2223), Bear Creek ((recording error? In between surveys)), 2217), 6/15 ER core walk calls 2 four-notes at 1956
(deploying at Yellow Butte ARU sta?)
5/3 (Bear Creek/Brush Headwaters/Doe Creek, 1922, 2022, 2122), 6/14 adult STOC and juv_strix (NO SURVEYS AT 2056) ALL ARE LATER: Y. Butte 2136,
Upper Little Canyon 0009, Yellow Trib 2240, McGee 2239, 6/15 (yellow butte, 1956); NOT Little Upper Canyon survey starts at 2308 in area and survey
stations starts at 0009
5/17 Snail Canyon SURV1 (STVA_INSP possible response); STVA 5/20
5/3 YEB corewalk HW 1917 female 3-notes with whistles, 2017, 2117, 2217, 5/04 2218; 5/4 Rice Flat 1987-02 2212-2222 ER
5/3 Upper Yellow creek survey by MW at 1924-10 survey began at 2213; 5/4 Yellow Butte MW at 2018 station 1992-07; Gallagher Ridge 9107-06 CB 2115-
2125; Rice Flat 1987-02 ER 2212-2222; Upper Yellow Creek MW surveying at 2118 at station 1924-02
STOC (faint MALE 1x 4note) 5/10 @ 0355; checked North Martin II survey but it ended at 0218; 5/22 ARU picks up call (??) at 2239 (adjustment 23hr
32min; NOT Upper Yellow Creek 5/22 CB, HM SURV 2403-2413 at sta. 1924-12 (miles?); NOT Yellow Trib 5/22 survey time starts at 2330-2340 sta 1987-
01(0.4mi, no time overlap); TOO FAR 5/22 Snail Canyon MW surveys station 9069-10 at 2236-2246 (2.6 miles) (total nights of detections=2);
STVA_IRREG PAIR CALLS, POOR WHIS-LIKE CALLS, 5/5, 5/7, 5/13-14,5/19,5/20,5/22
6/15 YEB sta 1992-01, 1804-14 survey time 2156-2206 (-14 "too windy to survey did not use tone")
6/14 Yellow Trib survey sta. 4659-02 survey by ER at 2259-2309
see if ER was deploying in DOE CREEK) 6/15 Yellow Butte survey by CB at station 1992-01 (2.4mi) starting at 2156-2206, ARU picks up calls at 2200 and
2300 (STOC male), in between CB's sta's 1992-02 (2.6mi) and -05 (2.5mi), CB stopped survey "too windy"; 6/22 Snail Canyon MW at sta. 1980-11 (4.2mi)
survey time 2303-2313, error in scanning cards for 6/22 and SURV1 was UYC. ARU detects calls as 2300 has an echo; (total nights of detections=1)
6/27 4-note at 2200, very distant, no surveys in this area on this date
6/29 Yellow Martin surveyed sta. 4055-01 (1.0mi, ridgetop) by MW at 2149-2159 full survey+TONE; 7/27 Bear Creek JM/HM 1972-06 (0.63mi)survey
starts 2246-2256, ARU detects owls calls at 2242; 8/2 Yellow Creek ARU detects at 2235, surveyor starts at 2236-2246 B. Gill sta. 0391-08 plus full
survey+TONE (1.02mi ridgetop); 8/10 Yellow Creek surveyed by HM at sta. 0391-04 (1.14mi, ridgetop to ridgetop) start survey at 2025; Upper Yellow
Creek 1924-12 start time 2026 CB&McKinley; Snail Canyon at sta 1980-04 start time 2023; female 3-three-note calls, some of survey+NO TONE, ARU
picked up calls at 2025
7/27 Bear Creek ARU picks up call at 2242, surveyor JM/HM broadcasts call at 2246 sta 1972-06; 8/2 Yellow Creek sta 0391-02 surveyed by B. Gill starts
calling at 2037-2047, ARU picks up calls at 2035




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7/27 ARU detects 4 sets of three-notes 2242 and WHIS at SPEC 8:47; 7/27 Bear Creek surveyors JM/HM survey sta 1972-06 2246-2256 (0.6MI; need
TOPOGRAPHY ANALYSIS); 8/03 Yellow Creek one three-note call on ARU 2134; Snail Canyon surveyor JM at sta. 1980-13 2133-2143 (TOO FAR, 3.8MI);
Blackberry Canyon B Gill sta1916-08 survey time 2134-2144 (too far 4.97mi); and STVA present at 2134 (Total nights of detections = 2)
None
None
7/27 Marvin Gardens survey starts at 2041 two three-notes (time approx. 1942, daylight savings?); 8/10 Upper Yellow Creek HM sta1972-12 2124-2134
survey, three 3-notes recorded on ARU at 2125

8/2 Yellow Creek B. Gill at sta. 0391-01 at 2134-2144; 8/10 Yellow Creek HM at sta 1972-12 at 2124-2134, ARU records at 2125

8/2 Yellow Creek ARU2035, surveyor B. Gill at sta 0391-02 starts at 2037-2047; 8/10 Yellow Creek surveyor B. Gill at sta 0391-04 starts at 2023-2035 ,
ARU2025




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                               Juvenile Notes                                                             STVA vocalization dates


                                                                             7/12 heavy vocalizations and July, intermitent other dates
                                                                             05/03-06/18, consistent presence
6/1 AT 2147 BEG with distant INSP                                            5/4-6/12 STVA & INSP; 5/6 AT 0500 adult STRIX_IRREG+WHIS caterwauling and whistling; 5/6

6/14 2056 BEG detected during call-box survey with overlapping STOC calls,
                                                                             5/03-6/14 STVA; 5/3-6/7 STVA_IRREG
juvenile possibly responding to adult strix
                                                                             5/5-6-14 STVA presence consistent
                                                                             7/27, 08/03
None                                                                         5/4-6/18 STVA, 5/17 STVA_WHIS male and female dueting, a flat "WHIS" call during series ca


5/24 Begging (BEG) overlap with STVA male series and female location calls   5/5-6/19 STVA; STVA_WHIS middle to end of May


                                                                             6/14,15,16,17,29; 07/09,12,24
                                                                             6/16 heavy vocalizations


                                                                             7/24 busy; plus more…


                                                                             7/24, 13 heavy vocalizations plus more


                                                                             6/29; 7/05,12,16,24,27; 8/02,8/08



                                                                             7/2,8,12,20,24,27; 8/2,3,8




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                                                                              6/29,7/07,12,24,27; 8/02,03


                                                                              07/24/23
                                                                              7/20-8/20
 STRIX_JUV 8/16,19 suspect barred, vocalizations are transitioning from BEG
                                                                              7/20-8/30 STVA
into barred owl locations calls
7/21 (2248)-7/22 BEG two offspring no adult STVA recordings in this segment
                                                                            STVA 7/20-8/25
although they were present earlier at 2048 7/21 using the 8-note call

                                                                              7/20-8/30 fewer days of presence




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Presence of BRMA, CALU, raptors                 False-positives verfified (actual sp.)                    Other owl species detected


             None                                                                               MEKE, GLGN, STVA
             None                                                                               BUVI, GLGN, MEKE, STVA
             None                                                                               BUVI, GLGN, MEKE, STVA


             None                                                                               AEAC, GLGN, STVA

             None                                                                               GLGN, MEKE?, STVA
             None                                                                               AEAC, BUVI, GLGN, MEKE, STVA
             None                 ORPI (COBR)                                                   AEAC, GLGN, STVA


          BUJA (6/11)             WHIS (STVA_WHIS)                                              AEAC, BUVI, GLGN, MEKE, STVA


             None                                                                               BUVI, GLGN, MEKE, STVA
             None                                                                               BUVI, GLGN, MEKE, STVA


             None                                                                               MEKE, GLGN, STVA


             None                                                                               GLGN, STVA


          CYST_BUJA                                                                             BUVI, MEKE, STVA



            NONE                  OCPR (BUVI_IRREG)                                             BUVI, GLGN, MEKE, STVA




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None                                                               BUVI, GLGN, MEKE, STVA


None                                                               AEAC, BUVI, GLGN, MEKE
None                                                               BUVI, GLGN, MEKE, STVA
            DOG, DRPU, FROG AND PHNU (INSECT), BUVI (COW), STOC (STVA)
None                                                               BUVI,DOG
            DOG, DRPU, FROG AND PHNU (INSECT), BUVI (COW), STOC (STVA),  GLGN, STVA
                                                                            (STRIX_JV)


Raptor      BUVI, FROG, PHNU (INSECT)                              AEAC, BUVI, GLGN, MEKE, STVA


None        SURV1 (ORPI), BUVI (INSECT)                            AEAC, BUVI, GLGN, MEKE, STVA




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                    Notes                     Additional folders visually scanned   Uploaded to H: drive (Y/N)


HYPI                                                                                            Y
BUVI 5/7, GLGN 5/4-6/9; MEKE 5/3-5/16; HYPI                                                     Y
stopped dating other owl sps                  GLGN, PECA                                        Y


GLGN 5/04-6/14, AEAC 5/03-5/08                CALU                                              Y

AEAC 5/04-5/08, GLGN 5/06-6/04                STVA_IRREG                                        Y
AEAC 5/05-5/14, BUVI 6/13, GLGN 5/04-6/07     PECA                                              Y
                                              FROG, ORPI,                                       Y


                                              BUVI, INSP, STVA, STVA_IRREG                      Y


                                              INSP,
pileated present, BUVI 6/15-7/14, GLGN 6/20-7/26    PECA6/29-7/26, STVA 6/14-7/24
                                                 , MEKE                                         Y
BUVI present only 6/15                        PECA                                              Y


PECA_BUJA(BUJA immitation)                    PECA                                              Y


                                                                                                Y


                                              BUVI, INSP, PECA                                  Y



                                                                                                Y




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                                           PECA                                            Y


                                                                                           Y
distant, echoy STVA in STOC folder         DOG, INSP, PHNU                                 Y
Bobcat? in CALU 8/22; STRIX_JUV in DOG     and NOISE from nearby trucks in STOC folder     Y


Coopers hawk in CALU 7/30                  INSP                                            Y


STRIX_JV in WHIS folder                                                                    Y




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Misc
NOM           LKC                     NO
BEC           LKC                     NO




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SURV1
NONE




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Myrtle view? Yellow Martin? Umpqua Overlook? Marvin Gardens? 7/27; Flagler Creek? Martins Trib? Rice Flat? Rockadile Overlook? 7/31; North Martin?
Maupin Road? Gallagher Canyon? Eagles View? Big Tom? 8/09
NONE




                                                                             232
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                                Very little STVA presence 7/25-8/06
                                07/24-8/8 very little stva vocalizations




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None      FLY (INSECT)                                 BUVI, GLGN, STVA
None                                                   BUVI, GLGN, STVA




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                                                Y
                                                Y




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Area andnon-survey
        ARU number vocalization
                    Unique script
                                (Y/N)
**daylight savings time (add an hour) takes place 12 March 2023 and IS NOT accounted for on the SM4's
DOC-6
DOC-7      N               three very indistinct four-note calls, male
DOC-8      Y               STOC? four three-notes, female
           N               SURV1
YEB-1      Y               SSS-2 juvenile Am. Goshawk, no survey at 2000, one three-note STOC
           N               slide 8/11, brief series to a three-note
           N               slide 5&6/11 7x three-notes male, plus 4x three-notes female
           N               STOC? 4 three-notes female; STRANGE call with slight variation (Liz review)
           Y               STOC? 4 three-notes female
           Y               STOC one distant three-note, male, with echo; possible survey 4 miuntes earlier than call-back survey
YEB-2      N               SURV+COREWALK; 2 four-notes faint develops into closer four-notes and WHIS, Wise and Whitt, PLUS CO
           Y               SURV1? Two three-notes
           N               SURV1+TONE+COREWALK
           N               SURV1+walk-in station?
                           SURV1 3 three-notes
YEB-3                      NONE
YEB-4                      SURV1? Very faint 3 three-notes
                           multiple faint 3/4-notes with WHIS
UYC-1                      4 three-notes with WHIS's
                           4 three-notes faint
                           three-notes plus WHIS
                           two-middle notes only
                           three-note
                           three-note
UYC-2                      SURV1+ER
UYC-3                      SURV1+ER
                           SURV1, distant three-notes
                           SURV1, distant 3-notes
                           Female 4 three-note
UYC-4                      SURV1+ER
YEC-1                      3 three-note, faint
                           SURV1? 4 three-notes with one WHIS
                           4 three-notes
                           distant four-note
YEC-2                      five four-note distant, male
YEC-3                      NONE, STVA, STVA_IRREG, INSP
YEC-4                      VERY AUDIBLE SURV1, four-notes, three-notes, series, WHIS, plust TONE
                           four three-notes
YEB-4                      SURV1? Very faint 3 three-notes
                           multiple faint 3/4-notes with WHIS


UYC-1                     4 three-notes with WHIS's
                          4 three-notes faint


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                 three-notes plus WHIS
                 two-middle notes only (Liz review)
                 three-note

                 three-note

UYC-2            SURV1+ER

UYC-3            SURV1+ER
                 SURV1, distant three-notes
                 SURV1, distant 3-notes
                 Female 4 three-note

UYC-4            SURV1+ER




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Date and time Tone
              of detection
                   detected
                    Daylight (Y/N)
                             savings time                              NOT these SURVEYS


5/24 at 0000      Y
5/24 at 2000      N       ARU starts recording 3/1 at 1800, sunset 1707;NOT
                                                                         schedule
                                                                             Upper1800-0600
                                                                                    Yellow Creek 5/24 starts 2042-2052 Vaca at sta 1
5/25 at 2300      N
4/27 at 2000      N       ARU starts recording 4/7 at 1900, schedule, sun
                                                                        NOT
                                                                          sets
                                                                             Marsh
                                                                               4/1 atTrib
                                                                                       1651
                                                                                          1620-1800, NOT McGee core walk 1825-193
4/27 at 2100      N
4/27 at 2300      N
4/28 at 0000 (4/27Nsurvey)                                              NOT Upper Yellow Creek, Wise, 2115-2244; NOT Gallagher C
4/28 at 2000
4/28 at 2100
6/22 at 2300      N       ARU starts recording 4/05 at 1900, schedule 1900-0600
7/12 at 2200                                                            Not Marsh Trib 2216-0021
7/13 at 2300      Y
7/14 at 0000                                                            NOT Martins Trib 7/14, C. Bright sta. 3904-03 2359-0009
7/14 at 0100
NA                        ARU starts recording 4/05 at 1900, schedule 1900-0600
7/01 at 0000              ARU starts recording 4/26 at 1900, schedule 1900-0600
7/06 at 2100
6/24 at 0000      N       ARU starts recording at 3/10 0000, schedule 1700-0700; sun sets 3/01 at 1707
6/23 at 2300
6/23 at 2100
3/26 at 1900
3/16 at 2100
3/16 at 2000
3/16 at2000               ARU starts recording at 3/10 0000, schedule 1700-0700; sun sets 3/01 at 1707
3/16 at 1900              ARU starts recording at 3/14 1800, schedule 1800-0700; sun sets 3/01 at 1707
6/23 at 2100
6/23 at 2200
6/23 at 2300
3/16 at 1900              ARU starts recording at 3/10 at 1721, schedule is 1700-0700, sun sets 3/01 at 1707
4/06 at 2300              ARU starts recording 3/29 at 1800, schedule 0700-1800
                                                                        Not N. Martin corewalk 1500-1730; Rookery corewalk 1211-
4/14 at 2200
7/07 at 0000                                                            Not Bear Creek 2238-2318, Whitt; Not Spooner Ridge 2058-2
7/13 at 2100
4/05 at 2022              ARU starts recording 3/23 at 1845, schedule 0700-1800
                                                                        NOT Whipples Haven 1640-1808, NOT Western Cougar 1050
NA                        ARU starts recording 3/23 at 1800, schedule 0700-1800
7/14 at 0000              ARU starts recording 3/23 at 1800, schedule 0700-1800
7/14 at 0100                                                            NOT Eagle View 2030-2234
7/01 at 0000
7/06 at 2100


6/24 at 0000      N
6/23 at 2300


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6/23 at 2100
3/26 at 1900
3/16 at 2100

3/16 at 2000

3/16 at 2000

3/16 at 1900
6/23 at 2100
6/23 at 2200
6/23 at 2300

3/16 at 1900




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     Surveys performed that date, surveyor                                         Start and end survey time


    SURV1 3/15/22 AT 2029 WITH TONE, 3/16 AT 1800 SURV1+ER; possibly 5/24 Upper
                                                                             2353-0003
                                                                                Yellow Creek sta 1924-10 2352-0002; Upper Mar
    NONE
    Yellow Butte 5/25 (data follows)                                         2247-2300
    Yellow Butte 4/27                                                        1900-2000 walk-in to station
    Yellow Butte 4/27                                                        2050-2100
    Yellow Butte 4/27                                                        2257-2307
    Yellow Butte 4/27                                                        2357-0007
    NONE
    Gallagher Canyon A 4/28, Whitt                                           2104-2114
    Yellow Creek 6/22 at 2300, Bright 1945-0102 with walk-in                 2256-2306

     Doe Creek                                                                     2259-2309
ht sta. 3904-03 2359-0009
     Martin's Trib                                                                 0110-0120




at 1707
1730; Rookery corewalk 1211-1330
     Yellow Creek 4/14                                                             2147-2158, 2202-2213
     Snail Canyon; Brush Head Waters 7/7 0008-0018 (later than ARU), sta 2051-03   2347-2357, 0001-0011
     Doe Creek                                                                     2054-2104
08, NOT Western Cougar 1050-1422, (dayhike), Brads Trib 1838-2016

    Martins Trib 7/14, C. Bright                                                   2359-0009
    possible Martins Trib 7/14, time recorded incorrectly???                       0110-0120??? Later than ARU
    X
    NORTH MARTIN, J. WHITT                                                         2057-2107
    NORTH SADDLE, VACA                                                             2058-2108
    RICE FLAT, C. BRIGHT                                                           2100-2111
    X
    UPPER YELLOW CREEK, WHITT                                                      2300-2310


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YELLOW CREEK, WISE/WHITT                                   2256-2306
UPPER YELLOW, WISE                                         2100-2110
X
UPPER COUGAR CREEK, VACA                                   2055-2105
YELLOW BUTTE, WISE/WHITT                                   2052-2102
RIVERVIEW, VACA                                            1956-2006
YELLOW BUTTE, WISE/WHITT                                   1959-2012
RIVERVIEW, VACA                                            1956-2006
YELLOW BUTTE, WISE/WHITT                                   1959-2012
X
UPPER YELLOW, WISE                                         2100-2110
DOE CREEK, WISE                                            2158-2208
UPPER YELLOW CREEK, WHITT                                  2300-2310
YELLOW CREEK, WISE/WHITT                                   2256-2306
X




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Station number X                   Y          Column1



sta 0803-04

1992-02
1992-"??" record quoted      466758 4819991
1992-04
1992-01
1992-10

GC-06
0391-02

1804-07

3904-06




0391-01, 0391-03
9069-05,9069-08
1804-12


3904-03
3904-06

4661-08
0240-07
1987-08

1924-10


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0391-02
1924-12

1805-05
1992-01
0281-07
1992-10
0281-07
1992-10

1924-12
1804-?         46590,              4819481
1924-10
0391-02




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Rookery
Activity Center 0392 tree     LKC                    A           SM mini #8 (SMA05328)
Ridge west
Downslope east
Lower Tom Folley
LTF-O1                        LKC    06/10/24   LTF-O1           SM mini #3 (SMA04809)     458216   4836964
LTF-O2                        LKC    08/06/24   LTF-O2           SM mini #8 (SMA05328)     458592   4837106




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                 MM                                 LKC
                 01 E                               LKC
                  R                                 LKC

                  NNNorth of Original Activity centerLKC      10/1/24
                  WW
On side of road capturing                             lkc
                          valley of main road stem, connecting10/1/24
                                                               to Elk Bend




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Yellow Creek ARU recordings of call-back surveys

Yellow Creek 1     07/27/2023          2242
                          STOC detection start oﬀset 228, 1/11 slides
                          Call sequence:      Male 5 four-notes + 1 four-note
                                              Female 2xthree-notes, 1xfour-note,
                                              1xthree note
                                                     + 5 WHIS, 5 BARKS immediately
                                              followed by male 2xfour-notes with
                                              possible car noise (to indicate surveyor)
                                              Slide 6: 3xfour notes male
                                                      4xthree-notes female
                                                      4xthree-notes female


Yellow Creek 2     07/27/2023          2242 oﬀset____, _____slides
                          STOC detection
                          Call sequence:      2 three-notes, 1xfour-note, 1xthree note
                                              5 WHIS, 5 BARKS
                                              Car noise


Yellow Creek 3     07/27/2023          2242 oﬀset 408, 2/11 slides
                          STOC detection
                          Call sequence:      4xthree-notes (faint) plus indistinct calls
                                              1 WHIS (VERY faint)




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Area and ARU number   non-survey vocalization (Y/N)
                                                 Vocalization Script
DOC-7                 Y                          slide 8/11 at 41:14 2 four-notes plus two series plus one four-note, 45:12 4x four-notes




YEB-4                 Y                          four-note, distant with echo
                      Y                          four distant three-notes, male (liz review)
UYC-3                 Y(map)                     4x four-note faint, 2 faint three-notes plus two series calls plus 1 four-note
                      Y(map)                     4x three-notes
                      N                          SURV1 female 4 three-notes
YEC-3                 Y (SURV 4 minutes late)    4 three-note calls, male
                      Y                          one three-note, male




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Date and time of detection                                                                                  Miles from ARU to sta.
6/14 at 2056, slide 8/11 at 41:14 and 45:12




5/10 at 0355
5/22 at 2239, slide 10/11 three-note starts at 22:53 BARK 22:57
6/15 at 2200 41:03; male 4 four-notes slide 7/11 at 35:17 and 4 four-notes plus two series at 37:15         to 1992-05 is 2.47 miles and 1992-14 is 2.78 miles
6/15 at 2300 07:35 slide 2/11
6/22 at 2300, 05:04 slide 1/11
7/27 at 2242, faint to closer
8/3 at 2134




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     Surveys performed that
                        Startdate,
                              andStation
                                   end
                                   surveyor
                                       survey
                                         number
                                          X timeY                      Column1




      Snail Canyon 1980-02 (1.89mi) and Andrews Creek 9069-11 (2.37 mi) Wind
2-14 is 2.78 miles             2231-2235 at 1992-14; 2308-2318 at 1992-05

     Upper Yellow Creek 1924-01 survey time 2301-2312 (0.41mi)
     Bear Creek 7/27 1972-06 survey time 2246-2256




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   Location          Sta         ARU     Date           Detection Time (s)            Offset
DOC09                      3           3/15/2023 200002, 37:48-39:10
                                       3/15/2023 200002, 40:14-40:20
DOC09                      5           3/16/2023 180000, 33:01-34:37
                           5           3/16/2023 180000, 33:01-34:37               1980, 1992, 2064, 2076
                           5           3/16/2023 180000, 35:56-37:13                       2148
                           5           3/16/2023 190002, 05:22-05:25                         312
                           5           3/16/2023 193647, 21:15-21:21               1272-1440
                           5           3/16/2023 193647, 26:49-26:57                       1452
                           5           3/16/2023 193647, 24:11, 26:33-26:57                1854
                           5           3/16/2023 193647, 24:08, 26:26-2649                 1740
                           5           3/16/2023 193649, 29:07-29:32, 30:47-30:52 1752, 1764, 1836, 1848
                           5           3/16/2023 203602, 26:58-27:02                       3168
                                       5/24/2023 210002, 40:55-41:08, 41:18-41:29          2448
                                                 210002, 40:55-41:41, 43:33-43:56          2748
                                       5/24/2023                            210002




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               End Time         Tag            Species
                          WHIS, STOC_IRREG
                                         STOC
                          WHIS           Strix
                          SURV1          STOCrecording
80, 1992, 2064, 2076      STOC           STOC
                          STOC           STOC
                          STOC           STOC
                          SURV1?+STOC STOC
                          STOC           STOC
                          STOC           STOC
                          STOC           STOC
52, 1764, 1836, 1848      STOC           STOC
                          STOC           STOC
                          STOCF          STOC
                          SURV1




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Audio Type (Call, Song, Distress, etc.,)                            Review Type       Comments
Starts with one whistle and 14 barking segments                Listening/scanning     Possibly a SURV1
three consecutive WHIS's; possibly SURV1?                      Listening/scanning     Possibly a SURV1

three four-note calls, oddly spaced                              Scanning             possibly voice calls?
two four-note calls                                              Scanning             possibly voice calls?
very faint three-note                                            Listening            vehicle noise
one three-note, one four-note                                    Listening/scanning
one four-note                                                    Scanning             spaced out notes; possibly voice hoots?
two four-note calls                                              Scanning             spaced out notes; possibly voice hoots?
one four-note, two four-notes                                    Scanning             spaced out notes; possibly voice hoots?
two four-note calls followed by a short series call and later a four
                                                                 Scanning
                                                                     note             spaced out notes; possibly voice hoots?
faint three note                                                 Scanning
distant female four-note, one four-note sandwiched by two WHIS's Scanning

three three-notes, spaced out                                  Scanning               Possibly female SURV1




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                Validation Initials
              LKC
              LKC
              LKC
              LKC
              LKC
              LKC
              LKC
              LKC
              LKC
s; possibly voice hoots?
s; possibly voice hoots?




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Contractor Inspections--Blue&Gold
Spooner Ridge        4516-03LKC     07/25/24      SPN-3       SM mini #11 (SMA05334)     463191 4816526
Yellow Creek         0391-06LKC     07/25/24      YEL-6       SM mini #13 (SMA05335)     463717 4816970
Lower Thistle Creek 1988-01LKC      07/25/24      LTC-1       SM mini #16 (SMA05357)     462968 4831682
Thistleburn Creek    0266-08LKC     07/25/24     THC-8        SM mini #8 (SMA05328)      464183 4831698
Flagler Creek             4506-08    31-Jul-24    FLG-8       SM mini#11 (SMA05334)       471141 4824251
Rice Flat                 1987-02    31-Jul-24    RIF-2       SM mini #9 (SMA05395)       470166 4823013
Blackberry Canyon     1916-5         31-Jul-24    BLB-5       SM mini #5 (SMA05391)       472928 4822677
Blackberry Canyon    1916-10         1-Aug-24    BLB-10       SM mini #5 (SMA05391)       473011 4823447
Blackberry Canyon     1916-2         1-Aug-24     BLB-2       SM mini #13 (SMA05335)      472434 4823157
Lane Creek                          19-Aug-24     LAN-4       SM mini #9 (SMA05395)       488182 4822957
Lane Creek                          19-Aug-24     LAN-7       SM mini#13 (SMA05335)       489145 4821989
Lane Creek                          19-Aug-24     LAN-8       SM mini #16 (SMA05357)      488507 4822296
Ben Valley                          20-Aug-24    BEN-8        SM mini #9 (SMA05395)       485548 4818875
Ben Valley                          20-Aug-24    BEN-7        SM mini#13 (SMA05335)       485019 4818481
Ben Valley                          20-Aug-24    BEN-7A       SM mini #16 (SMA05357)      487206 4818274




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                                   RR
                                     L
                                   OO
                                   QQ
recorded 8/1, surveyed 8/2         UU Hike-in station Flagler                    5-Aug-24
                                    ZZ                                           5-Aug-24
                                    P     Road station                           5-Aug-24
                                    P     Hike-in station, up on ridge actual station lower on ridge at E 473056 N 4823360 by CCW
                                    TT    Road station before hike-in            5-Aug-24
                                    XX    station 2102-04
                                    YY
                                    EE
Reploy from LAN-4                   XX
Reploy from LAN-7                   YY
7A, downhill from Hamer station; reploy
                                    EE from LAN-8




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3360 by CCW

         0819_190900-0821_230602
         0819_190900-0821_230602
         0819_190900-0821_230602




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Blackberry Canyon: MSNO-station 1916-10, -05 and -02                                     Blue and Gold EA
Contractor Inspection 2024 field season

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Core Walk 03/14 by UNDERWOOD and BAXTER, details of core walk include “each covering a portion of NRF”

Visit 1 Incomplete 03/20 by MARSHALL 1916-10 first survey point of the night

Visit 1 COMPLETE 03/25 by VACA

Visit 2 Incomplete 05/29 by BAXTER 1916-10 first survey point of the night

Visit 2 COMPLETE 05/31 by WYATT

Visit 3 COMPLETE 06/14 by WYATT 1916-10 first survey point of the night

Visit 4 COMPLETE 07/17 by BAXTER 1916-10 first survey point of the night

Visit 5 COMPLETE 08/02 by WYATT 1916-10 first survey point of the night. Station relocated to proper survey point E
473062 N 482350 by WYATT, incorrectly surveyed on ridgetop at E 470501, N 4787120 V1-4. Distance between
locations is 68 meters.

Visit 6 COMPLETE 08/14 by WYATT 1916-10 third survey point of the night

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SURVEYOR INSPECTION 7/31-08/02

Purpose: to verify surveys performed at station location 1916-10, 02

07/31 Surveyor changes schedule and did not survey the site or station 1916-05 where ARU was located,
       no recordings

1916-10 WYATT records on data card survey time at 0004-0014, NR, trail walk-in to original point

1916-10 (ARU location) detects surveyor broadcasting calls from 00:04:02 to 00:13:20, saw-whet, tropical bird, tone
       at 00:14:37

1916-02 WYATT records on data card survey time at 0048-0058, NR, road station

1916-02 (ARU location) detects surveyor broadcasting calls from 00:47:56 to saw-whet, tropical bird, and tone at
        00:57:54

         (ARU location) detects the tone for survey at 1916-11 at 02:17:30, survey time 0207-0217

         (ARU location) detects at 02:21:20 female 3-note broadcasted at station 1916-06 (0220-0230).
         Distance between 1916-02 and -06 is 1382 meters.




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Rice Flat: MSNO-station 1987-04, -05                                                         Blue and Gold EA
Contractor Inspection 2024 field season

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Visit 1 Incomplete 3/25 by MARSHALL Day activity center search and night survey of one call point. Coordinates of
day search noted on data card and draw points to Mill Marsh in East Elk. Difficult to trach approach to core walk.
                   Marshall records: “CORE WALK PARTIAL VISIT / SPOT CHECK PARTIAL VISIT ------- ^^Called 001 @
                   1726 / 10T 489993 E 4817966 N / 119 E / 2270 ft / Mid Slope / mid habitat - NR ^^Called
                   002 @ 1757 / 10t 489972 E 4817667 N / 107 E / 2250 ft / Mid slope / mid habitat – NR”

Visit 1 Incomplete 3/25 by VACA Night survey

Visit 1 COMPLETE by MARSHALL 3/27 one survey point recorded

CORE SEARCH 4/01 by VACA No notes on activity center search route. Second day search, first search performed by
Marshall on 3/25.

Visit 2 COMPLETE 5/27 & 5/28 by WYATT and D’AGROSO

Visit 3 Incomplete 6/13 by WYATT

Visit 3 COMPLETE 6/15 by WYATT

Visit 4 COMPLETE 7/16 by D’AGROSO and WYATT

Visit 5 COMPLETE 7/31 by WYATT

         “1987-03: originally called CP at 0010 to 0020. Did not check time when caller tone went off. Drove to
         1987-02 and stopped to move some more rocks from rock slide. On starting 1987-02, the time to drive to
         the CP and move rocks seemed too short to have done a full 10 minutes at 1987-03. Returned to -03 and
         called for a full 10 minutes to ensure that the CP received full coverage. Likely did not re-set caller when I
         unmuted the speaker during the original CP time.”

         Called twice 1987-03 0010-020, 0038-0048




Visit 6 COMPLETE 8/14 by WYATT

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SURVEYOR INSPECTION 7/30-08/02

Purpose: to verify surveys performed at station location 1987-02

Picked up inspection data 8/02??




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1987-04 (0058-0008)

1987-05 (2356-0006)

ARU detects surveyor broadcasting calls from 23:59:04 to 00:01:38 (station 1987-05) VERY faint survey probably
ended later, could not hear, Tone heard at 00:05:28



**Inspection effort started 7/30/2024, included inspection of road, rocks obstructing road between 1987-02 going
west just around the bend on the downslope. Notes taken by WYATT are confounding with the order of call points, not
sequential in terms of where the rocks were located and what call points were already called.

Rice Flat – rock slide, appreciate noting the conditions of the road and the time it took to remove the rock slide and
resurveying two points which may or may not have been completed properly




Originally this is what the Tally Sheet looked like:




Sites called with multiple surveyors need to compile data together or separately?




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Yellow creek: station 0391-06, -08                                                   Blue and Gold EA
Contractor Inspection 2024 field season

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Visit 1 COMPLETE, 04/01 by HM

Visit 2 COMPLETE, 5/07 by HM

Visit 3 COMPLETE, 6/05 by CCW

Visit 4 COMPLETE, 07/02 by CCW



Comments: station -08 calls above 0391-06. Rather 0391-08 needs to be relocated more eastward on
decommissioned road 24-6-6.1 to target habitat in section T24S-06W sec 05, qs SW, ss SW.

Move station to E 470501, N 4787122 to call into T24S-R06W-section 05




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